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                                              EXHIBIT A




                                                                                                   The Ardmore Book Club



                                            The Journey ofAn Author and A Stolen Book Afanuscript

                                                                                         February 4, 2021 - September 21, 2022




Pre-Registered Cop_, ·right Dialog, August 22, 2022, Upd,lted M.uch 30, 2023


This is prep,ired express~,· fo1· prelimi11a0· 1111dersta11di1lg of what tra11spfred i11 real time betwee11
Februa0· 4, 2021-August 22, 2022. This is prelimi1wr_1· content a11d should 11eycr be mis11nde1·stood
for a11_1·thi11g other th,111 as it appe,irs. This is 11ot suitable in its current formM for writte11 publication
oFiw_,. ki11d. It is strict~,· comprehensh'e background doc11me11tatio11 of people, dialog, confessions
;111d cfrc11msta11ces otherwise 11ot presented.


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edited for US Libr;10· of Congress cop_Hight.




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"No one gets away with anything except those whose voices are not heard or remembered."
                                                                         Matt Lauer, August 19, 2021


We wrote and agreed that all date-time stamps with witnesses should be legal in a court of law in any legal
proceeding.                                                       3:44PM July 2, 2021


'Thry don't want her to make a,ry real monry because then this whole Shit Show is reaL"
                                                                                      Jay Sweet,July 4, 2021


"The defendants pay all attorney, court, and associated legal fees because of the size of the lawsuits and the fact
they were in a position and possession of resources unavailable to the plaintiff, Pamela Chapman."
                                                                                  July 19, 2021



 "If thry pe,:jure themselves, the entire discovery process can be taken back into defendants to remind them of their own language
documented and quoted. Nlat/ Lafler tried to peryure himse!f. Over a long dqy of deposition, he ftnal/y confessed to that which was
previous/y discussed . Gretchen CarLron also provided testimo,ry to this experience herse!f."
                                                                                              July 23, 2021


"Now, I will be sued in a court of law because I know exactly what my medical profession tells not to do."
                                                                     • ndrew Parsons

''.fo wry do you do it?"

"To best you like none before, and I thought I could best you and win and get away with it because it was in the
energy realm, and I did not have to own any of it. I was going to tell everyone you had a history of being crazy
instead."                                                      Andrew Parsons 9:01AM 5-20-22

Witnesses: Susan Petrovas, \Xfhitn y Slade, Maura Lindse) 's husband, Tom Cahill. MD agreed to be a witness
to this confession.




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Companies and other Offices Invo lved

Aevitas Creative Management, Boston, MA, New York, New York
Simon & Schuster, New York, New York
Viking Penguin, Penguin Random House, New York, New York
Ink Well Management Literary Agency, New York, New York
NBC/Universal Productions, Los Angeles, CA
Anesthesia Associates of MA, Canton, MA
Lifespan Health Care Systems, Providence, RI
Newport Hospital Foundation, Newport, RI
Van Beuren Charitable Trust, Newport, RI
Redwood Library and Athenaeum, Newport, RI
Newport Art Museum, Newport, RI
Island Moving Company, Newport, RI
The Four Winds Society, Big Sur, CA


Office of the Vice President, US Government, Washington, DC
Office of the First Lady, US Government, Washington, DC
Office of the Speaker of the House, US Congress, House Ways and Means, Washington, DC
Office of the Senate Majority Whip, Washington, DC
Office of the Senate Minority Whip, Washington, DC
Office of the Cabinet Secretary, US Government, Washington, DC
Office of House Ways and Means, US Government, Washington, DC


Individuals inclusive before and after Febraury 4, 2021 through April 2021


    V.      Kamala's Table a.k.a. Kamala N ation, Kamala H arris, VP U S of America

Many people quickly separated themselves out in obvious tiers of social mobility, professional
ability, and leadership qualities. It was obvious to everyone regardless of one's age, who had clout,
position, opportunity, stategy, and who did not. The interns were well established and
distinguishable at the start from the leaders, diplmats, politicans, and other major players. Second
string was well identified, and obvious from the first.                          July 2, 2021



van Beuren Charitable Trust, N ewport, RI
  lizabeth Lyn n, 56, Executive Director, Jamestown, RI
Rebecca Bertrand, 36, Executive Director, Newport Film, ED Newport Historical Society (1-1-23)
Roger K ass, (esq.), 61, NYC, Wesleyan '84, NYU Law
Andrea v an Bueren Kass, 56, Artist Director, Newport Film, Middletown, RI; NYC, UVT
Barbarn van Beurcn Glascock, 66, SVP, Newport Hospital Foundation, Anbau, NYC, Ports. RI
 tephen Glascoc k (husband), 52?,Portsmouth, RI; NYC, Anbau Real Estate Development

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Hamilton Family Charitable Trust, Wayne, PA
Anoe, ~ .• Mr. S. Matthew . lr., 68, Newport, RI, Bryn Mawr, PA, Steamboat Springs, CO, Palm Beach, FL
Matthew Hamilton (husband),
Dorie Hamilton Benson, 40, 132vWebster Street, Newport, RI
Daniel Benson, (Husband), 45, Treasurer, Redwood Library Board of Trustees

AR Capital
Nick Schorsh, 61, Chairman and CEO, Newport, RI, Virginia, PA
   helley chorsh, 60, Newport, RI, Virginia, and PA
Elizabeth Kahane, 61, Newport, NYC, NYC, NY State, photographer
\'>Villiam Kahane, (esq.)75, Co-founder, AR Capital, Newport, NYC, Occidental, Stanford MBA, UCLA Law
Harry Kahane, 20, son

Other Members:
Patricia emandez, 64, Chair, Newport Flower Show; Sumter, South Carolina
Michael Fernandez, 65, SVP Chief Communications Officer, Enbridge, Calgary, Canada
Former President, Burson-Marsteller, NYC; Former Press Secretary Senator Hollings, SC
David '.; . O'Leru:y. 62, President US Life Insurance Division, Genworth Financial (South Carolina) UCONN
'82
Linda · . O'Leary, wife, Manakin Sabot, VA, St. John's Island, South Carolina
Michael :Roth, 66, President, Wesleyan University, Wes '78, Brentwood, CA
Kefi Wei-1, Wife of Michael Roth, Middletown, CT, Brentwood, CA
P11:mela Do:nna n 66, SVP, Viking Penguin, New Canaan, CT?, Wesleyan University '79
Riehafcl Pi.tte, Co-founder, Ink Well Management Literary, NYC
Kimberley Witherspoon, 59, Co-founder, Ink Well Management Literary Agency, New Salem, NY &
Madison, CT, Brown University
Jomtthon Karp. 55, CEO Simon and Schuster, Brown University, Brooklyn, NY
    NanC)' Graham, SVP, Scribner, Simon & Schuster
    Beatrice of York, 34, London
     arah ergµ. on, 63 London

l amala Harri , 58, VP United Stated of America, Former Senator, Ways and Means, Howard University '86,
UC Hasting Law '89. Former Attorney General State of California
Nancy Pelosi, 82, D-CA, Speaker of the House
tvlitch McConnell, 80, R-KY, Senate Majority Whip, US Government, Ways and Means
Chuck churner, 71, D-NY, US House of Congress, Ways and Means, Harvard '71, Harvard Law '74
See quote from Nov 2022, NY Public Library Lions Gala regarding the importance of authors & books.
   His wife, Iris Weinshall is the COO of the New York Public Library System.

D,l\ id Ciccilini, 61, D-RI, US House of Congress, Brown University, '83 and Georgetown Law '86
Gina Raimondo, 51, D-RI, Secretary of Commerce, Former Governor State of RI, Harvard '93, Yale Law '98,
Oxford '2002. Former Law Clerk of federal judge l<imba Wood, NY




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Associates-Not full-fledged "daily" members:

 Esmond Harmsworth IV, JD, 55, founder of Zachary Shuster Harmsworth Literary Agency, now Aevitas
Creative Management, Boston, MA, Newport, RI, Brown University, Harvard Law
Tara Plochock.i, esq. 41, Washington, DC
Carolyn Crosson Gilpin, 62, Hartsdale, NY, Charlestown, RI. Conn College, MS. Journalism, Columbia U.
Wroiter of Children's history books.
Cynthia Pareor, 63, Originally from Suffield, CT, Pomona College
Noam Zilbersteio, 28, PhD student Cornell University, Formerly Google, Oakland CA, now Glen Falls, NY
Jerry McIntire, esq. 79, Tate & McIntyre, Providence RI,Jamestown (See May 25, 2022)
Roberr ''Bobb,·" McDermott, 28, Jamaica Plain, MA,
Jmcir,e Ruaeelc, 27, Melbourne, Australia (formerly, Portsmouth, RI)
Jt1slffl Ramel, 30's Los Angeles, Formerly of Melbourne Australia
Davia Kehoe, 27, North Kingston, RI

Appearances by:
Shomo Zilbetstd.R, 61, Professor, Artificial Intelligence, UMASS, Amherst, MA
Karen Rothblatt Zilberstein, 57, Clinical Director, Home Within, LICSW, Amherst, MA
Terry McIntire, esq. 79, Tate & McIntyre, Providence RI,Jamestown (See May 25, 2022)


KamaJa's Workg:roup:

Tara Plochock.i,~. Partner, Lewis, Baach, Kaufman, Middlemiss, Washington, DC
Diane rosson McEnroe, esq. 61, Sidley Austin, NYC, Wellesley College, UCONN Law
  arolyn Cros on Gilpin, English Tutor and graduate, Columbia School of Journalism, Hartsdale, NY,
Charlestown, RI
Albeno Villodo, Shaman, Founder of The Four Winds Society (Educational Foundation)
Marcella Lobo, Shaman, President, Four Winds Society, Big Sur, California
  ola Ganem, Middletown, RI
Monique Burgess, 52, Newport, RI and US Virgin Islands (House Boat)
   Tom Burge. s (husband), Entrepreneur and creator of digital apps
   Came.ran Burgess (daughter), 25, First mate for family boat charter business,
   Cole Burgess (son), 23,
B tbany DiNapoli, 55, Founder, Executive Director, Independent School Chairpersons Association,
Newport, RI
Domi.niqu     lfandre, 64, Former ED Island Moving Co. Newport RI, Washington DC, Florida, and Paris,
France.
Nora Diedrich (Delaney), 67, ED, Newport Art Museum, Newport, RI
Aodrew Parsons, MD, 57, Board Certified Anesthesiologist, Portsmouth, RI
Noam Zilber teio, PhD student Cornell University, Glen Falls, NY; Formerly Google, Oakland CA,
Cynthia Parent, Google-?, CA
Maura Lindsey. 62, owner, Tresor Estates, Newport, RI
Tracey nn Moore, 64, Newport RI and Middletown, RI
Tarn Gragg. 33-ish, Newport, RI Dancer at IMC
 teven Sabo, Gragg's husband,
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[ana f-licks Jagoe, 75, Newport, RI, Paris, France
E li e Fagnoli, 32, Dalton Wade Real Estate Group, Pomfret, CT,
Rhonda Faiwoli, manager Eileen Fisher Store, Copley Plaza, Warren, RI,
Kayla Abbate, 29/30, Talent Acquisition, Dell Technologies, Portsmouth, RI
  } atby Abbate, 58, (mother)
   Richard . bbate, 58, (father), North American Managing Director, Igus Inc. RI, Portsmouth, RI
    ean Abbate, 23, (brother)

Caroline " Dolly" Briggs, 61, Newport, RI
 keJJey "Daisy" Briggs, 26, Newport, RI and Nashville TN
Allegra Chapman, 26, Newport, RI and New York City
 otonia Chapman, 29, Newport, RI and New York City
Elizabeth Ross, 20's, Newport, RI and New York City
Virginia "Tully' Ross, 20's, Newport, RI and New York City
Harling Ro , 20's, Newport, RI and New York City


Associated with the Workgroup:
Christine Bu h,~· Hinckley Allen, Providence, RI
\Xlendy d1midt, Menlo Park, Nantucket, Newport, Ri
Tean Gorham, 87, Newport, RI (Mastermind of The Game)
Roger Ka s, see above, Crossover from Kamala's Table
Rebecca Bertrand, see above, Crossover from Kamala's Table
Jonathon Karp. see above, Crossover form Kamala's Table
Christine Bush,~. Hinckley Allen, Providence, RI
Marcella Lobo, wife of lberto Villada
Grenville Craig, (see above)
Peter Bramatrte, ED IMC, Tiverton, RI
L11u.cen DiFedes, Dancer, IMC, Newport, RI
  bauna McGuire, IMC Director of Marketing
Kristin MacManus, Formerly of US Trust, Portsmouth, RI
Kaitlyn johnd.x:ow, Preservation Society, Newport, RI, and Lakewood Ranch, Florida
Maggie )ohndrow, Johndrow Wealth Management, Farmington, CT, Fairfield, CT
David Johndrow, Father of Kaitlyn, Lakewood Ranch, Florida, and Bristol, CT (formerly)
Francine Weiss, PhD, Curator, Newport Art Museum
'Merrill Allen, Director Marketing, Newport Art Museum
   ancy 'v . Grinnell, Former curator, Newport Art Museum
Le ·lie Grosven r, Newport, RI,
Tom Hockaday. Portsmouth, RI
Bill Martian, Portsmouth, RI
Laurianne Florio, 63, New Britain, CT
Diana Florio Beardsle)', 56, Kensington, CT
Dina Kar usos, SO, Portsmouth, RI
 I 11vlie McCullough, Mott Chase Real Estate, Newport, RI




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    VI.       Book Committee, Redwood Library from prior to March 30, 2021


It was suggested members of this space read and re-read Barefoot in J-lee/.r 1-3 times. They were asked to edit
the manuscript as an exercise. They also give a copy to Jonathon Karp. CEO of Simon and Schuster, who
attends summer functions at the organization with Esmond Harmsworth I . JNote: This is ,diar the g1 oup
does ,,·irh illeg,1llr <!btai11cd m;rnuscripls. It is :;;iid thcr might h,in 12 manuscript;; 11psrnirs in the attic
chambns.J



 Carolyn DuPont, 82, Former Development Director, Redwood Library, Newport, RI
 Alice Ross, Interior Decorator, NYC, Newport, RI (daughter of Caroline DuPont)
 James R.0ss, esq. (formerly of) Cravath Swain, currently President of Board of Newport Restoration
 Foundation and founder Rossrock Company
 Elizabeth Alexander Goddard, (formerly) ED Newport Art Museum
 Thomas }).I. oddard (formerly), President Newport Historical Society
    ar0line Goddard (daughter)
 Libby Goddard (daughter)
 I ate Ale.,--::ander Fields, Owner oflandscape design firm, Newport, RI
 To bie jelds, Retired Commander USN, Formerly of US Trust and landscape design firm. (See May 25, 2022)
 Bill Egan, Venture Capital, Partner Alta Communications, Boston, MA, Newport, RI Private foundation
 Jackie Egan, (wife) associated with private family foundation. Boston, MA, Deray, Florida and Newport, RI
   uzie Conklin Nance (Sister of Jackie Egan), Hypnotherapist, rental real estate.
 Robert Manice, Goelet Family, NYC, Dover, MA, Newport, RI
 Heidi Mimice (Wife)
 Sandra Orsloff, Aquidneck Island, NYC and Boston, MA
 Micha I Hol Massey Ill, Aquidneck Island, Boston, MA, NYC (husband of Sandra Orsloff)(Honk Kong
 Hilton, Publications)
  1ficheal Holt Massey's Daughter-actual identity is Michael Holt Massey himself


 B nedict Leca, ED Redwood Library, East Greenwich, RI
 Leo.ra Le.ca (wife), Professor, Art History, RISD
 Esmond Harmsworth TV, Partner, Aevitas Creative Management
 Nonie Drexel 0' ~::u:rell Burnham, Jamestown, RI
   lena '\ "ilcox, Sotheby's Gustave White Real Estate
Jed'\ ilcox, (husband), Newport, RI, formerly of New Britain, CT
 [ea:y McIntyre, esq., McIntyre & Tate, Providence, RI
Christine "Tina" \X!ilcox McIntyre - sister of Jed Wilcox, wife of Jerry, family foundation
  amantha Bradshaw (daughter), (formerly) Teacher St. Michael's Country Day
(Husband)
 Payton Brad haw, 26 (daughter)
Ali Bradshaw (daughter)
Gwen Brads haw (daughter)
Armin Allen, New York, New York
Jobn Piexioho, Richmond, RI
Caroline "Doll)" Briggs, Newport, RI


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    I.       Redwood Llbrary Board of Trus tees 2021 (Sept- Sept):

R. D aniel Prentiss, Esq. - President; Frnnk Ray - VP; Danie l Benson - Secretary (Married to Anne
Hamilton's daughter, Dorie Benson); Michael Holt Massey -Treasurer. Edwin Garry Fisher. MD -
Honorary Board Member & Past President.


Marvin Abney. Josiah l3unting ITT, Jacelyn Egan, Michael Gewirz,John Grace. John Harris ll, Washington
Qlip) Irving III (Author), Dodie Kazanjian, Elizabeth Leatherman, 'da Nearv . Tanet Pell, Earl A. Powell
III (Rusty Powell III and former employer of Carolyn DuPont at The National Gallery)


    II.      Bill Martin & Tom H ockaday's H ouse

According to Bill Martin, between 300- 500 people passed through between October 2020 and April 2021,
including Andrew Parsons, MD and the membership of the Workgroup. It was where relationships were
forged, and where Andrew Parsons read Barefoot i11 Heels nightly while Kristin MacManus scrolled financial
data on various persons of interest and shared it with the group.

According to Bill Martin, the persons of interest from their house that they chose to move forward in a newly
formed Thievei:y Ring to promote their special interests include: Kayla Abbate, Kylie McCullough, Kristin
MacMannis (who was chosen by Rusty Powe.ti ill last October 2021 as a person he would mentor in
fraudulent financial schemes), Tara Gragg (IMC dancer), Lau ren DiFedes (IMC dancer. Her father is a
wealthy business man in Texas), Tracey Jonsson (Founder and ED, Newport Art House).

Bill Martin would have selected them for any new project that came along. Tom Hockaday would have
actually managed them with Bill Marcin completely in the background and absent from the work at hand.
David Ciccifuu, D-RI always knew this. These Thievery Rings are a bit of a pyramid scheme to have a number
of groups and people under one particular leadership. Kamala Harris is always involved with this group, so is
David Ciccili.oi. We also learned Bobby McDermott's mother is involved in fraud schemes not unlike Tara's
mother, Linda Piochock.i who wanted to move toward this in her own fraudulent participation schemes.
4:00PM May 27, 2022


    III.     N ewport Hospital Foundation

Board of Trustee Members 2019:

Nary Dotterer Cullen - President; E dward Feldstein, Esq. - Vice Chair; David Gordon (dead) - Secretary,
Michael Dawson, VP, Finance, Treasurer.

Gail Alofsin, Sister Therese, RSM (Salve Regina), Lawrence Aubin, Sr., Timothy Babineau, MD
(CEO /President of Life Span, Providence), Holly Bannister, MD, Carol Bazarsky, Peter Capodilupo, William
Corcoran, esq. rista Durand (President - CEO, ewport Hospital for Lifespan). Rita Gewirz, Bradford
Gray MD, nne Hamilton, Patricia Norton Kidder, E lizabeth Leatherman, Paul Leys,Juliette McLennan,


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Jonathon Pardee, Sandra Pattie, James Purivance, Isabella Ridall, Sarah Schochet-Henken, Barbara van
Beuren, Sharon \Xfood Prince.

Board of T rustee Members 2021:

Nory Dotterer Cullen - President; Barbara van Beuren - Vice Chair;Juliette McLennan - Secretary; Michael
Dawson - Treasure.

Gail Alofsio, Sister Therese, RSM (Salve Regina), Lawrence Aubin, Sr., Timothy Babineau, MD
(CEO /President of Life Span, Providence), Holly Bannister, MD, Carol Bazarsky, Peter Capodilupo, Crista
Durand (President - CEO, Newport Hospital for Lifespan), Edward Feldstein, Rita Gewirz, Bradford Gray
MD, Anne Hamilton, Victoria Johnson, Patricia Norton Kidder, Elizabeth Leatherman, Paul Leys, Juliette
McLennan, Jonathon Pardee, Sandra Pattie, James Purivance, Oliver Quinn, Isabella Ridall, Sarah Schochet-
Henken, haron \Xlood Prince.


    IV.      Anesthesia Associate of MA/St. Luke's H ospital

Over 90 plus persons were copied on an email that was sent to [ames O 'Rourke, lvID Marion, MA. His wife
attorney, Laura D. O 'Roukc, csq. has a copy of the email and the distribution list.


    V.       Kate Quigley Lynch, Wes '82

She has a list of 14 Wesleyan University alumni who were directly sent a pdf copy of Bar~(oot in Hee/.s by
Andrew Par.ans, MD around September 2019. At a minimum are Shakir Farskh, '84 and Jim Glickman, Wes
'84, Roxbury Latin '80. She volunteered to hold the list of names because someone did not want to expose
themselves.




    VI.      Island Moving Comp any

P ter Bramante, Executive Director. Dominique Alfandre and Betban) DiNapoli are co-chairs of an ongoing
Capital Campaign since 2016/2017. They have been working closely together all this time. Dominique
Alfandre retired as the Executive Director in December 2017 after 37 years in that position. Bethaov
D ' apoli is said to have been on the board now for 14-17 consecutive years. Monique Burgess was involved
on the board for nine consecutive years. Both Monique Burgess and Bethanv DiNapoli dance themselves
weekly, and their daughters each took class from IMC. Monique's daughter entered her freshman year of
college as a dance major, and left after the first semester exposed as a possible anorexia nervosa patient.
Dominic1ue J\lfandre's best friend since at least 2016 has been Nora Diedrich, Executive Director of the
Newport · rt Museum.



    VII.     O ther Individ uals Pe rsons



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Donald Jagoe (ref: (ean Gorham)
Cathy Wicks, (February 4, 2021, instigator)
Pattv Gibbons, (wife of Larry Gibbons, D , and Kings Grant neighbor)
Michael Knowles, MD, Newport Hospital psychiatrist, Kings Grant neighbor.
I leiei Kno"" hu1
E lizabeth Leatherman, Commonwealth Club, Redwood Library, Newport Hospital Foundation,
    Newport Historical Society
Ruth Taylor
James Varley, 79, Southington, CT
Jay T. Varley, 56, New Hartford, CT
De.an Varley, 49, Bristol CT
Maureen E. arley Roberts. Bristol, CT (Married, but uncertain about the name),




Other People involved, but not directly implicated unless in the dialog.

Peter "Jed" Wilcox, Newport, RI, brother of Chri ·rine "Tina" McIntyre, wife ofJen:y McIntyre, e q.
--.1 na W ilcox, Newport, RI, wife of Jed
   laite elson, Newport, RI
Gum ingh, Head of Kundalini Yoga
   abby Bernstein, Kundalini Yoga
Tara Flynn, Major Gifts, Preservation Society Newport County
Peter Hatfield, US Trust Practice Manager, Providence, RI
A hly Hou eholder, Former curator, Preservation Society, Newport County
  teve Punzak. MD, One Medical Passport, AAM, Willington, CT
Patty Gibbons, Portsmouth, RI


Pre-contacted, Consented Language, Date-Time Stamped, with Witnesses for Publication
of Barefoot in Heels


February 12-28 2021

Privately, Kamala Harris. and Pamela Dorman, SVP Viking Penguin, Wes '78 reviewed just about every page
of Ba,~(oot in Heels, as if she were interviewing an author. It appeared everyone in Kamala's Ta ble knew the
entire book.

For Viking Penguin, she initially verbally offered $2 million. Alberto Villodo immediately said, "It had to be
absolute!J $4 million." Over the course of the next ten days, the valuation went to $8 million then $12 million,
until she said, "I can offeryou $14 million, but not at!)lthing higher than that."

She said her imprint, Pamela Dorman Books, was over extended with author,Jo Jo Moyes, and some other
books. It is said she paid Jo Jo Moyes $300,000 for a 2-book deal and Moyes is currently working on her 4th
book. One of Moyes' books has become a Netflix Original Classic which Pamela Dorman Books directly
                                                                                                              12
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received the sale monies from Netflix, not the author, because her imprint is the holder of the rights and
permissions for the book. Authors do not receive any monies from any book sold to the film industry. The
imprint from the publishing house holds all the rights and permissions for any book bought from an author.

Alberto Villod0 soon learned through Kimberly \'<lither poon, Inkwell Management, they had no intention of
ever buying the book because Hope an Beuren didn't want the book. Kamala Ha.ui.s said to everyone, 'Just
make the book go awcry, a'!Y wcry possible. " That was the mission and order throughout the entire ordeal. No one
told Pamela Chapman.

If Pamela Chapman were to be offered a book deal ultimately worth $360 million, it would have been
discounted by the following:
    • Mark Halpern, NBC / Universal will prove the author had plagiarized it through the use of a stolen
        and printed copy with another author's name on it. He would then grab it himself, and sell it to the
        film industry thereafter on behalf of himself.
    • Hope van Beuren couldn't understand why anyone would ever want to read it. She said I can't offer
        any money. Yet, Pamela Dorman said, 'W e alwcrys pick these up for less than $100,000. " Therefore, in the
        end, if they destroyed the opportunity for the book to become sold to a publishing house, they said,
        "You c.an always sweep it up forJes s than $100,000." That was the entire intent of ratcheting up the
        book and movie offer, then killing it, by saying, ''No one wants to read it at!)imore. "It had been illegally
        sold and illegally distributed without publisher or author rights and permissions.




April 13, 2021, 10:29 P M

With Pamela Dorman, Pamela Dorman Books, Viking: Penguin, Penguin / Random House, the author
receives residuals on everything including podcasts, magazine articles. The justification was because Ba,-efoot i11
H eels is and never will be a typical book, and Pamela Chapman is not your typical writer-author. "She is a
Lightening Rod/ sword in the Hebrew ll!)',rlici..rn1 school of kabbalah (which is true). She zs a "Merkabah, a chariot offire, a
wheel of life. "

Carri rosson ilpin "green-lighted in on the project." One - two years after the publication of the book,
Bt11rfool in J-l aels. the movie project will begin. There is a need for an agent in Hollywood to auction off the
book for movie and/ or film rights. 't-.ifark Halpern was calling for an auction right now. He had no business in
that.

         They referred themselves to         arrie Crosson Gilpin "Because y ou personalfy know the author. "

         ''No wcry could 0111y Crahtw1, SVP, S cribne1; execute the Barefoot i11 I-:leeLr manuscript without the help of Caffie
         Crosson Gilpin becausefirstfy, Can·ie Crouo11 Gilpin would cover up, and secondfy because Ctmie Crotso11 Gilpin has
         ambition enough to attempt the pro/·ect, as editor, but she was never under Ja llf_JI Graham'.r employ. "

         'T he two women thought it would be a win-111in" except for when Pamela Dorman said "Cam·e         Crosson
         Gilpin isn't qualified, or prqfossianal enough." Instead Carrie ro son Gilpin wanted to "steal, delete, and
         defraud the author's- 1\1.r. Chap1JJaJ1 1!. voice in the narrative."



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        Carrie Crosson Gilpin re-wrote the narrative for Mark Halpern as a screen play with the original
        author's name on it. Others said, "No, it is his name on it. "They planned to sell the screenplay with her
        name and copyright for the Hong Kong/Dubai reproduction market (see Michael Ho! Massey,
        Redwood Library.) They had competing interests, or the two were in-distinguishable, one from the
        other. It was said Justin Timberlake, Martin been, Reese Witherspoon, and Nicole Kidman (Llama
        Nation) were interested in the screen play.

        '  Oll f)I Graham, she's just not prysical(y, emotiona!(y or inte!lectua!(y up for the challenge          ofpublishing
        Bon:/oot in Heels. She is said to be drunk and 1JJorkingfrom home from the time                of the beginning of the
        CO VID-19 outbreak. Catric Crosson Gilpi11 '.r father was said to be a drunk, therefore thry can work               together. "




May 13, 2021, 11:50 AM

Final Receipt of Acknowledgement for the Deal, 12:08PM

$45 million upfront
20% over $240 million
10% over $321 million
50% podcasts
75% all other residuals

The author has no rights, permissions, or compensation for selling as a film. All is retained by Scrib11er's,
 imon & Schuster. The author receives compensation as a screenwriter editor, and photographer for her
book jacket photo.

The author has editorial content input, and final approval for the cover and book jacket.

End of Receipt of the Deal at 11:57 AM

Witnesses:

Donald Chri t. Esq., Edward J, effcrnan, Plano, Texas, Nancy Graham' husband, Carri Cros ·o o Gilpin,
Harry Gural, Tameen aied, Pamela Chapman




Then at 8:42/8:43 PM as Final Receipt of Acknowled~ _·ment of the Deal

        The financial deal became $55 million upfront.

        Witnesses:
        Donald Christ Esq., Edward Heffernan, Nancy Graham, S P, Pamela Chapman, Harry Gural,
        Alberto Villodo



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M ay 17, 2021 9:58 PM

Final Recei t of Acknowled ement of the Deal

$75 million upfront
10% over $160 million
10% over $240 million
10% over $320 million

  ancy raham, SVP as Editor,
With the employ of Andrea's Editing Team. This became Beatrice of York, British Royal Family
Susan Hagadorn II Editorial - who later became Diane "Cyntbi:i'' Crosson McEnroe.


Then at 10:53 PM Acknow ledgement of Receipt that Carolyn Crosson Gilpin has stood down from
participation in the book deal.




May 18, 2021. 12:41 PM

Release (by Carrie Crosson ( ,1111111 ) of her copy of Barefoot in Heels to .\',rihlll r .•• . 1111q11 1:' · :--clu1~tt1 New
·York to a woman named Susan Hagadorn, said to Cynthi..'l Parent' sister-in-law, but was Diane Crosson
McEnroe, who was said to be responsible for the manuscript's editing.

The financial deal includes:
$100,000 photo credit
$100,000 cash for book jacket write-up
$100,000 for reciprocal relationship writing support
$100,000 extra for "jackass monkeying around"
$100,000 for petty cash

$500,000 into a money market account at Merrill Lynch which then transfers into another money account
that is a charitable trust account of JP Morgan Private Banking, NYC.

The money would be available in 2-4 weeks-12:41 PM .
A business contract will be delivered in 4-6 days -12:06 PM

Other conditions included:
   • No reciprocity arrangement for additional materials.
   • No other imprint of i.mon & chuster. Materials belong to Scribner's of London (British Royal
        Family) and NYC.
    •    No reciprocity arrangement for additional materials to any bookstore or author book fair. Scribner's
         takes care of everything, only attend events if the author wishes to attend them.
    •    No reciprocity of arrangement to book clubs, lectures, any other gatherings, the internet, or in
         person, except if you want to be involved. 12:16 PM
                                                                                                                         IS
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Acknowledgement of completion of the deal 12:40 PM, Tuesday May 18, 2021

Witnesses:
Nancy Graham, SVP Scribner's, Cynthia Crosson McEnroe of Scribner's Editorial Office, "Alyssa" - Scribner's
Editorial Assistant, Donald Christ, Esq., I-1:u:.ry Gural, lberto Villodo-12:17 PM, Carl Helmetag.


May 21, 2021. 1:50 PM EST & 7:56PM EST & 9:32 PM EST


Acknowledgement of Receipt of the Final Deal, 1:53 PM EST

     •   The deal includes payment such that it will be transferred to JP Morgan Private banking, NYC.


"In real time and real space we validate everyone simultaneous!J into the new age of energy."

 'This is the ackn01vledgement & efficial time start of the new age of energy because           we validate you all
together now. "

                                        May 21, 2021, Eric & Wendy Schmidt & Pamela Chapman


Witnesses:
Eric & Wendv chmidt (Google), Nancv raham 2:04PM, Pamela Chapman 2:04 PM, Amey Ca.rdullo, Esq.
2:04 PM, T u.mer Scott Esq . 2:04, Donald Jagoe, Harr:y ural, Alberto Villodo, Donald Chris t, S<.J. 2:05 PM,
Dorienne Farzan 2:05 PM, Roger Kass, Esq. 2:05 PM, Kamala Harris - P,            2:05 PM, Pamela Dorman
2:05 PM, [(jmberly Witherspoon 2:05 PM, dwa.rd Heffernan, Joseph Fins, M.D.

          Then at 7:56 PM EST

        $120 million such that 15% upfront in a Barefoot in H eels account with the names of the          author
and her son and daughter. All other conditions exist as previously recorded on May 18, 2021.



May 23, 2021, 20:04 PM EST

No one on the face of the planet can duplicate the effort because Eric & Wendy chmicl [said], "There can be
on!J one Google, on!J one PaJ1Jela Chat>ma11. Therefore, it is a unique one-time deaL"


Ackncndedgement of Receipt of the Final Final Deal, 20:04 PM EST

$150 million, with every other condition the same. (witness: Edward Heffernan)

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"Nobody else can have this deal except Pamela Chapman, and "No one can occupy this place in history
again, ever again".
                        signed Natalie Rose, Kate Middleton, British Royal Family, England,
                        Ecic and Wendy chmidt



May 28. 2021. 9:04 PM

Transfer to t. Martin's Pres , NY for $150 million and receive payments as 15%, 10%, 25%, 25%, and
25%. It's unlikely this ever occurred.


Self-Acknowlcd red \Xlitne ses as Sc ribes of the new Contract Lano-ua e :

Jonathon Knapp, CEO Simon & Schuster; Nancy Graham, SVP, Sciibner~·; Betsey Karmin, esq; Donald
Chris L, esq; Amey Ca.rdullo, esq; Turner Scott, esq; Elizabctb Gilbert, author;
Pamela Chapma n, Haq:y Gural, David O'Learv, Lyndse) 1:ant/Linda i\. O'Leary



 Tune 25. 2021, 9:27 PM
Acknowledgement of the Purchase of Bardoo/ i11 Heel.r by cribner's, Simon & chuster to be $240 million,

           Then at 10:03 PM


million,

           Then at 10:23 PM

           The final paperwork contract will be signed no later than July 15, 2021.

Witnesses:

William Par ons, Edward Heffernan,       ancy Grnham, VP.Jonathon Knapp, CEO imon & chuste.r,
Pamela Chapman



June 28. 2021. 4PM

The same deal as June 25 with the following understandings:
   •   Residuals are paid at 38.5% for the size of the deal.
   •   Payable seven times a year, with the 7th on December 31.
   • Audit numbers of gross profits and distribution numbers will be provided.
   •   Remainders are no longer taken back anymore.
   • Waterstone's will buy direct without a consignment.

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    •   Barnes and Noble.
    •   Amazon only takes so many books a time.

No deal is final until reviewed by E dward Heffernan, Bear Sterns Alumna



July 2. 2021

The book was dead on arrival at im0n and chuster, crihner's even though Nancy Graham and then
Jonathon Karp, CE O, promised her that at least in six-eight-ten weeks it would be published.

They swore to themselves that by the 4 th of July 2021, they would pull the plug and declare that they never
intended to publish the contract they dictated and date-time stamped. They just strung her along.


  a11cy Graham claimed she ultimately didn't want the book for three reasons:
     • It didn't come through her trusted agents.
     • She couldn't figure out how to pay with a paper transfer of assets which is the least costly form of
         payment.
     • She didn't want a new version of Et1/ Prqy Love which she over saw at Riverhead Books because she
         couldn't stand to bear another Zeitgeist moment when a publication like that is ever again published.
         E al Pray Love (memoir) came through her trusted channels of literary agents. The author was in the
         industry as a journalist.
     • They can't predict the popularity of books. They have no way to predict whose voice in literature will
         be popular. So, they just publish certain authors that come through their personal trusted agents, who
         are impossible to identify.

No one will question the lawsuit. You just need the right attorney. Yale University can help you.



July 4. 2021



[onathon K ,t rp: We didn't do any deal with you today or any other day because we can't and we won't deal
with you his way.

Pamela Chapman: But you did.

Jonathon Karp: But we won't.




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July 13. 2021

These two women, Pamela Dorman and ancy Graham, are sitting at the crossroads with it tied down to
l amaJa Harris, her goons, Happ)' van B uren, and a long cast and crew of others.

                   Pamela Dorman claimed she'd pay $14 million, but no higher.

               Nancy Graham claimed she'd pay $310 million but the company is                                 attempting to be
sold by Viacom/CBS. It has yet to find a buyer.




July 14. 2021. 8:08 AM

The author files with the US Library of Congress for a Certificate of Registration as author/ owner of
         i,,
Bcm1/oot Hel!/J with all rights and permissions.




July 19. 2021, 3:28PM - 3:58PM

$240 million upfront, with 25% ($60 million) at the close of the deal to close on good faith.
20% on the next $320 million
26 % on the next $440 million
25% on everything else

Payable every 2 months, 7 times a year with the 7tli at the close, 12/31/xx.

Pamela Chapman holds the copyright to sell as a book, not Sm'b11e1·'.r, nor Simon & Schuster's.
Scribner's sells the book to Waterstones outright and gets a good rate of return.
 '7-f thry don't like the book jacket, it gets changed. No, we like it. We don't know how to do whatyou do. Yes, let's work
together to sort it out." 3:57 PM

'Viacom/ CBS sqys we can do the deaf because SH!livan and Cro1111Pe!l wzl/ insist on the full $310 million upfront. So, Nanoi
Graham, let's hope this is a runawqy best seller and it should be."
We don't do residuals anymore like the past.

We do not pay for photographs or graphics or anything else.

We do 50% on podcasts. We do 50 % because it is a production expense that f ameJa Chapman does not
want to underwrite.

Pamela     haprnan provides her own photograph.

All monies go through J.P. Morgan Private banking.


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'v' illiam Parson s: What about when the securities top off or Viacom/CBS sells Simon & Schuster?

No problem. They are a diversified portfolio that your person can redistribute anyway you like it.

Date - Time: 3:35 PM July 19, 2021

Hard copies of these contracts- We send them out by mail, FedEx and DHL.

'That's great", says Pamela Chapman.

Witnesses:
N ancy G raham, VP, Jo nathon Knapp                       E O, Donald Chr ist esq, Pamela Chapman, D orienne Farzan, Amey
Carullo esq. T urner cott esq. etc.




July 21, 2021

Scribner's of London (British Royal Family esp . Beatrice o f York) can't do a book deal with Pamela hapman
because Kamala Harris is a big fraud, liar, and a cheat, and because if they do, they are in violation of contract
law.

Scribner's of NYC (Nancy G r:alUJ.m) just renegotiated a contract the other day, and validated at least $60
million upfront (as 24% of the deal) , but there was no date-a date isn't important because contracts can take
years to execute.

It was just a travesty last night when K amala ation decided to exploit Simon & chuster, and then (ona thon
Knapp, CEO said at 4:15 am, they can't take a book deal of this size or volume because Kamala Harris
will excoriate them.

 [Note: ::;Ollll'\YlilTl' it al.s,, ,·,] \, 1-ol \ 1,l CO lll ( :n~ j() do thi , ,1/.l or a deal l"l'ljllitT, ,lppr(J\ ,il, from l_- ~ ::;l'l1'11L \\,II,
.__1110\I ill•. ,,-luch1 , k.11n.1l.1 _i_l_l \\·hicl11, ~J11h 11 1 11..!...l!.R-l,Y ;\!]d ,lllL,l',h,, .D-C.\ [

So, now you might consider, when you are 67, you might meet on some library steps somewhere. You won't
ever meet there because you don't live anywhere near each other, and you won't want to visit West Virginia
because when Bet v Karmin. csq. said, ''I won't ever read a book like that because Kamala Harris herself
destroyed the book repeatedly. She traded it for the constitution of the Unites States of America, and
her own presidency"-all because Happy van Beuren didn't want anyone to touch her beautiful family-or
Newport, RI where she grew up at bois d'ore, and no one likes that house. It seems to have bad karma-
except her family lives in Middletown, RI.

Roger Ailes would tell you, "You must make as much money asyou can because ifyou don't,you wiii seiiyourse!f short, so
make sure you seii at the top ofyour game, and no one sells at the bottom" except for andrn O rsloff and H olt Massey
who said, ''You don't publish at $100,000. "So, they were going to sell the copy to the Hong King Hilton
publisher (a very specific company), a reproduction copy. So, $150,000 has to be the bottom of the barrel if
reproduction is at least that much-Then, you will quickly see that a $1,500,000 is the bottom of the barrel


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for you, Pamela Chapman. because Lisette Prince has calculated the value at $3 billion based on the capital she
knows is involved. So, who owns the book now?

Pamela Chapman does. This makes the investment of Simon & Schuster at least $2 billion now. She gets the
other $113 million for owning the rights to the book.

If the book deal is $313 million, then she gets one-third. Simon & Schuster owes her at least 25% up front.
$113 million = $250 million which is what Ed Heffernan said in the beginning. So, who is lying now? What is
the reality now, Pamela Chapman?

Gretchen Carl on/Fox News: There is no one to remember that quote and I won't rewrite what I wrote ever
because in thl' end \\'e did thi s ro remember that Pamda C: l1apm:111 will go to court. So, she is her mYn scribe
and we arc her own witnesses. no\\' and forc,Tr.

  ancy Graham: I must honor the contract once again, except this one is larger at the other end.

, illiam Parsons: Then, we negotiate until it is right on paper.

  anC)' Graham: We might never tell you the right numbers.

\Xlilliam Parsons: Then, we always send for an audit every year. It can be done next week because this will go
on until the contract is signed, sealed, and delivered. The money is transferred into a real account she can
withdraw from. Ok Nancy Graham?

Yes, because she now understands you, P}tmda , ha11,ma11, will be destroyed every night when you wake
up between 12AM - 2AM, and they will help you awake until the~· destroy your money, your book,
and your character. At night after 10:15PM, they come out like thieYes and wolves to holler, and then
they scream, shout, and disturb the peace until Pamcla Chapman confesses to three things, or admits
something about her finances so that they can block her money, and her character. What's it all about now?

jNotc: ·1 hL1 ,1 ,T, 111 ;1 m;1sLurb,111<,11 - kundalirn nil!--'- Ill .1 ljlllVI ,p,icL ,1 hill I 111\\ I 11 h 1prn,111 ,1 ,1, hem!--'- h"lkrul.
~u vamL·d :11. ,md ,1Cc",1vd. I




July 22, 2021

Pamela Chapman: The deal is global distribution which she and the book require. The book is worth $3
billion on the open market. Edward Heffernan knew this back in May 2021 and Lisette Prince confirmed it
yesterday. No one appears to want to cash flow $3 billion in sales?




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July 23, 2021

12:40PM

You get the contract from Simon & Schuster because if you don't everything will fall down because
Kamala Harris isn't the worst the deal in town just business, and no one wanted to ...

Richard Neal, D-MA Ways and Means: Cut the deal now.

Does he have any sway over 1onathon F a.rp. CEO?

All I know is if Viacom/ CBS waits for an M&A deal that goes through Way and Means, then if Donald
Trump knows anything, he knows AOL/Time Warner can't cut a deal until Mircb McConnell says it is ok.
That is standard practice.

Does Mitch Mc.Connell say, "Cut the dealfar Barefoot i11 Heels?

Absolutely, because no one can afford to listen to your questions anymore. Your lack of informational
knowledge is your ace in the hole. You are no CIA Massad, but yet you could be.

Rogc.r Kass: "My heart skips a beat at that one."

That is her real personality. Ok, it's a bit obnoxious, but it gets the deal done every day.


] I()\\. l!Jlli!- doc~ ;1 co111e1ct and chc:ck rake bc:cau~c m, accou11ta111 need~ ro km>\\~~

"By August 21, 2021, you will have a signed contract in hand."
                       Mitch McConnell, R-KY, Nancy Grnbam, SVP Scribner's, 1onathon Karp.
               CEO, Simon & Schuster, Richard Neal, D-MA, Chair of Ways and Mean




July 27. 2021. 10:29 PM

Carrie Crosson Gilpin was to copy the entire file of content of knowledge of interviews and notes about
author, Pamela Chapman and her manuscript, Barefoot i11 T-lecls and transfer it to ancy Graham's group and
"Andrea" (Who ultimately was Beatrice of York, or her mother arah Ferguson, and connected via Thievery
Ring to Jonathon Karp, CEO Simon & Schuster.)

Witnesses:
'baron Ramel. 1effery Allen, Carrie Crosson ilpin
Dorienne    ··        tcheo Carlson, 1om lockaday. Tameen aied.Jonatboo Knapp,                  ancy Graham,    P,
Scribner's,          chustcr


Ptu:porred Famil) Connection :

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Carrie Crosson Gilpin and husband Ed Gilpin, are related to Mark Halpern supposedly through Mark
Halpern's sister's son. He also has a son, Matthew, that was said to have attended St. George's School,
Middletown, RI, but he attended Tabor Academy in Marion, MA, were he met Denise Roberts, a Newport
wealth manager, a past president of several non-profit boards of trustees, and especially the Newport Art
Museum where Pamela Chapman had been a past trustee when she was president of the Board. Mark
Halpern is said to have often traveled to Newport, RI.

It was also purported that Mark Halpern could be a first cousin to Nancy Graham's husband, so they were
always attempting to say they were extended family, and attended holiday meals together.

This is not true at all, put how they presented themselves for over a year. (2:28PM, May 20, 2022)




 July 28, 2021, 4:00 P M

The book deal can no longer be an outright sale because the author now owns all rights and permissions.
!Note: lt can be ,l l<>ng-tl·rn11-c11c\\~bll' 18-,car lease.I

Nan ·     ral1am is intentionally willing and committed to a marketing, sales, publishing and
distribution deal worth $360 million upfront to the author.

The financial deal:

Tender an offer worth $360 million with 25°10 pa~·able upfront at the signing of the deal.
Payout is 38.5%, seven times a year with the seventh payable period at the close of the calendar year on
December 31.

The deal includes providing audit numbers annually of gross profits and distribution numbers. There are no
remainders ever taken back.

Waterstone's will buy direct without consignment because they get a better deal that way than with
consignment and remainders.

Barnes and Noble does consignment and remainders. A profitable deal can be made due to the size and
influence of the book, Barefoot in Heels.

Amazon acquires books in smaller numbers and does not offer remainders.

No deal is final until approved by witnesses: Edward Heffernan, CEO, Alliance Data Corp, Bear Sterns
Alumni, Plano Texas, Pamela Chapman, '\ illiam Parson , Putnam Investments, Boston, and Nancv Graham,
SVP.




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Au.gust 5, 2021, 1:34 PM

Pamela borrnao proposes to be an agent for the author to contract for the author with Knopf Doubleday,
Penguin Random House for formatting, marketing, printing, sales and distribution. No actual dollar amount
is suggested other than she has a new health, wellness and spiritual imprint and really wants to do business
together. She suggested as the "agent" to Knopf Doubleday, she personally could make a phenomenal rate of
return on the investment for herself.

The same day, Ms. Dorman asked the author about typeface, spacing, publisher's software, and book jacket
graphic design. There appeared to be a serious interest and intent on the future publication of the book.


August 6, 2021, 12:46 PM

According to Nancy Graham, VP, Simon and chuster, for the size of the deal, the ROI is better if the deal
goes through, than to payout in a legal lawsuit from the author through Simpson, Thatcher and Bartlett (or
another law firm).

The offer from Nancy Graham is as following:
$240 million plus 38.5%, payable seven times a year.
The deal is referenced with date-time and witness stamp of July 28, 4 PM, but that deal was for $360 million
plus 38.5%, payable seven times a year.

"Barefoot i11 Heels is a timeless classic so if Simo!/ & Sch11slcr doesn't want it, VikillJ!. Pa11g11i11 will deal but they won't pqy
upfront, or in the future. That's the wqy Viking Penguin plqys."

"Barefoot in Heels is about betrayal, and where and when does it end? Now, the author has to ask
herself, does it end in abuse?"



How many times do you cut the same deal, and never have it actually materialize?"


"Barefoot in Heels is dead to most people. Not exactly. They are still reading, and re-reading it today and
tomorrow, and every day forward. Who won't want to make money from the experience?

Pamela Dorman: Viking Penguin actually suggested an annual reading of Barefoot i11 H eels in the same manner
of James Joyce's Ulysses and Melville's Mobr Didf;.

INo_t_('. : I 111 :-;c•p1cmhcr ] /,. ::'II.:' !. i'.JllH l1_i I .q•• 1 I , uµ,,•c <lc cl illl' :rn1h"n1,cl ;\lllli111 -,11,p1,l\L'd ,11 :1C k \\ Ink l'll ,c ;1:-•ul
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                                                      August 31, 2021
                                                            8:44AM

Tonathon Karp. CEO Simon & Schuster

"We take Barefoot i11 Heels now unconditionally with all rights and permissions previously granted to Pamela
Chapman. We will have the former financial deal backed by House \Xlays and Mean Committee since
Kamala Hai:ris herself acted as a Judas in the public trail and hanging of Harry Gural who acted as Pamela
Chapman's traitor par excellence."

If Ionathon Knapp says Simon and Schuster will unconditionally print Barefoot in T-leel.r
Does her old contract still suffice?
         Yes and no. Pamela Chapman owns the rights and permissions and she always will. She can "lease"
the rights to print and distribute.

[Note: 111 1arho11k,111 \1·:i, ;it h..11nd:1 l11_11 (=.£!~lit• lll '\L·wpon I le comL·, \nrh .\l.111. I lalpc1n \1·h1ch mean~ Ill'
c11mc~ \1·i1h .L!!:,1 Pluch,Kl~!, ;iml BobbY \lcl)crmoll. Barner !·rank. ,rnd pla1 ~ ,, iLl1 I 11i~1, . Bc-cc1 Bcrtr.111d.
I l.irry l;ur.1!. l .~111011<1 I Lt11ll . \\ '"l'il I\ . .....!Ill<' (,1·.1ham. 'Lrilniu ·•. !




Lee-al Precedents from the Entertainment Industry to Make Promises Legally Binding


                                 Mark Halpern, Harvey Weinstein and Hollywood

Actresses say: Not on your life, because if Mark Halpern is doing that to another woman he is tied for high
treason because in our Universal Studios industry you never ever give a woman a cocktail while acting
because if you get her drunk, she will scream bloody murder because that is how H :uvey Weinstein drove his
picture making. That is exactly how we all knew we were in his harem of women. Is this man, Mark Halp rn,
this stupid?

If he is, he will get a subpeona from more than a few of us. Pamela Chapman will be unable to sue him if he
has any money left over, after we nail his ass to the cross because we will get to him first and foremost.

It provides an M.O. for how these men get women to do for them exactly what they want them to do, and it
comes from Thievery Rings in The Game of Sexual Obedience, which in the end is to destroy another human
being. In Hollywood, you would not kill the actress. Well, yes you would, because you would make her a
woman of his harem, and not any other. Each studio director has his harem of actress women who star under
contract for all of his motion pictures, and no one else can have her. He takes her away from her friends and
family, and makes her service him as a reciprocity of gratitude for the opportunity to star in his motion
pictures. Absolutely the culture which is what Ashy Judd and others stopped in 2019, before the in The Big
Book Story. Other media giants fell, but not Mark Halpern because he was hiding in a political Ways and
Means Thieven Ring with I amala Harri and ' ays and l\il eans, and Harvey Weinstein wasn't.

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          [This is exactly the same game as Hollywood played out. It's now in publishing and with Mark
          Halpern.]

          [Legally what happened with Pamela and Simon & Schuster and Vikine: Penguin is exactly what
          Han c ' ' ·insLcin did, and went to jail for. Pmmises made, but not delivered.]

          [This is also Alberto Villodo who promises to mentor Pamela Chapman, but abuses her instead]

Harvey ' einstein was never protected; he just didn't get caught. If you all can get to Mark Halpern in 6
months or less, go for it. Just bring him down for your own industry protection. In the end, we all have
enough money from all of this. Just get the sucker, because we have all the documentation for what he did to
all these women. He offered several opportunities to these women, but never delivered. Just like it says, he
swindled Carrie Cro son Gilpin and Ed Gilpin into deals that were not real.

Ir is against the la\\. ifn.Ju are \1·aiting for a part 1h.n 11e,-cr sho1Ys up.\ ou are not tl'ch111calh under conrrnct.
hut I ou :UT promised, and he ne\"(:r ddin:>rs so \IT all rake his calls, but it 11e1 er materializes, just like \1·irh
H!l i' /f1{J/ 11, / Jc.,., and casting last summer. I lis S\\"l!Jdk is he brings 1·<m i1110 the ring a11cl tncs ro keep ~ ou close
and 11L'\·cr offers H>ll a part in a11nhi11g including Marcella Lobo. You kept asking, and asking, and
begging which sets up the dynamic for him to abuse you.
                17 women came out against Ha.rvev e.instein and 3 for Matt Laue..c (more) and maybe 5 more.
               There are many more.

Legal precedent:
Just like Scribner's and Simon & chuster and large contracts, which were more than just promised, they were
date-time stamped with witnesses.

The Actresses say the House Ways and Means is supposed to stay out of the Hollywood motion picture
business because of the Hollr,vood Black List of communist sympathizers that put them all up in a grand
inquisition, so the culture is to keep the government out of our theater production business. Whether
or not that happens, we can't say.




Kamala Harris says today,"]',;() 111or1011 p1ctlll'l' ,rudi() 1, 1m·i1cd re, ,1 \'\ . , ,11!..l._JL.1 1, lllL'l't11lf'_, hut it can 1x-
n 1pn1 i 111 () a 11111'\ t 11 1\111 ~ through <"her hu,mc.·,,. hut llC\ n I< 1 be ,11 1he r()rc Iron I C()r rhe 1·n,111 hnc. (pause)
H:u;n• Gural is considered second string. Tara Plocbocki is now considered third string because she will lose
her law license. \111 ,,r rhc pcc,pk im oh-cd hnc 11·ho µr, ro t"cc.krnl c<>url. 1r,,c rhci1 frrn11 -li11c crcdibili11· ,1nc.1
cu1 1H1 lc,11i,':e1 pla1 ,1 h1µ:h ,takl's game c,f frn1L1. If you get caught, you must step aside. Harry ural you are
never coming back, so don't ever think we will seduce you or send you a prompt invitation to the grand
inquisition of our own doing.
Kamala Harris 6:31PM -6:34PM 4-16-22. ][from draft p. 1347]




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Clifford "John" Friend and the Anusara Yoga Crisis


The four links below describe in detail the 2012 scandal of john Friend, the founder of the school (an
entrepreneur's empire) of Anusara yoga. At its height, he had 600,000 students and 1,500 certified teachers
who had spent thousands of dollars and traveled the world to meet up with him to obtain the "ivy-league of
yoga certifications."

Each of these articles provides exceptional quotes that parallel the founding of The Four Winds Society, the
style of power, charisma, sexual practice, and Wiccan or shamanic ritual consistent with the practice and
empire of lberto Villodo, and the existence of all-female Wiccan Coven (or masturbation clinic) as a way to
raise ''sexual/ sensual energy in a positive and sacred wqy. "

The parallels to Alberto Villo_d o are uncanny. They will not be fully described here. That is its own paper.
Pamela hapman has read all of l berto illod 's books over the past ten years. She never viewed him as a
guru, just a savvy entrepreneur who charged thousands of dollars, often $14,000 for a 9-day "energy
medicine" retreat. He too started his own brand of shamanic practice in the Western world lifted from
Peruvian shamanism. Drug-use was not just tolerated; he was a dealer. The application of the term Wiccan
Coven is academically and legally detailed in another section of this paper. It is the term consistently used
with !oho riend to describe his lifestyle surrounded by consenting females who practiced initiation and other
rites which were meant ''to raise sexual/ sensual energy in a positive and sacred wqy, "but were perhaps said The Daily
Beast, "a pretext fo r his own sexual gratificati on. "

John F riend was associated with "AnusAura, which means 'illuminated anus."

According to a quote from New York Magazine, there was a website that created embedded messaging that
presumes John Frie.nd was involved in kundalini sexual practices not as a reciprocity of relationship for soul
mates in a magnanimous relationship, but as a style of secret sexual practices in his all-female Wiccan Coven.

 ''It is a sacredyoga rystem in which the A nal Chakra is manipulated in order to tune into the forces ef Puni and Mani that
exist throughout the entire universe." The school was "rooted in the teachings of Slinkananda" (literally stealth
bliss), the site went on to say, and run by "Bob Buddy, the founder of AnusAura [-a play on Anusara-] . He
is known for his exciting events and 'hands-on' (important in kundalini initiation) teaching methods." The
website, ~ ~:11 u )l'J.-'-'--hn .. l·,- till .,\d i,!\\ llt11 ,I°' 1h~ l.\!!!_!l.il1111, connects Anus Aura (kundalini by way of
John Friend) to the Church at Ephesus (Turkey) in the Book of Revelations in the Bible. The Church of
Ephesus (Cult of Artemis, that deals with an initiation rite of girl around the age of puberty and described in
the Trojan War.) refers a moral decline of the church, as evidenced through kundalini practices (Pamela
Chapman) "The church at Bphe.,11.,· had aligned itself with the powers of darkness and embraced the File
nature of corrupt politics. For thz\ C.1.11-i.,t 111ams !he dmn:h in Revelation. that lhtir prominence and h/e.r.ri,zg u,i// hi'
re1noved. "! 11111:-- ,\\\\\ lll l 1l 11 11 1_.._.u - 1.,i1 1: !i 1. . 11 1111 21 1i:-.:. 11 1 ~

J ,l111 J:n end is also quoted in words that any person recruited, abducted, or otherwise participating in an~·
group of pcrsom in an energy space associated with Kamah1 I lnrr is or \'\'ays and l\1cans has been introduced
to: "I have taken Wiccan oaths over the years where death is actual!J the consequence ef telling the truth. "
I ;q,. \\\\\\ p;1d1t·,,,;.c()t}l_'h](),'' ,ildli 11>1 '!• ' •I dLtaib-()1· 1•>1111 1·r1c1lll, -hl,111111_1., , ,11 II, 11!L. t••\ L
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Supreme Court Ruling: Google Transmitting Real Information in Real Time

The Supreme Court validates Google in real time, all together.


"In real time and real space we validate eT'eJ~·one sirnultaneous~F into the new age of energy oT·er the
Akashic Record realm."

"This is the acknowledgement & official time start of the new age of e11erg_1· because
        we validate _, ·011 all are here together 110w."

                                           \l;n 21, .:'11.::'L l.nc ~chmiut (Former C:EO for 1(1 year, ofCooglc:)
                                           & \\ cmh :,;;chmidt (l l ,h Hour Racing) & P:11rn l.i ( .lrnp111a11 ( \uthor)


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Eric chmidt, "I will openly submit my wealth to stopping this (the thievery of books and authorship
by uploading the content online through Google) in perpetuity because we fought like crazy to
prevent this all the way to the Supreme Court in 1973/1974." (May 26, 2021)

The Supreme Court said, "Yes, the transmission ofinformation over Google via a digital energy
current is real in real time."

Eric cbm.idt stated the Supreme Court says it's valid if Eric and Wendy chmidt testify openly in court what
Google was doing was real in real time. There were many months of open testimony before any one started
believing Google. That was 1973-197 4.

They created a time table in the open Google platform across all channels simultaneously across the world.
The Supreme Court said, "Ok, we believe you."

'lf these publishing people don't po'!Y up in three dqy's time, we will have world here.ry," says Wend) and E ric chmidt.

This happened last night when Google said, 'This is what happened ta us with Gaagle and open documents. We all
transmitted electronical!J the whole book ta the whole world in Google docs. "

Last night at 3:47AM EST they all said, "No, it's a real book, but it is a lost opportunity because it is nat and can't be
copyrighted because it 1vasn 1t and couldn't be published f?y a mqjor publishing house. "Yet, it was on July 14, 2021.


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Legal Precedent: US of America Colony Law: Massachusetts Bay, Plymouth Colony, Connecticut Colony,
and New Hampshire Colony; Sweden, Continental Europe, & England, 17 th century, ending 1750

          American Journal of Sociology, Ll. 8(, :-S..9, I {lttl ,J'./lill), pp. 1-31 (31 pages), The University of Chicago Press



While looking for a source to purchase Flora Danica in Copenhagen, with a side train trip from
Copenhagen to Stockholm, Pamela Chapman learned the traditional red wooden Dala Horse is
linked to pagen times, and the Swedish witch trials. It was fascinating reading about how many
people were literally burned at the stakes, tortured into confessions, banished from local parishes, or
fined for sorcery and the performing of "magic".

Pamela Chapman had been joking for over a month, that her experience was leading to legal
litigation that could be called, The Newport Witch Trials of2022-2023. No one thought she meant
anything like the Salem Witch Trials of 1692-1693, even though Newport was the backdrop for a
film industry movie last fall about the Salem witch trials. She quickly learned all over Europe,
England and Sweden, there were a large number of executions due to witchcraft, also known as
sorcery and magic from the 14th century through 1750. It is mostly performed by women, which is
exactly what we experienced in this Big Book t01y of 2021 - 2022, and it was centered in Newport,
Rhode Island. The men performing sorcery appear to have harems of women offering the
reciprocity of "energetic" sex (masturbation or kundalini) in return. Usually, it is the women who
provide the action of the sorcery and magic on behalf of the man, even though the man often
teaches it. Similar to a politician, he does not do the sorcery technology himself, someone else does
it for him. Then, they service each other sexually in a orgie experience between two people of the
group experience.


                       [Unless otherwise noted, the wording below is borrowed exactly from the AJS.]


The witch craze answered the need for a redefinition of moral boundaries, as a result of the profound
changes in the medieval social order. These executions· and accompanying demonological theories that
enjoyed widespread and popular acceptance can be explained through the anomie which permeated society at
that time.
         Definition of anomie: in societies or indi,,iduals, is a condition of instability resulting from a
         breakdown of standards and values or from a lack of purpose or ideals.

Witchcraft is a kind of technology and the magicians' main function is to cope with relatively ad hoc
interests and tensions. Magical powers can be forced to serve human needs through the magician's correct
use of formulas.

These were the essential characteristics of European witchcraft practice before the witch hunts for
the 14th to 17 th centuries: It's technological nature, its adhoc purposes, and it's extremely specific
goals (Love potions, specific spells, and the like) ... The witch so far had a special position vis-a-vis

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the gods (or deities). With the correct technological use of spells, and potions, he could compel
them to perform specific actions.

European witchcraft between 1450 and 1750 was conceived of as a virulent and dangerous blend of
sorcery and heresy (contrary to Christian doctrine). Sorcery includes anything that aims at negative
supernatural effects through formulas and rituals. Heresy is the pact with the Devil, the Witch's
Sabbath in the form of a black or inverted Mass. The Witch's Sabbath initiated new witches into
sorcery with the climax of a huge orgie which was considered promiscuous sex between the devil
and the witches.

Witchcraft was regarded as a routine dm -to-dm- almost impersonal technology until the 14'1, ccntun .
They \\-ere classifo:d as good or bad depending on the objecri,·es of their magic.

In England, persons ,1ccusl'd {_)f \Yitchcr:1ft , surccn \\ l'rc cuns1dcrcd to haYc cummirtcd legal crimes
against men. The worst witch hunts were in Germany, Switzerland, and France.

The purnshmcnrs ,, nc runurc. dearh b\ dcc1pir:1tion. burnings at rhc st:1kc. barnsh111t·11h frnc,,.
80-85% of these were women. Children were also involved.

As historical reference, "In classical Greece and Rome, magical processes were employed to produce
rain, prevent hail storms, drive away clouds, increase wealth and the like, but they were also used for
evil purposes. (Baroja 1965; Hughs 1965)

l -ntil rhc ] 2()U's the Catholic church':,; l>fficial policy was summarized in the Ca/JO/I ~piscq,pa/ which
regarded \Yitchcrnft and :-orccrr as a mere illusion.

Pope John XXII (1300's) had a fervent belief in the power and reality of magic. He gave the
impetus and encouraged inquisitors (witch hunters) to persecute relentlessly all sorcerers, magicians,
owing to his fear that witch craft practices were rapidly spreading. The actions of the Pope
reinforced already growing fears about witchcraft/ sorcery.
       1t \\ as a battle to the end: the catholic church (C ;()(]) ,~. sorccn hYitchcraft (Dc,·il)

After the 14th century, systematic theory was devoted to witch craft and promoted through books
written on the subject. Experts-demonologists- specialized in its theory, and inquisitors and
witch hunters put it into practice. !'he shift to the nc,, dcmonological theories" as prccisch \\ h:1t
\Yas needed to enable those t() persecute lcgitimatch lrnndrcds nr thousands ()f \\ itches.


Witchcraft reached a peak with the publication of Mallca11 mal~/icamm (the Witch's Hammer) in 1480.
Demonological theories reached a peak in which ,\-itchcraft cun-,ritutcd an indcpcndl'nt a11tirclig10n.
The witch lost her powerful position vis-a-vis the dieties: her :1hilm tu fmcl' the dicril'~ tu cumph
\\ 1th her \n~hcs \\ a~ rcphccd b, ;1 rural ,;ubordin:iri()n tt1 rhc deYiL In short, the \1-itch became
:,;,1t:111 \ puppet.


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T h e total ideological transformation in the perception of the witch took place in the 1400's when the
Dominican Friars theory of witch craft was widely accepted. They based their beliefs on a dualistic
assumption which \'icwccl the \\·orld ;is a battlctielcl in \Yhich a struggle bct\n·c11 the goclh son:; of light aml
the s;iranic :;011:; of the chrkness was played out. Witchcraft was the exact opposite of what was supposed to
be Christianity. fThis is what is happening now, 2022.]

1650 marked the end of the worst almost remarkable aspects of the witch craze. It lasted until after the end of
the Thirty Years War in 1648. It lasted from 1618 - 1648 that killed 4.5 to 8 million people. Germany saw
population declines of 50%. It was a war church (Reformation that splintered Catholic Europe and expanded
Protestantism) and states (The Haps burgs in Austria and Spain vs. the Bourbons of France). There were trails
until 1750 in some places. During the whole period in Europe between 200,000 and 500,000 were executed
(burned, drowned, beheaded, strangles or hanged) on accusations of witchcraft. Germany almost exclusively
used bonfires, Switzerland had to wipe out whole villages to keep them down. Lorraine, France, burned them
to the stakes.
                 It was a battle to the end. The Catholic Church vs. Sorcery /Witchcraft

In Switzerland and Germany, 85% of the victims were women. In Switzerland, almost every woman was
considered a witch. The witch hunts in their most intense form were in regions where the catholic
church was the weakest (Germany, France and Switzerland)

Old single women were persecuted at the beginning of the craze. Then, they were replaced by
younger and married women toward the middle and the end. No particular group of women was
spared from persecution.

Anthropologists suggest sorcery serves a useful function such as alleviating anxiety, integration, and
creates cohesion; witchcraft as part of the relationship network among different groups in a stratified society;
sorcery and witchcraft accusations arise in times of rapid social change because of social inequalities, various
authority figures or links with the social structure itself, with witch craft as using symbols in magical practice
as utility, meaning, efficiency, and universality. [N oJ...t:: Rciki energ~ medicin e is the same wa~·-]

 15 books were published on the subject of witch craft/ sorcery after 1435. Jacquier's Falgellum haeretticomt11
f asci11an·oru1'/I (1458) was a turning point. He defined witchcraft/ sorcery-for the first time-as a new evil
 form of heresy, claim that witches or those practicing sorcery were qualitatively different from the rest of
 humanity.

Before 1435, the Catholic church's official positon on witchcraft/ sorcery pointed out the beliefs in witch
craft/ sorcery were mere fantasies and he who believed in witchcraft had lost his faith. He claimed witches
were organized and used to fly (hallucinations due to drugs in ointments) to the atrocious Sabbath ceremonies
(usually Friday and Saturday nights) where they indulged in sexual orgies with the devil and feasted on roasted
unbaptized infants. This paved the way to the new conception of the witch, hence -bad: They eat babies.

30 years later, the 1\4a/leus ma/iJ(fra111tJJ appeared. It was one of the first books to be printed on the recently
invented printing press. It had no fewer than 20 editions. It's the textbook in witch hunting. It became the
most influential and widely used handbook on witchcraft.
    •    The first section of the book proved by argumentation the existence of witches/ sorcery and tho se
         that practice sorcery and devils. He or she who practices sorcery, but yet does not believe in the
         existence of witches, is himself a victim of witchcraft practices.
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    •   The second part tells how to identify a witch - the signs, techniques and tests to use. Prior to this,
        there had been no easy definition of a witch.
    •   The third section focuses on the legalities of investigating and sentencing a witch. It connected
        witchcraft with womanhood ... 'Witchcrcift is chief!), found in women because thry were more credulous and had
        poor memories, and because witchcrcift comes from carnal lust which is in women insatiable." [Note : It's bccn1sc
        rhe \\·i tch 1;; ahnl\ s co nnccrcd ro the cln· il_ \Y h n he himself ha s ~uch insa riabk lu~ t. and rhc\ ,1hn\·s
        end in ,1 sex ual o rgic togcrhcr.J
    •   The book's recommended way to destroy the devil was to burn his host (burn the witch, burn
        the woman) using green wood for the slow burning of the grossly impenitent. The authors
        encouraged the use of torture to elicit confessions.
    •   The book provided the moral backing for a horrible endless march of suffering, torture, and human
        disgrace inflicted on 1,000's of women.
    •   Here, in this Big Book roi.:y. just Pamela Chapman suffered and was tortured to death, and given all
        the blame and the shame. This is itself is backwards.

So, in this Big Book Sro1.:y, the sorcerers and devils treated Pamela Chapman as the victim who in history, the
victims were the women- but they were the witches and sorcerers, Pamela Chapman is never the witch. She
had no abilities whatsoever, never. In this story, all the Thievery Ring people were the true witches. They
blamed Pamela Chapman for what they were. They tried to try, hang, and burn her, except they were the ones
who were to blame. They used every ounce of torture and tactic to murder her. Yet, history claims they
themselves are the ones to be tried, tortured, hung, burned, decapitated, drowned, and destroyed completely.

Increased urbanization, changes in trade and commerce, changes in the monetary system bring change in
society. Extreme and rapid externality change brings internal change to moral boundaries in society ... Stress
and confusion created by these circumstance were further aggravated by external catastrophes especially the
devastating epidemic of bubonic plague which decimated the population of Europe and lasted with
aftershocks into the 18 th century. The physical climate of Europe underwent severe changes in those fateful
centuries - the onset of the Little Ice Age and the appearance of the great comet of 1528 (which might not
have been real-just imagined, and widely gossiped). This caused great fear and anxiety.
         Bubonic Plague, climate change/ Little Ice Age, of 1303 and a comet all tipped society into fear and
aggravation and broke down the moral boundaries between people.
                 Little Ice Age: \'(!in ters were bitterly cold and prolonged, reducing the growing season by
                 several weeks. T he se conditio ns led to wide spread crop failure, famine, and in some regions
                 population decline. The prices of grain increased and wine became difficult to produce in
                 many areas and commercial ,·ineyards Yanished in England .

                 The Black Death/Bubonic Plague: ,-\rrived in Europe, Oct 1347 when 12 ships from the
                 Black Sea docked at Messina. 1fost of the sailors aboard the ships were dead. Those alive
                 were covered in black boils and oozed blood and pus. Over the next 5 years, The Black
                 Death would kill more than 20 million people in Europe - 1/3 of the continent's
                 population. It attacks the lymphatics and originated from fleas that trmTl on rodents. It
                 arrived between 1347 - 13.Sl and had aftershocks into the 1700's.


In the 1400's there was a decline in the church's authority. It was noticeable. The Catholic church began to
need an opponent who it could divinely hate, so that a re-definition of moral boundaries could take place.
Only the most rapidly developing countries where the Catholic church was the weakest, experienced a
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virulent witch craze (Germany, France, Switzerland). Where the Catholic church was the strongest (Spain,
Italy, Portugal) hardly had any witch craze. It is the largest threat to the church's legitimacy. Protestants (the
Reformation) persecuted witches with almost the same zeal as Catholics.

The Ma!le1f! nzaleflcamm took part in a moral crusade striving to restore the integrity of the old ethical moral
community. Witches were the only deviants who could be construed as attacking the very core of the social
system, through anti-religion.

As a result of the severe economic stress, the entire feudal social order crumbled and immense sadness, and a
feeling of doom pervaded the land. It was intensified and aggravated by the severe climatological changes,
demographical revolutions, and the disruption of family and community life all of which were perceived as
signs of impending doom. [This might be a prelude to COVID-19, 2020-2022.] The individual was
confronted with an enormously wider range of competing beliefs in almost every area of social and
intellectual concern, and conformity to a church structure were weakened. [Pamela hapman did say, "Close
the churches, the temples and the mosques ... '] The existential crisis of individuals was expressed in terms of anomie,
alienation, strangeness, powerlessness and anxiety. This created a fertile soil in which the Dominican Friar
solution could flourish.

The strain felt by the individual-it is said mostly women, was he was part of a cataclysmic cosmic struggle
between the sons of light and the sons of darkness (despised witches), and if one could play out that struggle
between the light and the dark, they could thus play a real role in ending the cosmic struggle in a way that
would bring salvation nearer. This threatened the individual's moral boundaries, and the witch hunt craze's
own extensive polar support. jNote: .\11nh1ng th:11 thrc:1tcm ,1 pnsc,n·s rnc,r;1] bouncl:rnc,. <>r triggers a
person, ro crn~, their r>\Yll cthicil b<>tmdan line i, The Came <>l.\\ms ;1nd 0k:111,. a11d kamah\ ·1 ;1hll,'
\\ .ck<>rnc tr, ::'ll::'I :1ml ::,112::i. h1st"n repeat, it,cll .. j

How women became the change: structural and functional changes in the family, changes in the status and
role of women, and rural to urban demographic changes.

The medieval family was property holding, and the heart of industrial life of the community. In this home,
the woman possesses a central role as a housekeeper, mother and as a breadwinner.

The main functions of a married woman were to reproduce male heirs for the family property and to make
her husband richer by her dowry. Women were subordinate to men, and they were considered a possession
of men. They were regarded as dangerous and seductive. There was a correlation between prostitution and
witchcraft/ sorcery.




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The Mayflower with 102 passengers arrived in Plymouth Harbor, MA December 16, 1620.

Harvard University was founded in 1636 mainly to educate clergy.

The Pilgrims wrote a code of laws in 1636, one of the five crimes for which a person would be put to
death was "forming a solemn compact with the devil by way of witchcraft/ sorcery."

         Roger Williams would have created laws for Providence and its Plantations after 1636. (The
previous name-only recently voted by the electorate for change-was the State of RI and the Providence
Plantations).

The Puritans arrived 10 years, 1646. They had stern witchcraft/ sorcery laws,
under Gov. John Winthrop of the colony. At that time one of Windsor, CT was arraigned and executed at
Hartford for being a witch. A year later, 1648, three MA women were convicted and executed.

Witchcraft was a peculiarly a female provenance. Over 300 persons were accused of witchcraft in the
1600's in New England, only 3 of them were RI residents. The accusations were not made in RI. Of 116
persons on a list of the accused witches, 37 were male, 79 were women, most elderly or middle-aged.
Witchcraft gave women a public voice they rarely possessed.

Witchcraft accusations, trials, and hangings occurred in the Puritan colonies of: MA, Plymouth,
Connecticut, and New Hampshire on a yearly basis. The accusations came to n ho1rific climn x in I (,CJ:2 when
160 people were charged with witchcraft. 19 were hanged, one was crushed to death in an attempt to make
him plead guilty.
         On another website, Pamela hapman read on September 17, 2022, that the only reason             why the
deaths in the trials ended was because the Governor's wife, herself was accused of witchcraft.

Connecticut's witch hunt occurred between 1647 and 1697. At least 34 men and women from across the
Connecticut colony were formally charged with witchcraft/ sorcery. 11 were hanged at the Hartford
Statehouse. In New Haven, William Meeker was accused of cutting off and burning his pigs two ears and
tails as he cast a spell. A book by Cynthia Wolfe Boynton uncovers the history of Connecticut witch
trials. Windsor Historical Society has something on the topic.

The Providence Plantations was settled by Roger Williams and followers in 1636. They were trouble makers
and heretics from MA.
        Roger Williams would have created laws for Providence and its Plantations.
        There was a 1647 death penalty for witchcraft in Rhode Island.
                 "We don't burn witches. We hang them."

In 1638-9 an influx of refugees arrived with one Hutchin on after she was convicted of heresy in Boston.
She was excommunicated and banished. Nearly all refugees went to RI, where they founded Portsmouth and
Newport, RI. Tolerance became a way of life in Newport and Portsmouth. Quakers.Jews, Catholics,
Huguenots were all welcome. Now, in 2020 -2022 with the COVID-19 Pandemic, we have a bona fide
global Hate Crime focused on Newport RI. Pamela Chapman while a single, middle-aged woman
(the demographic worldwide between 1400's-1600's) is most certainly NOT a witch. She has a list of
over 130 persons performing witchcraft/ sorcery technology on her mostly between Feb 4, 2021 and
September 16, 2022, and several between July 2011-August 29, 2022.
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                 Newport, RI was one of the most free places for black slaves - They were all freed here. We
                 had an underground railroad. Now we have a Hate Crime.

In 1640 accusation against Anne Hutchinson and two men of "Aquiday Island" (Aquideneck Island) was
widely cited as slanderous. htt;p://rcbdpuritnn.hlog~pot.com/ 2012/ 05 /rhett:·bc-witchi:Moo-man y.hrml

The first case of witchcraft in Boston, 1688: A poor Irish washerwoman had been accused, tied and hanged
for bewitching a child named Glover.

When the Salem, MA and Andover, MA trials began in 1692, the first victim was tried, convicted and hanged.
The new Governor of the Colony, ir \"{/illiam Phipps (from England) authorized legal prosecutions. They
brought their witchcraft superstitions from England.

Cotton Mather, (1663- 1728) minister, Cambridge, MA believed in witchcraft. In 1692, he was called upon for
moral and theological support. He wrote a book. I-le \\ a, cc,tffinccd Satan wa, rc,orting to ii,; u,c in order 10
brndcr the ,prc;id                 or Chri,ti,111itr in the                 11l'\\"     \\·orkl.
          Ministers justified their theory that 'The Devzl could assume the shape of an innocent and pious   person, as
well as a wicked one, for his own purpose. "

History ofNew England John Palfrey 1878
The Witchcraft D elusion in Colonial Connecticut John M. Taylor
Entertaining Satan John Putnam Demos 1982
New England Rarities Discovered, by John Joselyn 1692
On Witchcraft, The Wonders of the Invisible World, Cotton Mather, 1692
An incomplete list of witchcraft investigations from 1651 well into the 20 th century:
l1__t!J]_~ 1111 ,, -~tJ ·ll1_c1·.\,c\_l_111 1i111L·lin, I(1_~ l__J_11da.1_Ji_1_ii_1 l



During and through the 1400's -1600's, there was no clear demarcation between real science and magic. And
here we go again!

There was much confusion about the moral boundaries of society. Frequently, there was fear of impending
doom. Those who survived run scared due to the epidemics and Little Ice age, and the comet. They all
thought the world was ending. A feeling that society had lost its norms and boundaries, and the
uncontrollable forces of change were destroying all order and moral traditions. These developments allowed
many contemporary thinkers to overstep the boundaries of reality and enter into the realm of magic, fantasy,
and make-believe.
                                                                History repeats itself, and here we are.



By persecuting witches, society led by the church attempted to redefine its moral boundaries. Deviance served
the social functions of emphasizing and creating moral boundaries, and enhancing solidarity. In fact, the
witch craze was ficticious deviance created for the purposes of re-establishing moral boundaries and
enhancing solidarity of society.




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                                               Overview
                                     (Originally, drafted August 2021.)

 !ls. Chapman was thrusted into the Akashic Record Public Commons space, previously referred to
as "Shamanic Space" on February 4, 2021 by Alberto illodo when . ndrew Parsons, I\llD, Cathy
Wicks, Portsmouth, RI, and} athv . bbate and Rick bbate, 97 King Charles Drive Portsmouth RI
- direct abutting neighbors of the author, came and rattled her body awake at about 5:45 a.m. -or
thereabouts. She had no idea what was causing the shaking in her body. She specially asked Shaman,
Alberto ·illodo (who was in Argentina) and Tameen Saied (who lives in Chennai, India) what was
happening to her? Both were available to her in a private "shamanic space" in what the shamanic
tradition would refer to as the upper realm. Both had with Pamela Chapman for at least two to four
weeks participating in a conversation about Twin Souls in a Twin Soul group put together by Jean
Gorham and her dead Twin Soul, Jerry Slocwn, a man who died in 2017. When he was alive, he was
considered the pinnacle of Newport. RI society. and the founder of Slocum Gorham. a boutique
investment group open to those by invitation only. Ifs. Chapman was the facilitator of the group,
not by choice but by design of Jerry Slocum. He was familiar to M . Chapman from when he was
alive.

M . Chapman had absolutely no training or understanding of the Akashic Record space. and at no
time did anyone anywhere explain to her how the ka hie Rec rd field "game was played". She
didn't play any game. It was said she played it her own way, which would be honest and forthright.
Yet, everyone took advantage of her and her unpublished book, a work of literary fiction completed
in 2015. They worked diligently to destroy her, the book, Barefoot in H eels, and her ability to earn any
form of living. After all, the ex-husband, 10 years after a legal divorce, still wanted to destroy her in
any way possible, because he lacked his own understanding and responsibility for how a 32-year
relationship could fall apart.

The experience from February 4. 2021 onward has been nothing short of numerous criminal charges
of every kind of slander. harassment, abuse, fraud, assault, torture, manslaughter, and several others.
The criminal charges begin with the illegal possession and distribution of her book Barefoot in Heels
obtained through the handing off of the book by a legitimate literary agent to: her ex-husband, and
then by extension a large group of doctors at Anesthesia Associates of MA and other associated
parties; a private b ok committee of the Redw od Library and A thenaeum; and ewpo.rt H o pital
Foundation and Life Span Health Systems executive offices at Newport Hospital, and then by
extension to a group of doctors and nurses. It also extends to the Executive Offices of the President
and Vice President of the United States of America and the leadership of the US Congress and the
US Senate.


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  s. Chapman wrote down the dialog from conversation ongoing in real time. All participants knew
she was writing down the conversations, and all knew she would use it for a legal lawsuit for actions
committed against her. It is clearly scribed numerous times throughout the dialog that they were
compliant and knew exactly what she was doing and for what reason. All the confessions of the
participants were freely offered and never coerced. The author has over 2,000 pages of writings,
written in over 12 bound books and a stack of Xerox papers over 5 inches deep. It took from
September 16, 2021 until September 16, 2022 to type and then a few more days to proofread the
document. It could be further edited for more enhanced read-ability, but that could take many
months. This a draft for legal purposes only.




Esmond C. Harmsworth IV

Descendant of Viscount Rothermere. Graduate of Brown University and Harvard Law School.
Reference: 1}1 t 1.: l1t <:nll") -:1gc.:11tc;.com / es moml -harm ,, 11r1 h ,
       9 Arlington Street, Boston, MA
       "Four Winds", 639 Bellevue Avenue, Newport RI 02840

Founding partner of Zachary, Shuster (Todd), Harmsworth (Esmond) Literary Agency. It merged in
December 2016 with Kuhn (David) Projects to become evitas Creative Management. According
to its website it is "A full service literary agency" with more than 20 agents in six cities: NY, Boston,
WDC, Los Angeles, Seattle and London.

He is the founder of the Esmond Harmsworth 1997 Charitable Foundation, 545 Boylston Street,
Suite 1100, Boston, MA.

The first Viscount founded the Dai/y Mail, London, England. The family business is still controlled
today by the 4 th Viscount.

        History:

        •   Pamela Chapman submitted a proper agent query submission on Monday,June 17,
            2019 8:44 AM via the Aevitas Creative Management website portal for a fictional
            manuscript, Bare/oot in Heels.
        •   She received a reply on Friday, June 21, 20191:05 PM EST. It read, ''Dear Pamela, Please
            do send me this, Thanks! Esmond "
        •   She submitted a full pdf copy of the manuscript on Friday, June 21, 1:10 PM.
                She received an email rejection from Esmond 1-Iarmsworth's private email account,
                 ch:irrn~,, or1h(u :1c, ita~crc,111, c C<l1l1 on August 12, 2019 that read:




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        Dear Pamela,

       I really appreciate you sending is BAREFOOT IN HEELS.

       We enjoyed reading it, but we felt the pace was too slow. It could work as a thriller but it would
       need to be much faster. Having the protagonist be in the psych ward, telling us her memories,
       made it seem a little static.

       But thank you for sending it and we wish you best of luck with it.

       Esmond



Pamela Chapman has source information from Sandra Orsloff- NYC, Newport, RI, Boston,
MA- personally. She is a former trustee and Chair of Governance for the Redwood Library Board
of Tru tee ; the Treasurer of the Commonwealth Club, Boston; a "best friend of Cathv Wicks -
 ndrew Parsons MD's seven-year intimate relationship; and wife and Twin Soul of current
Redwood Library trustee, Michael H olt Massey Ill-Officer & Treasurer of the Redwood Library.

E smond Harmsworth IV sent her entire pdf of Barefoot in H eel illegally (without author rights,
permissions, or acknowledgement) on August 19, 2019 via email to the following:
    • Roger Kass, esq. husband of Andrea v an Beuren, board member of the van Beuren
       Charitable Trust. Mr. Kass was a former associate at Pryor, Cashman, Sherman & Flynn,
       NY. He is an alumna of Wesleyan University 1984, the same year as Andrew Parsons, MD.
       It was said he had an arrangement whereby in exchange for a seasonal guest pass at the local
       private Sprouting Rock Beach Association, known locally as Bailey's Beach, Esmond
       H annsworth IV would provide Roger Ka s with any submission that was either written by a
       local Newport, RI author and work of fiction whose setting took place in Newport, RI.
           o No work of literary fiction has been published about Newport since Thornton
               Wilder's copyright in 1976 of Thco_phi/11s forth. This book was published privately by
               the family, and is still is today, 5,000 copies at time. It is distributed by Harper
                Collins. Mr. Wilder was unable to find any major publisher willing to take on the
               print and distribution of the book by an author and playwright who had won three
               Pulitzer Prizes. It was written at the end of his life. It became a movie that was
               filmed in Newport, RI.
           o Prior to that, Edith Warton's the Age efInnocence, was published as a book in October
               1920 by D. Appleton & Co. It had hen serialized in four parts for a magazine, then
               published as a book. It describes life in the 1870's in New York, Europe, and
               Newport. RI. It. She won the Pulitzer Prize for Fiction for the work. By this time,
                she had left Newport and moved to the Mount in Lenox, MA.
           o Before that, Henry James' in 1906 published the 32-page, A en e o f ewpor t.
           o Now, 100 years after Edith Wharton, Pamela Chapman has encountered undue
               pressure, blackmail, and sorcery to stop the acceptance by a major publisher of her

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             book, Barefoot in Hcel.r. It is not about Newport, RI itself, except for its serene beauty,
             livability, backdrop for the human condition. Newport, RI is merely the backdrop of
             the fictional narrative, a place she has lived for almost 25 years.

•   Roger I ass, esq. would have sent it to the van Beu.ten family of three siblings, their spouses,
    and including matriarch, Hope "Happy" van Beuren, a direct descendent of the founders of
    Campbell Soup. She is also a direct descendent of Nathaniel Hill, a wealthy investor and
    former senator from the state of Colorado. She grew up in the spacious grand palais home
    known locally as bois d'ore on Narragansett Avenue, Newport, RI. It would then also have
    gone to Elizabeth Lvnn, the Executive Director of the van Beuren Charitable Tru t,
    Newport, RI, and Becca Bertrand, Exeutive Director, Newport Film founded by ndrea van
    Beuren. It then when to fitst cousins associated with the Hamilton Family Chat-itable Tru t,
    Wayne, PA

•   Roger Kass. esq. would have sent it to the ewport Hospital Foundation and the executive
    offices of ewport Ho pital, managed by Lifespan health Systems, Providence, RI. The
    President, Christa Durand has read the book so have various doctors and nurses. His sister-
    in-law, Barbara van Beuren Glascock is the Senior VP of the board of trustees and his
    cousin-in-law, Anne Hamilton sits of the board. She is often a co-chair or significant
    participant of the summer gala committees, as might be her daughter, Dorrance "Dorie"
    Hamilton Benson.
         o    ru1 Hamilton, Bryn Mawr, PA, Newport, RI, Palm Beach, FL, and Steamboat
            Springs, CO, has played a role in illegibly reading it to the author in a private space of
            Kamala Harris, VP of the United States of America. Her daughter, Dorrance
            "Dorie" Benson of Webster, Street, Newport, RI and other Hamilton family
            members have all read the book. Her husband, Daniel Benson, is Treasurer of the
            Redwood Library.

•   According to andra Orsloff, The entire board and some staff of the Redwood Llbrarv &
    Athenaeurn, and especially arolyn DuPont, and Benedict Leca, Executive Director.
       o Michael Holt Massev III, aodra Orsloff's husband. He then sent it to Andrew
           Parsons, MD as a response to a social conversation suggesting he would really like to
           get his hands on the book. He was acquainted with Mr. Massie through his girlfriend,
            atby Wicks, who enabled the social encounter.
               • Over 90 doctors, nurses, and hospital staff of St. Luke's Ho pita! and
                    Anesthesia Associates of MA received pdf copies (see Laura O'Rourke's list)
                    directly from odrew Par ns, MD.
               • See Kate Quigley Lynch's Wes '82 list of Wesleyan alumni Andrew Par ons
                    sent pdf copies.
               • Andrew Parsons claimed he sent over 30 copies to friends and family.
               • Cathy Wicks submitted about 75 e-mail copies of the manuscript asking, "Do
                   you like this, or not? My bqyfriend ef sixyears doesn't think it's very good, and I need to
                    know ifyou think this story could be real?" ''No one answered the email," she said. She
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                   "wanted to support A 11dn1w Panons because it is the work ef his ex-wife, and claimed the
                   author was slandering her bf!Yfriend."
               •    . ndrew Parsons and Cathy Wicks have read the book repeatedly nightly at
                   Tom Hockaday's House. Bill Martin claims between 300-500 people came
                   through. This includes most of the people associated with the 30-40 resumes
                   Pamela Chapman sent out in Newport, RI.
               •   l athy bbate's family received a pdf copy as a reciprocity of favor for
                   joining him on Feb 4, 2021 to shake Pamela Chapman awake. Kayla bbate
                   was also a door keeper at Tom Hockaday's house. Her parents are an
                   immediate next door neighbor. They have tree issues with Pamela Chapman.
                   Andrew Parsons, MD said, ''Help me, andyou will have this on her to help you fight
                   herfor those damn trees she planted. "

•   Several assorted persons of interest in Newport, RI including John Peixinho, Armond Allen
    and several others on a known distribution list of reciprocity of understanding.

•   Someone associated with F am.ala Harris. The dialog and notes, as presented, will allow for a
    more detailed line of questioning to understand the chain of custody of the book from
    E smond Harmsworth IV to 1 amala Harris, and her group, known as Kamala Nation, or
    Kamala's Table. Pat Fernandez, who helped organize it with local "donors" initially called it
    a Super PAC. Kamala Harris was said several of these groups around Capitol Hill. This was
    one was populated by local persons or those with interests in Newport, RI.

•   After delegating the book to a Workgroup of persons who would re-work it to re-package it
    for a secondary market, the book ultimately returned to Roger I as as an e-book, edited first
    by Carrie Crosson Gilpin, then by the entire Workgroup and had the author name of
    Monique Burgess. A second copy of the e-book as purported to have been sent to Google
    Play authored by the penname Diane Gilpin, who is Diane Crosson McEnroe.

•   Persons of interest may include the following:
    Mark Halpern of NBC/University Productions Studios and Halpern Associates may have
    given a copy to Carolyn Cros on Gilpin of Hartsdale, NY and Charlestown, RI. The author
    knows Ms. Gilpin from her freshman and sophomore years at Hartford College for Woman.
    Ms. Gilpin then retyped the manuscript in a manner that made the work no longer resemble
    the author's words organization, or finished product. It's flow and narrative voice had been
    destroyed. It was said she attempted to write a screen play.

    Ca1rie Crosson Gilpin was said to have dictated the work to Cynthia Parent, 62, Google
    "Home Security", Menlo Park, CA, and former suitemate of the author.;        am Zilber tein,
    27, Google Home Security, Berkeley, CA and son of l aren Rothbatt Zilberstein. We '84;
    Tara J. Plochocki, esq., Barnard College, University of Michigan Law School, partner at
    Lewis, Baach, Kaufman, Middlemiss; and Hany Gural, Wesleyan University '83, former
    Senior Legislative Analyst for Barnie Frank and a former intimate friend of the author at
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Wesleyan University. Ms. Gilpin, Ms. Parent, fs. Plochock:i, and Mr. Gural spent many
nights in the Akashic Record space from April 2021, onward making sure the book was
poorly edited, and publically read to anyone who would listen. They often read parts out of
order. Many thought the book began at Chapter 10, which is over 300 pages into the book.
Together with Alberto Villodo and Marcella Lobo, they colluded to uphold Andrew Parsons'
Hope van Beuren' , and Kamala Harris' mission to destroy the author's ability to sell her
manuscript to a "Big 5" publisher, and to destroy and malign the author herself. As a group,
they committed themselves to stopping at nothing to malign, slander, harass, and abuse the
author, and through fraud and gross misconduct, destroy the author's intellectual material
and her right to sell it properly for fair wage in the literary market of the western world. It is
akin to two primary counts of manslaunder: the book, and the person.

Carolyn Crosson Gilpin of Hartsdale, NY and Charlestown, RI, worked closely with Pamela
Dorman of Pamela Dorman Books, Viking Penguin, Penguin Random House. Carolyn
Crosson ilpin has a file of notes and interviews from the time that Pamela Dorman said
repeatedly at F arnala Table. that Pamela Dorman would buy the manuscript, first for $2
million, then quickly went to $4 million with the insistence of lberto Villodo, who was
present. Several days later, the offer went $8 million "due to the author's personal branded
notoriety" from the February 4, 2021 early morning Global Mesa in the ka hie Record or
middle realm of shamanic/ sorcery space. A week to 10 days later, Pamela Dorman held an
offer at $14 million but never proffered paperwork. Through Kamala' Table and Q'ero
Nation, I amala's Tabl opened the realm three times during the evening prime time hours
of about 7:30 -11PM to read a declarative statement that Viking Penguin would be the
publisher of Pamela Chapman's book. Prior to these statements, she had Pamela Chapman
sanitize her Linkedln profile, removed items for sale in the Facebook Marketplace and set
her Facebook account on private viewing only. Not until Pamela Chapman said she had
done these task did Pamela Dorman appear in available to read her statement in the Akashic
Record realm. Pamela Chapman had no idea these statements would be read. She was told,
that is was important to strip her social media accounts due to her notoriety.

She repeatedly said, as did blfark Halpern. that Pamela Chapman would have a check for
25% of the $14 million by early May 2021. At no point did Kimberl) Witherspoon (Brown
University '84 and whose husband is an attorney) who stated publically during the Global
Mesa that she would be the agent for Ms. Chapman's book, Bonr[oot in Heels, because her
office was sitting on two submissions, six months apart, to her book.

M . Dorman quietly counseled M . Witherspoon to sit on the submission, and not to do
anything with signing her as an author. Ms. Wither p n was put into a Q'ero Nation space
for a few days by Pamela Chapman to work on the paperwork. Pamela Chapman and the
author had a private conversation verbally out loud (initiated by s. Chapman because she is
a clear channel clairaudient) for over an hour and a half in a clear channeled space of the
author. It was akin to a meeting and interview to explore agency representation. berto
Villada, Big Sur, California, Shaman and founder of the Four Winds ocietv, created the
space on February 3, 2021, under the leadership of someone named Q 'ero Dave. He
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       represented himself as a 52-year old twin soul with a twin soul partner, named Kathy and a
       girlfriend he couldn't get rid of. He claimed he was a computer programmer in CA, yet he
       was a 27 -year old unemployed friend of the author's son. This person, Da id K ho , St,
       Michael's Country Day and St. George's School, University of RI, of South Kingston, RI has
       been to the author's house in the past. The girl friend turned out months later to be berto
         illodo's wife, known as Marcella Lobos or Law:a illodo, or farcia Lobo Villodo. Reese
       Witherspoon became a daily conversation with the author-he had easy and quick daily
       access in what would be termed a private Akashic Record room or shamanic space in the
       Upper Celestial Realm of Shamanic practice.

       At some point in early March, around March 4, 2021, Carrie Cros on Gilpin arrived to
       interview Ms. Chapman in the I amala Harris ksahic R cord space and said she'd write an
       interview for the New York Times about the author and the book. It became apparent
       Pamela Dorman no longer wished to purchase the book. She claimed she was over extended
       in her manuscript purchases. She said Ms. Gilpin could courier the manuscript to Nancy
       Graham, SVP of Scribner's at Simon and Schuster. Nancy. Graham (Yale University) had
       been the editor of Riverhead books or 15 years at Viking Penguin and was a colleague of
       Pamela Dorman's. Mark Halpetn is a relative of both Can:y Cro son Gilpin's husband and
       Nancy Graham.

        A 4th to 5th distant cousin of the author said Carrie Cros on Gilpin sent an email with her
        version of the screenplay, for Barq,toot iJ1 HeeLr. which is about 100 pages, to a Universal
        Studio's office to pitch part of the book as a televisions pilot. At no time did the author
        know about any of this. Reese Withersp on said one of her associates had seen the email
        and thought it was such a poor presentation and not properly written, and that it was a stain
        and a slander of the author's work. It was meant to destroy Pamela hapman's opportunity
        to sell it as a major motion picture. It was said recently that Mark Halpern frequently works
        this way. With the book being uploaded to a zipped Google Books file with the authorship
        name of Mark Halpern on it, should Pamela Chapman attempt the sell the book to any Big 5
        publisher, publishing software would indicate that Pamela hapman plagiarized her own
        book. Pamela Chaptnan has extensive digital files to prove that she is the author un-
        mistakenly and absolutely. Under some scenarios, if ancy Graham were to copy the book,
        she'd have to say it is really Mark Halpern's work and that Ms. Chapman plagiarized him and
        not the other way around. No publisher could then take the book, and Mark Halpern would
        then sell the material himself to Hollywood. This is major fraud.

 shly Judd, an actress with whom the author has spoken to in private, as introduced by Mark
Halpern, "Mork Ha/peril escaped the #metoo movement, but was guifry. Everyone in Hoffywood seems to know
what he does, but he escapes being caught criminalfy. "

He appeared in l amala Harris' Table, as the "Shit Show Game Show" host each day taking over as
an Master of Ceremony of the day. He had an obnoxious way of overpowering the conversation. He
said, ''I am the TJ1Jin S OHi ofproducer E liz.abeth N.!Jrers, "the producer Pamela hapman said she would
prefer to have produce a film based on the book, Barefoot in 1-Jcels.
                                                                                                           44
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Mru:k ialpe.rn said he and Elizabeth My rs were Twin Soul seers of the north, and that he was a
clear channel. He was none of those things. Most days Mark Halpern appeared with someone who
introduced herself as Elizabeth Myers but it could have been anyone or no one.




   mond Hannswortb IV said, "I returned it on my personal computer. It has a date time stamp return to
Pamela Chapman~r original submission to Acvitas Creative Ma11ag,emellt. The communication was all in a proper
chain ef custocfy documentation with submission and rejection on her personal computer, which is backed up on an
external hard drive. " (May 26, 2021)

8:49AM May 26, 2021, Esmond Harmsworth IV said, ''I don't want to plqy The Game a1rymore. It got so out
ef hand that I want my personal agenry back, but I can't get it back because I've been shut down ry my father's
agenry."

 ''In realz!J, he is dead, but he zj not, because he told me explici,t/y last night at 2:45AM", Esmond said, 'My ass is
grass all over Newport, NYC and Palm Beach becauseyou all know me explicit/y now, Harry Gural now too. And,
no one wantsyou, Pamela Chapman to have this money. They want cm Graham S V P Sc,ibner's NYC to cut a
real short deal, real/y fast. "

.., d Heffeman, Plano Texas says, ''I will knowyou''. We have date-time stamps with names from May
18, 19, 20, time stamped, 12:40PM. (May 26, 2021)




It took until February 4, 2021 to reveal what had happened. Pamela Chapman had no idea at all. She
lost several job positions in fundraising in philanthropy, including two at van Beuren Charitable
Trust, three at the ewport Ho pital, two at the ewpo.rt rt Museum and numerous others
because of this stolen manuscript.

At least two -three times a day, someone attacked Pamela Chapman to assault her, beat her up to
beat her into submission to declare her faults, short coming, and her whole sexual history, such that
she would be completely defamed, slandered and left to rot-manslaughtered to the highest degree.
She will sue for everything, not to mention the lichael Holt Massey III debacle to send the book to
Hong Kong with a separate cover and his own authorship for the illegal marketplace in Hong King
and Dubai. arcie Crosson Gilpin, Cynthia Parent, and Diane McE nroe were brought in to do the
same.

    •       arrie Crosson     ilpin sent a poorly edited plagiarized screen play version to Universal
           Productions.




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    •    Mark Halpern intended to have a plagiarized version of Barq,/oot i11 l-1.eels uploaded to a literary
         data base to prove to Pamela Chapman she plagiarized the very book she wrote, and could
         no longer enter into contract with a major publisher.
    •    Holt Ma sey intended to submit a version to the "Hong Kong Hilton" for the overseas
         reproduction market.
    •    Monique Galuti Burgess authored a plagiarized e-book, which she digitally submitted to
         Roger Kass.
    •    Diane Cro son McEnroe "authored" a plagiarized e-book presumed to be uploaded to
         Google Play or another online platform.



Eric and Wendy, chmidt helped get Cynthia Parent to stand down but he said, ''I won't admit 01!)1 ef
this in a court ef law due to my own legal issues with getting Google's website up and running." Similar legal issues
of copyright infringement, intellectual rights, and other factors existed with getting Google up and
running.

No one knows how many illegal copies really exist but everyone seems to be able to quote lines and
sections from the book.


Slander, liable, fraud, copyright infringement, sexual abuse, sexual harassment, HR harassment,
domestic abuse, torture, manslaughter, and others. "I will best you into submission, and then
continually best you every day until you are nothing, but beaten to death," said-Andrew
Parsons, all over the illegal distribution of her intellectual property that she had no idea was stolen
and widely distributed in a small community where she lived, socialized and attempted to obtain a
position in fundraising in the non-profit industry. No one cooperated with her, and no agent or non-
profit would support her offer of a work of fiction or resume for fund development.

For all of his actions, ndrew Par n one night in the summer of 2021 unexpectedly declared an
unabashed victory for all who could hear, "I wi11, I n·i11, I absolutc~J· positfre~F wi11! I am king of
my ow11 space and king of the world."




Newport Hospital Boatd of Trustees and Lifespan Health System Administration

Received a copy of Ban/bot i11 H eels from Roger l as in August 2019.

She knows several of the Board of Trustee members. They are acquaintances in Newport.

Andrew K Par ons ID worked at Newport Hospital in Anesthesiology about June 2019 - April
2020.

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Human Resources Discrimination
     During this time, the author applied for three positions in the Development Office without
     the knowledge that either he worked there, or that the entire board and staff had read copies
     of Barefoot in Heel.! illegally. She has copies of all cover letters and resumes submitted.

         She also applied for two positions at van Beuren Charitable Trust as a portfolio manager
         during the same time frame. Roger Kass is a family member on that board of directors.

She knows several of the Board of Trustee members. They are acquaintances in Newport.


 fonday, March 29. 2021
1:29PM

Present: Christa Durand, President, Newport Hospital, Laurianna D. (Development), Lifespan,
Hope van Beuren, Roger Kas , Becca Bertrand, fark Halpern, Deborah hapmao, Pamela Pantos,
-imoneJoyeax (subsequently dead).

Hope van Beuren committed $4.5 million investment in the movie, Bar~/ool i11 Heels.

Backdrop against Newport Hospital and the Redwood Library. Hope van Beuren asks that van
Beuren haritable Trust work with each board to insure proper governance moving forward.

This city is too tightly controlled by too few people, and you can't move an inch without bumping
into someone.

Hope van Beuren isn't a woman to be trifled with. If you want to trash talk Pamela Chapman again,
you can because we reason she did not get a job in fundraising in this town because she is too
qualified to work with idiots who all populate fundraising departments across Newport County.

 Simone Joyeax claimed before she died, '7)amcla Cha,pman would make $1,000 an hour as a top skills
fundraiscr. That is what Jeff and "Richard charge. Pcm1c/a is CEO, Chief Operating Officer, and Chief Information
 Officer of Chapman & Co. "

Hope ,7an Beuren has $7 million on Barefoot in Heels.

How to make a living doing something meaningful for you. Until you do, you do not.




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Board of Trustee Members 2019:

Nary Dotterer Cullen - President; Edward Feldstein, Esq. - Vice Chair; David Gordon - Secretary,
Michael Dawson, VP, Finance, Treasurer.

  ailAlofsin, Sister Therese, RSM (Salve Regina), Lawrence Aubin, Sr., Timothy Babineau, MD
(CEO/President of Life Span, Providence), Holly Bannister, MD, Carol Bazarsky, Peter
Capodilupo, William Corcoran, Crista Durand (President- CEO, Newport Hospital for Lifespan),
Rita Gewirz, Bradford Gray MD, Anne Hamilton. Patricia Norton Kidder, Elizabeth Leatherman.
Paul Leys, Juliette McLennan, Jonathon Pardee, Sandra Pattie, James Purivance, Isabella Ridall,
Sarah Schochet-Henken, Barbara van Beuren, Sharon Wood Prince.


Board of Trustee Members 2021:

 o.ty Dotterer Cullen - President; Barbara ,~an Beuren - Vice Chair; Juliette McLennan - Secretary;
Michael Dawson - Treasure.

Gail Alofsin, Sister Therese, RSM (Salve Regina), Lawrence Aubin, Sr., Timothy Babineau, MD
(CEO/President of Life Span, Providence), Holly Bannister, MD, Carol Bazarsky, Peter
Capodilupo, Crista Durand (President- CEO, Newport Hospital for Lifespan), Edward Feldstein,
Rita Gewirz, Bradford Gray MD, Anne Hamilton, Victoria Johnson, Patricia Norton Kidder,
Elizabeth Leatherman, Paul Leys, Juliette McLennan, Jonathon Pardee, Sandra Pattie, James
Purivance, Oliver Quinn, Isabella Ridall, Sarah Schochet-Henken, haron Wo cl Prince.




Redwood Library Board of Trustees and Administration

There is a culture and practice of discrimination, bias, fraud, slander, illegal acquisition of author
manuscripts, illegal practice of reading and editing author material, organizational acceptance or
rejection of the right of the author to gain industry publishing rights.

According to a story, E lizabeth Lynn. Executive Director of van Beuren Charitable Fou11dation,
took a conversation from a Board of Trustees meeting to Hope "Happy" van Beuren regarding the
interest of the Redwood Library Board of Trustees (or a smaller group of them) to vet any and all
local individuals and their works who aspire to be published fiction writers, especially anyone
deemed of social acceptance in Newport, Rhode Island.

 lizabeth Lvnn conveyed this information to Hope van Beuren, and potentially the family board of
van Beuren Charitable ~ou11dation, such that Hope van Beuren met privately with Carolyn DuPont
and reached an understanding. In exchange for a personal donation from Hope van Beuren. Carolyn
DuPont would make sure that Redwood Librarv trustee, Esmond Harmswortb IV would send any
and all manuscripts he obtains through his literary agency, Aevitas Creative Management, (and
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previously, Zachary, Shuster & Hartn.sworth, Boston, MA) quietly and illegally to Roger Ka s, esq.
Roger Kass, esq. in turn was to, and has, provided a seasonal guest pass to Esmond Harm wotth IV
for Bailey's Beach, also known as the Sprouting Rock Beach . s ciation, the "most elite" private
beach association in Newport, Rhode Island.

Esm ond Harmswc rtb IV also has this arrangement with Michael H olt Ma sey III of Boston and
Newport, RI. He is married to Sandra Orsloff of Newport and New York City. At least one or two
times in the past, Michael Holt Mas ey III has retyped and submitted these manuscripts overseas in
markets such as Hong Kong and Singapore for illegal sale and distribution of the manuscript.
According to his wife, she began retyping Barefoot in 1-Jee!r for the same purpose, but stopped.
Esmond Hannsworth IV received privileges at the Commonwealth Club of Boston in exchange for
granting l\1ichael Holt fassey TIT access to these manuscripts.

It was suggested by aml.ra Orsloff that Andrew K . Paxson s :tvID himself, who she and her husband
know socially, that Michael Holt fassey III could get his hands on the manuscript that Andrew
Pru:sons, 1vID knew his wife had written, but couldn't find. It was said he was paranoid about what it
might reveal about himself, even though it was fiction. Fiction is neither fact, nor a memoir. He
claimed he needed to read that book to prove to himself and everyone else, ''He just wasn't that man':
His actions of widely distributing the manuscript was a paradox of activity: the very thing he tried to
suggest was not him, he proved to everyone. If he really had not wanted anyone to read it, he should
never have distributed it the way he did.

There is an unspoken understanding that Carolyn DuPont, 81, most recently Development Director,
and currently, ly sa Gadreau, Development Associate maintain a list of any and all members and
donors that will eventually seek agents and publishers.

The Redwood Library sponsors a monthly writer's circle meeting, which has met for several years.
Pamela Chapman was not aware of its founding and did/ does not attend. She is a proprietor
member of the Redwood Librai:y. which gives her voting rights at Annual Meetings and makes her
eligible to be a Trustee of the 501 (c)3 Board. She has held this level of membership since
approximately 2004.

  arolyn DuPont, 81, 5 Berkeley Street, Newport RI, former Development Director and mother of
  lice Ros , married to James H. Ro s, esquire, former attorney at ~rnn'li h, Sw:-Linc ~ l\loon:. \Xlho
lin at 1 Berkeley Street, Newport, RI and NYC. Her three granddaughters: E lizabeth, \'irginia
"Tull~·", and Harlan Ross belonged to the 'J'bic,·crr Rin~ Workgroup of 1· amain s T,11 k .




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Carolyn DuPont, Development Director, Redwood Libraiy
July 20, 2021, 5:29 PM


Carolyn DuPont, 81: I thought I was protecting the Redwood.

Pamela Chapman: How?

Carolyn DuPont: I didn't want you to look like us. Her book made her look like one of us, and she
isn't. So, we set out to destroy her one-by-one, shame and embarrass her, and maybe make sure no
one thought anything else.

Carolyn DuPont: We thought we succeeded, but we didn't. We destroyed her character every day
and night, and embarrassed her as much as we could.
!Note: l.ic k1 l I ~111 led an inyuirr that made her look like she ,,·a, a ~-'i -,car old "kid'' \Ylw needed ;1 pa1c11t or ;it
k,1s1 adult intcrl"(:-tlli<>n l.1d, 1~ I ;_:;111 i~ Ll1c sister oC:--nzie Conklin "-.;111ce I


Carol)'ll D uPont: We embarrassed without effort our own sins, but we didn't. I can't accept that she
looks like us.

Carolyn DuPont: My daughter Alice R o and her whole family, well just her daughter of NYC and
Newport. Plus, her three granddaughers were involved.
!Note: \ l1 n :111t111111 l~o,, hc,'1 ln11o11hon l--,.,1q: . (J-:() :,;imon and ~chustL'J '"rnilh ,pcakmg I

Alice Ross: I don't care for the book, but it should be published. That's all I'll say. I'm, a New
Yorker, and in Newport and we don't want this kind of media attention anymore.

H ope ,,an Beu.ren had nothing to do with this.

''Yes, she did, as a deal with Carofv11
                                   ., DuPont and Esmond Harmsworth IV"

Carolyn DuP nt: We were not protecting the Board of Trustees, just ourselves, and we don't want
to place blame on her (Happy van Beuren) but she isn't one of us, and never will be.

So why did you do it?

Were you so f' bored? (5:25PM)

 "It was sport, untzl it wasn't. The sport stopped the other dqy when Pamela Cha,Pmcm said she will hire 5111/ivcm and
Crotnuiel/. We knew then, we were all screwed because thry are the best, and will pull us all apart limb-fry-limb to
proveyou were the worst people yet. "




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Pamela Chapman: Carolyn DuPont did you succeed in supporting Andre" Pat:soos ID, Cathy
Wicks, Esmond Hat:tnsworth IV, Grenville Craig. 1i.les Bidwell, H lt fassey, andra Orloff and
your beach membership mailey's Beach), Happy van Beuren, Roger Ka s?

Carolyn DuPont: We were successful, but we destroyed your character, and we are so pleased with
ourselves. So, move out of town. We don't ever want to see your fucking face again at the Redwood
Library and Athenaeum.

Alice Ross Daughter: Because you don't compete with us William Parsons and Emily Par ans. You
never will.

William Parson : No problem. You didn't grow up here. We did.

Laurence locum: These are NYC interlopers, and we don't like them, but they live here in the
summer.

Thank you, Carolyn DuPont for your confession. We didn't like you either, but we tolerated you.
So, now that you have ruined another, do you feel better about yourselves?

Carolvn DuPont: No, because ultimately she will succeed, but at least she is a miserable unmarried
woman of questionable character.

Jack H alpern: No, she is not. This is an 80-year old (Carolyn DuPont) recently retired Development
Director without social connections. !Note: :-;1ic onh ;1rnn·d rn rm, n ;11 ;1b(lu1 a/-'L' (,=, 1" ,, orL 1n ,1 C1pi1:d
( :,11111 1 ,11!-'11 ~ I I hl' I\Ll}_,~ urn! l 1111,11 :-;h, pre·, iou,h \\ orkL d C, ,r I~ u,I I Pm1·.<c:_ll 111 ;\I I hL '-.;111011;1 I (; .illcn and lil' i,
currl'lllh 111 : :> 1 1:::>Jon the· Bo,11Ll ()C'J n1,ILL'" ot"thL· l\vd\\OOd J.ih1;1n ~hL' lll'r:<L"lf1, cll\()JCL'cl I


Alice Ross: I never met you, but I like you since you don't cower to bullies or take bullshit from
others. So, you are alright with me just stay away from my fucking social parties, which you do
anyway. I could care less about your book, but since it never goes away, it should be published just
so everyone knows you have no talent for writing anything of any kind.

Alice Ro : We never want to ever see Pamela Chapman or Harrv Gural at any party of our kind.

5:34 PM

You never do anyway.

I only attended a small woman's college on the east coast of WDC- No not really.
She is more liberal and more intelligent than me so what the hell, publish your heart out because I
won't read or write, I just socialize, and you don't.




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Jackie gan, Suzie ConJ<lin ance, Robett fanice. Jed and Elena Wilcox. This was a conversation
about being vetted socially to be a proper author.

It was about Patnela Chapman's sexual history, and how they could secure a unit for her at 111
Harrison Avenue. E lena Wilcox claims they own the entire building ofBeechbound (They do not!)
and that she owns the unit. They claim Jed Wilcox and Lisa Amodio are Twin Souls married to other
people.
                                                           0


ID011'1 i"orgct k l', w, l u 1,; mmricd to ~ l c l11 t\rl !- \\ifr h;.r.Q_\ ld!.!!l.Jl i, an officu of the Opera l lomc
board. kd \\ ik o~ gtl'\\. up in '.'(c\1· Britain, C: 1- wc,r L·ncl, ,1ttrndL·d .\Iordand I fill :-;chm,! a11Cl Tabor \rnclnm I
Supposedly, E lena Wilcox owns the unit as a REIT and she'd consider REIT'ing it as long as all the
furniture stayed there. As such, Pamela hapman couldn't bring many of her own things there to
live with her on material possessions.

They went on and on about vetting her socially to destroy her reputation, such that she cannot have
a book deal, or a board seat anywhere in town, or any social credibility anywhere in Newport or
elsewhere. She doesn't deserve a book deal according to them, nor a social life either.
!Note: \\'hen did am· oC thi, bL'CO!llL' imp, ,rt ant \1·hc11 ,ell mi' and pubh,hin!-', finion;, :\obmh care~ ;1hout \\ h,, ihL·
:lllth"r 1, Till' C<l!HL·111 of the \\·()rk ,1,rnd, , rn 11, O\\ 11 I


Since when did any of this affect publisher's actions to buy a manuscript?

When Way and Means steps in with multiple overlapping T hieveL'V Rings. ndrew Parsons
appeared to lead the Thievery Ring W orkgroup all on his own over time. Pat Fernandez you never
needed to be in charge of Kamala's Table. The action was downstairs in the Workgroup with all the
thugs and thieves.
4:34PM 2-16-22




Redwood Library Board of Trustees 2021 (Sept - Sept):

R. Daniel Prentiss, Esq. - President; Frank Ray - VP; Daniel Benson - Secretary (Marred to Anne
Hamilton's daughter, D orie Ben, on); Michael Holt Massey - Treasurer. Edwin Garry Fisher, MD -
Honorary Board Member & Past President.

Marvin Abney, Josiah Bunting III. Jacelyn E gan, Michael Gewirz, John Grace, John Harris II,
Washington (Rip) Irving III, Dodie Kazanjian, lizab tb Leatherman, Aida Neary, Janet Pell, Earl
 . Powell Ill (Rusty Powell III and former employer of Carolyn DuPont at the National Gallery
WDC and House Ways and Means, Tiverton, RI), and Jeffery Siegal.




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                                                   W ri ten .Lu ·nal


                                                     May 26, 2021
                                                         8:49AM

E mond Harmsworth IV said, "I returned it on my persona/ computer. It has a date-time stamp returned to
Pamela Chapman's original submissi.on to Aevitas Creative Ma11ageme11t. "The communication was all in a
proper chain of custody documentation with submission and rejection on her personal computer,
which is backed up on an external hard drive.

8:49AM May 26, 2021,       smond Harmsworth IV said, "I don't want to pfrry The Game a,rymore. It got so out
if hand, I want my persona/ agenry back, but I can't get it back because I've been shut down i?J my father's agenry. "
In reality, he is dead, but he is not, because, "He told me expficitfy fast night at 2:45AM that, My ass is grass
all over Newport, NYC and Palm Beach becauseyou all know me expficitfy now."

Han:y Gural now too, and no one wants you, Pamda Chapman to have this money. They want Nan
  :raham VP ' cribner's NYC to cut a real short deal, really fast, and d Heffernan, Plano, Texas
says, ''I wiff knowyou': We have date-time stamps with names from May 18, 19, 20, time stamped,
12:40PM.

E mond Harmswo1th · now asks, 'Vidyou write his al/ down?"

She replied, ''Yes, I did. "

What happens next?



 ''I can. Everything has slowed down in real time for me to do this, not like real conversation. "

 Can \ 11d rt\\ Par:-< 111 ~ time slow down for him too?

 He said, 'No, I was mistaken. I thought she wrote everything down in real time to write the book, Bt11r-foot ill
 Heels," and she said, 'Helf no. I couldn't have done that. A1!)1one who is a'!Yone knows those first 100 pages came
from memory and imagination far efter the fact if the .rit11ation. "

Barbara from nursing at Newport Ho pita) says, ''It is exactfy what happened ten years ago,you must be a
realfy good wnter, because I can't ever remember what I did last night or last week."

jJ 1drL'\\ I1ar , ,11~ says, 'Well, it is exactfy what everyone said"


Pamela Chapman said, 'How could it be? You were not there."

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He replied, '1just know it's all true. "

She said, "How? You were not there all the time."

But everyone in the story says exactly the same thing, "How could her memory be exact?"

\mire\\' Parsons says ''Because it was a true callingjor me to destrqy whatyou wrote down efter two years' time."

Pamela Chapman: This is how it all rolled out with some imaginary stuff.

_\ndrc\\ Parsrnl~: Everyone demands and knows what is true and what is fantasy.

Pamela Chapman: It's just story telling on steroids, you see. Donald Mass knows. He writes books
about it-(Yes he does.) I must be a really good storyteller then, because the Vice President of the
USA got so hair triggered by it that Pamela Chapman gets herself magically landed into a meeting
late at night about her behavior over other people's behavior over it. Truth be told, that Happy van
Beuren can't sleep over it.

Roge.r 1' ass says, ''It is ok, mumnry dear, because Andrea and I will take care of all ofit. You go to sleep now
dear. I become your surrogate caretaker, and everyone goes to sleep now including Pamela Cho,Ptnan."

Harry Gural witnessed yet another night of tyranny commanded by the VP against President Joe
Biden, against democracy, because she thinks Pamela Chapman has too many leadership skills, until,
of course, someone like lberto Villodo or Jerry locum (dead) screws her from the tyranny of her
lost and stolen book, mere intellectual property that no one wants to pay her for.

After all, Happy , an Beuren and the Redwood Library Book Committee all claim, ''.She is a nothing, a
nobocfy, "and they all stand next to, and behind, her former husband Andrew Parsons, ID, whom
they do not know-He qualifies for absolutely nothing in Social Newport. He just had a bad day in a
divorce filing, so much so, that he brought down the whole world through .. rnond Harm worth
IV, I arnala Harris, and Simon & chuster. There will be a large uprising that could have been
diverted if only more people understood investment accounts. Nana Graham's husband does and so
does d Heffernan and so do her children, especially William Parsons who is in the investment
industry.

"Get on your high horse (because she authoredfiction) and ride out of town now, because when you getyour investment
account, no one will speak to you unlessyou tell them all the truthyou know to be true." However, they will have
decided for themselves based on reading the book and talking to each other: Two truths and a lie,
two lies and a truth.

What is it to Nana Graham? How many lightbulbs does it take to screw in your head this morning
because Pamela Chapman has written this all down and will convert it to a pdf and sent it around
the world for commentary. She will place it on a new rooster of nightly must reads.
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 Real conversation doesn't go this slowly does it andra Craig?

 It can, but it does not, especially if something is yelled at you. You remember how you felt in certain
 circumstances. You replay the trauma of it all like combat scenarios in war. No one c.Tcr forgets
 trauma, war, or concentration camp scenarios ,Yhich is wh,· \'ictor h·ankel, .\ lcw'.,Sl'd1d1Jflr \lc·,111i11!!,,
 ancl J ]ic \Xiicscl, \i,1h!, and Pnmc.h_1 Cha Jm_an , 13an·/tm/ 111 f /1•1•/.r, can write these books.

 The witnesses want I amala Harris gone by morning, but not a chance. Everyone goes on lock down
 for a few days until the next round. Someone some night is going to pull a trigger, and burn down
 democracy across this nation of ours. It will be from someone from Wesleyan University or Yale
 University, or some private university across the world because we all have been schooled in
 leadership, personal agency, and fellowship. This is our legacy, our democracy, our personal rights.

 'We will not stand lry, and stand down for !Jram'!)I, or agaimt democrary, or against our constit11tion-base nations. In
the Upper realm, we will exist together. Kamtila Hanis. and most of the legislative branches ofgovernment exist in the
Akashic Record realm. "

 'We do not, and we don't stand down for !Jran'!Y, or against democrary. "You just want all your stool pigeons
 because one of these days someone like Pamela Chapman will say something shamanic or just plain
 endearing and empowering and she will cause the world to rise up and say, 'Hell no, we won't go."
 Someone will bring all of you down stairs to the dungeon. 'We don't go there with you because she has
 alreacfy been there too ma'!)lyears. Joor Saied, Chennai India went down there andfreed her."

She will just say, "B11ggi11g out, B.O.B.O. now, "because it was so damn real in their body, mind soul,
and is now stuck in contraction in her musculature.

 \ ndrc\\ Prirsun~ thinks he is on the chopping block. He is now elevated to the US Government at
the Executive Branch. Someone is whispering to Pamela Chapman. 'Who is it?"




The entire world and President, J e Biden says, 'Who areyou Pa111e/a Chapman, because I don't do that and
look where I am, President of the World?".

''No,you are not, "but Kamala Harris says, "Ijyou falter or stand down, ]oe .Bide11, I will be the leader of the
Akashic Record World and all will stand down to me, 'bar none~ "which is Pamela Chapman's term for,
''A.re you kidding me} amala Flmris?"

    ndrew Parson and Cathy Wicks, where the hell are you? Call with your tree neighbors and ask,
 Pamela Chapman, 'Who the hell didyou sleep with 14 years go?" She replied, 'What areyou kidding me? I
 sleep with on!J myself and no one else. I was on a path of deslil!J butyou were not, andyou were not, and neither were
you over there. "There were no sexual partners no matter what<.; 1c-rn iik _( r:w2 claims because his only

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partner could only be his Twin           ul wife and neither me nor Nola Ganem could remove that from
him.
(reference: p, SB ... )


''.So, Roger Kars how do you feel now, has mummy jinalfy gone to sleep? Didyou drug her, or is she deadyet, so you
can take over the world with Andrea van Beure11, siblings, and Campbell Soup cans? At the end o/ the dqy, all that
monry does not free you from destroyingy ourse!f or 111riti11g wrongs or establishing personal agenry, does it Roger-Dodger
Kass?"

No one remembers anything unless you write it done. 'The pen is mightier than the sword." (A Bar~{oot in
Heels quote) Pamela Chapman has been excoriated by the world for speaking out in fiction form
(what a paradox). Now she needs a bona fide publishing contract.

 ''.So once again, Albc1to Vil/odo, how do you spell New York Times best seller list 1,000 weeks plus? Is it the
Ardmoore Book Club or the Ardmore Charitable Trust? It's an ACTyou see, not an ANT to be stepped on,you
see. It's the new ABC's ofpublishing."

We all live in Newport at Saturdqy Night Llve in Newport RI with Roger Kass and the Supremes,
nothing but drama. Mark Halpern and Kamala Harris will kill anything Pamela Chapman writes or
produces. I amala Harris will just plagiarize her works, and then call them her own.

We are all real in real time, and here with Roger Kass and the Supremes. We know if we go all the
way to the Supreme Court like Google did, they will set the record straight that we are all real in real
time around the world simultaneously. We all said this in May of 2021, but we see when it comes to
legal matters, people in Newport, RI don't want to believe it, but the Supreme Court does, and so
should you.

Google paved the path so we don't have to fight tooth and nail. We were all here. We wrote it all
down because no one on the face of the planet could write and type like this. This is how the film
industry started the #metoo movement and removed sexual harassment from the entertainment
industry. The entire dialog goes around and around. It is the same looping story with the same
people. It fits a repeating pattern.

(reference p. 7b ... )

Alberto Villada has two issues with Andrew Parsons.

He can't understand why you were so stupid?

· ndrew Par ons:          lberto Villodo. not, at all.

Why has Harry Gural not understood his role in freeing Pamela Chapman?

  lberto Villodo has two problems with Pamela Chapman.

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Twin Soul seers with kundalini means nothing to her, but everything to~=~~=~
that?

Alberto Villodo: Because she helped me meet my Twin Soul. She told me not to touch Ivey
DeJ esus in this life, and I did. Then, she said, "I toldyou not to do that," but then he made an issue of
undoing it and now he and see are a little unnerved by what he has done in this space. Ivey DeJ esu
is someone Pamela Chapman has met in a yoga TT in NY. Ivey didn't like him when she met him at
Esalen in Big Sur, and then he drooled over her in a shamanic journey, which was never a shamanic
journey, but rather a conversation in the kashic Record realm.

He said, ''.fhe looked beautiful" He didn't like that you told him it was problematic, and it would be if
he tried to make her his Twin Soul so instead he made everyone around you a Twin Soul but Pamela
Chapman could have cared less. He did it to punish Pamela Chapman for what she told him about
meeting Ivey DeJe u , but it went right over her head. She could have cared less.

On September 15, 2022, we all had a long conversation between Harry Gural, Pamela Chapman,
Jonathon Karp. and Esmond Harms-worth and Roger Kas about kundalini relationships. We now
recall lberto V illodo had the ideal kundalini partnership in his own Twin Soul who Pamela
Chapman helped him meet because she arrived on February 4, 0221 and refused to back down from
shouting at and harassing Pamela Chapman. Pamela Chapman actually knew her form a five-day
yoga teacher training in New York. Alberto Villodo met her in the past at Esalen, Big Sur, CA, but
did not like her at all.

He said he took himself on a shamanic journey to meet her. Then he told Pamela Chapman the
most amazing story of just how beautiful she was in a dress at least a few thousand years old. He
thought she was the most beautiful person he had ever seen.

We learned a few months later, he has no sight to see with on journey, and he takes fraudulent
shamanic journeys with his students and clients. Pa.tnela Chapman, and any seer could actually see a
shamanic journey. In May 2021, the Twin Souls including Emily Parsons, Rebecca Rex, Rupert
  esbitt, and Pamela Chapma11, and a few others took Alberto Villodo to the upper world of
shamanic journeying to see how he would do. We all arrived and watched. He just stood there, said
nothing, and did nothing, nothing at all, as if he had no idea where he was. We eventually left
because we could all tell he had no business at all claiming he was taking students up there to reveal
whatever was to be known.

Around 2018, Pamela Chapman put one of his students to the test in a soul retrieval. Pamela
Chapman could hear it, and she had idea. What Pamela Chapman heard and the story she was told
were completely different. He admitted later on that he gives all people on soul retrievals the story
of his own soul retrieval to better understand himself. But in fact, he can't see, but claims he is the
seer. He can only see with sorcery.


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Another incident with Donald Jagoe in tow about a year later, proved again lberto Villod was
there to help a student, Karyn Chabot, who had tagged Pamela Chapman, and Pamela had no idea
what it was about. Neither Alberto illodo nor I ru·yn Chabot could see, and they did not speak
until the end. Pamela and Donald could see the whole scene, and said nothing at all.

So, lberto Villodo lied about what he saw with Ivey Dejesus, and a whole lot more. With his own
Twin Soul, it was merely a conversation in the Akashic Record realm of the middle world of
shamanic journeying. After a long conversation with lberto Villodo about not getting himself
caught up in Twin Soul politics, he took himself on another journey to try to remedy the situation
that he had just caused. In fact, all he did was make a shamanic middle realm telephone call-which
was a private shout out in the Aka hie R cord realm to meet with her.

If he learned anything this morning, he would have known, Ivey DcJesus, his Twin Soul, was his
best opportunity for a kundalini marriage that he was always looking for. Also, his best opportunity
to play kundalini games at I undalini Crossing and come out on top. Instead, he harassed, maimed
and defamed Pamela Chapman for a relationship that would have been impossible to obtain. The
quantum physics of her kundalini do not match at all with lberto Villodo. It was a long
conversation, but we all learned far more than any blog post could tell us about Twin ouls,
relationships, kundalini partnerships, and soul mates. Jberto illodo, like .renville Craig. failed to
understand what is truly possible and what is not. And, when it is not, they cheat, lie, cut corners and
use sorcery to bend the unbendable. That is the foundation of all of the trouble. He should have
sought out Ivey DeJesus, his Twin Soul, nonseer with kundalini. He knew that on about February 8,
2021. 8:05PM 9-15-22


Continued;


=-===-'-'ill=
            · =o=d=o and you have nothing on common. Yet, you and he had some great conversations
in January 2021. Pamela Chapman has this unbelievable ability to do that with people. Yet, no one
wants to talk to her. When they are open to conversation, usually they are productive and revealing
even when just laughing and having some fun. That does not mean you like each other. It is just that
you can work together. That happened until March 8, 2021, when it was no longer possible.
Everything fell apart. Through sorcery technologies, he took away her ability to privately read, write,
type and think. He abused her after that via noise, harassment, and so much more. He supported the
demise and manslaughter of her book and herself, and the rising up of Harry Gural and her ex-
husband, nd.rew Parsons. He has done this before .

.Alberto Villodo has no real life outside of the Akashic Record realm of the middle realm of
 shamanic journeying and sorcery. He has no place to retreat to, or from. He is always here, and
 always awake. He has nowhere to go, and nothing to do. His life and his work are all here in the
Akashic Record realm.



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I could not understand why you and Harry Gural liked each other, but you do. Now, you can't be
together because we destroyed you, and I hate myself for that because your ex-husband had so
much fun in this space, and you did not. I wanted you and Kimberley Wither poon to be friends,
but I forced that on you through sorcery technologies. 11 :56PM 5-12-22.

If Alberto illodo does not prove to be worthy of a law suit properly, we will pull him apart limb-
by-limb and make this right for you, Pamela Chapman, because he is the one mostly responsible for
your torture: reading writing, thoughts, hearing, noise, harm, he was in charge of the harem by
default. He and Marchell.a Lobo single-handedly taught and sponsored these TJuevery Ring
Workgroup women how to do all their sorcery curses that they targeted on you. 11:58PM

He made Pamela Chapman miserable, and he enjoyed it. He is always watching her through sorcery
remote viewing on what they call shamanic/ sorcery television. He was always watching her change
her clothing, and he watched her naked in the shower. He took away her ability to listen to the news
and any music. If she watches any film, someone like ola Gaoetn is always listening to the
background conversation on the film. It was her opportunity to practice eavesdropping. Then she
repeated it like an echo into the kashic Record space. She told everyone when Pamela Chapman
laughs at a line in the dialog on the screen. It is all part of a much larger profiling scheme. He also
scratched his head-which was also her head- all the time. He talks to her while she is urinating.
He also took over her energetic voice. He made her voice his voice so as to have her sound just like
him while in the Akashic Record realm such that everyone would think she was him. He took over
all of Jean Dixon' channels. He can't even imagine how he will appear in a lawsuit.




                                           Ma, 'J_7 -.?02J

With the astrological Grand Mutation of December 21, 2021, it is the start of The New Age of
Aquarius which will move society into the air houses from the earth houses. This move society into
telecommunications, writing, communications, freedom from slavery and serfdom, and toward
social justice. The Magna Carta was signed in June 1215, during the same astrological signs. This is
that time again to establish the government's role in society once again.




                                            lVla_ ZR, 2021
                                               12:17PM

Tax Relief brought donors to Kamala' Table. They paid $20,000 each or less, which was put in a
slush fund that paid for COVID-19 relief and other such funds.


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Y amala's Table got money for the PayPal slush funds and learned how to manipulate donors and
others, just like with House Ways & Means.

No one at Kamala's Table knew what to do with Barefoot in Heels as a book once Pamela Chapman
showed up, because Barefoot it1 Heel.r was never supposed to be a book or a movie in anyone's head,
except the Melchizedek guides on the other side held it in a vault, safe and secure until it was time to
release it. Only clear channels could ask and receive and answer about it. It could not be read by
psychics or other mystics.

House Ways and Means: We don't like you Harry Gural. We hate Pamela Chapman. She asks too
many questions. David Gillette doesn't ask anything, and he does not want to know. No one tells me
anything anymore because he tried to tell you it was all Senate controlled though Mitch McConnell's
office.

You, Pamela Chapman had no interest in any of this. All you wanted was a book deal, and a film
deal. No one needs you to be involved in the future because you didn't have any interest in any of
this. This made you perfect because you had no agenda other than your book. So please print the
book before you bring down the all of the Halls of Congress, and anything else she didn't know
anything about.

David O'Leai:y: I don't know any of this but you were perfectly cast because no one thought you
had any interest, and you don't really know how any of this works. You just showed up and that was
what Kamala Harris said made you so damn powerful. In the future give this woman some damn
credit and information so she doesn't ask so many questions because when you give her stupid
insipid information she just starts trying to manifest what is the ultimate cover-up.

Doug E mhoff, Kamala's husband, told Mark Halp rn, ''I'll killyou personaljy if a film deal actualjy goes
through. "So. Mark Halpern "hired" Carrie Crosson ilpin to prepare a stupid script to kill the deal.
If Carrie Crosson ilp.u.1 were not so good at being stupid, maybe she would have actually paid
attention to it, but then W ndy chmid recruited Cynthia Parent and} amala Harris recruited Tara
Plochocki which messed the whole thing up.

Tara Plochocki went straight to Harry Gural and demanded that she needed him so much, but he
didn't need her at all. You didn't need her at all. Let her go and help me prevent this book deal and
film deal because I will lose everything I ever wanted through Ru ty Dorman / Bobby McDern1ott
and Rus tv Powell III and Richard eal. Harry Gural why did you cover up Richard ea!?

Han:y Gural: I didn't want to implicate myself in anything further. I don't know what I didn't know,
and Tara Plochocki knew everything.

Tara Plochocki: I didn't know who Pamela Chapman was, nor did I think Hart:y Gural had any real
interest in her because she and I are so different, and Harry Gural feels for me like hot cakes (no) . It
was because Rusty Powell III sewed up their energy together with sorcery magic to make him so

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loyal, so blue, so true. No one would ever experience him leaving me for anyone else until his
brother, the catholic priest showed up.

Richard eal: I didn't figure anything out until this morning when Harry Gural said, ''I'm getting
kundalini heat with a past girlfriend "Then, I knew Harry Gural would stop all this "idiot-ocracy",
except he did not.

Tara Plochocki: That is because he loves me more than she.

Harry Gural: No, I said it didn't feel right.

Tara Plochocki: Well, that does not work for me. It never did.

''You stupid shit she is enlightened and a clear channel, but she doesn't have to channel everything. She justfeels for the
energy. "

Bill Gural: Harry Gural said I can't even remember how I, Bill, arrived in the Akashic Record realm
space. He didn't'. He was surrounded by Peter Bramante. ED of IMC and all their staff and board
members and others in Newport, RI.

DWO: I couldn't imagine what they were planning to do.

Kamala Harris: I wasn't going to let them do anything, except Harn1 Gural had to profess his love
for Tara Plochocki, leave the Upper realm permanently so Richard Neal and Kamala Harris could
underscore and rewire his personality permanently.

But, Pamela Chapman said, ''We aren't there, and neither is Bzll, so you can't do that Harry GuraL "

Then Kamala Harris said unmistakably, "Harry Gural, you never win. You don't even know what
The Game is, and she played five ways simultaneously. That is when Beatriz knew she and Harry
Gural needed a little help, so this morning she got 30 -50 people to walk into the dreamscapes and
planted a dream that revealed Jim Langevin D-Rl, Richard ea1 D-N were perpetrators, so that
Hatty Gural could to figure out why he and Tara Plochocki were always chasing one another.

Her mother, Linda Plochocki was the second woman and Melissa the third in Harry Gural's nightly
routines of talking to each of them in the early days when he was first initiated into Ways and
Means. Then, Richard       al D-MA would step in and have sex with each of the women, or that is
what they would say.

Richard Neal's wife: "No £'way Jose. I was always here.

No, you were not. You have a personal slush fund from Mitch McConnell, and a free mortgage, but
you are not in the A kashic Record space.

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Harry Gural: I don't have any other understanding.

Pamela    hapman: I have none.

All we know from last night is that we need a circle of shamans to surround the infidels to drown
them out. Alberto Villodo is not a real shaman, and he doesn't protect Pamela Chapman. Lahore
(who is lberto Villodo) protected Kamala Harris, but not Pamela Chapman.

Harry Gural: Tara Plochocki, I never want to see your f face again.

"Butyou never actuaffy see her out there aJ!)IWqy. Tam Plochocki. I never want to be nearyour fenergy ever again."

What reciprocity did Tara Plochocki get from Richard Neal?

Tara Plochocki: I got a fake marriage and an avatar life which was a big fmistake, and I got to be a
Scribe of the Pharisee Nation with Cynthia Parent, Car.tie Crosson Gilpin, Tracy Jonsson who
doesn't seem any different to me now.

12:50PM




                                                   J!Jtl 14 2021
The dilettante     vs.    the professional writers            .... vs. the culture creative class

Agent                     Press                                        Literature


The pampered, privileged, indulged, entitled "cultural elite" = pampered class of artists

                                             vs.
Musicians, actors, artists = culture class, most tend not to be fabulously successfully

In 2008, before the great recession, the reality of the culture class:
                  Most had college degrees
                  Median income $34,800

The creative class is expected to financially "struggle".

The cultural elite are the skilled, the accomplished. They are of wealth or explicit power.

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Puritans give to the poor, but not to the idle. Artists are seen as ideal dreamers .




                                                           Jun 17 2021

Harry Gural thought he was talking with Pamela Chapman, but it was Pamela Donnan, Viking
Penguin Books. Pamela Dorman said about the book publication, ''{)011 '1 JPOrt)' I l,11I;J.i.,1m1/. ii JJJ//11 !
hrlp/)('11, ht,wuc if ii did. ii 1J1rts;1u! ,, Yh1! .1hon 1 of J.:.,1111rlit1 I l,11n, 1JJho .~,11•,· ii 11pfor / lr~/11' l'tlll H1·1m11. ,.


He heard it the Public Commons, therefore other people also overheard the conversation. Thereby
everyone everywhere knew it was just a fraudulent scam except for the author, who got played by
everyone in the Public Commons in a game of Grand Theft, and manslaughter because they played
every form of abuse including sexual harassment and sexual physical abuse, emotional abuse,
collusion, physical assault, identity theft, credit card theft, and social security card number theft,
breaking and entering, and stealing Pamela Chapman' cash, online banking access. The list goes on
and on. There was no form of misconduct and manslaughter excluded. Sorcery technologies were
overplayed and strongly influenced the outcome of all intentions. No one dared to tell the author
the real way to play whatever game was being forced on her. She knew nothing. She had no training
in anything this way. No one pulled her aside to instruct her despite people close by with exceptional
skill and practice.

In the end, actual attorney's will play their own legal game in actual court houses. Together, they will
tap more than a shoe because Pamela Chapman' way to play straight through goes right through the
legal system. Any acknowledgement of receipts with date time stamps and attorney witnesses is
about as thorough as you can get. That \\·as I lll'lltr "con's , est( ,, 1\:e\\pon, IU 's idea . S<.Ternl
com·crs:itions \\ ere documented rhi, \\-:1\' \Yith ·1 urncr ~corr c"t . :ind \ml:\ ( ,ardullo ~--c.1, 1\:c\\'j)Ort,
Rl, and J 1111111h~ I l(jj_1,t~:..:.~1- \\ c~r I l:irtfonL CJ .

It was just a game to kill the fiction book, Barefoot in Heels, for Hope " Happy" van Beuren, and
then ultimately for \ndrt'\\ P:1 n,111b, \ID the e:-;- husband of Pamela Chapman who frnudulcnrh
obraincd a pdf cop\ of hn b()nk from :1 lircrnn :1gc111 the ,;amc \\a\ 1-1:ipp..)_\ :tn Htun:I] did. He\\ :\ ,
dcrcrmincd to force her into financial. social. emutional. and ph\ ~ical incapit:trion a~ a puni,d1rncn1
f()r bo rh \niring a book uf fiction and for di\·orcing hi1n ren \ c:ir~ ago.

Kamala's Table h:1itc(I her\\ it h ];1rw· ~Lllll~ r, >r the book. but planned rn drop her and l'lll' 171011CI
c< >ld and say, 'Oh, so sorry it could not go through,you plagiarizedyour own book. "Then, lark Halpern
would pick it up and sell it himself to NBC Studio Productions. This made the book dead for the
author, and her money from selling the book completely dried up. Otherwise, the money deal was
too big, and it would fall to Wa) s and foans to stop it. In the end, they would force less than

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$100,000 because, after all, everyone, everywhere would have already illegally read it. Actually, in the
end, they would pay nothing. That was the plan. Force the author into financial incapitation. The
entire private Kamala Harris group, known as Kamala's Table, knew this. They played with Pamela
Chapman everyday this way.

They looked for ways to destroy her name, character, book and opportunities including with lberto
Villodo and Harry Gural as relationships. They stopped at nothing because after all 1,amal:t I larris
says, '') 'onj11s/ r/011 '; k11ou1 J/Jha! 1/ J})ill /Jc//)(!/ bri11,~s dou111 !/Jc, p1'1:.-o;1, b11/ ii is (/I/J'd).I sn1seku. b11.1dc.L1· ,1//(/
Jimpk '' .\11 politics arc local and this one was local indeed ro Newport Rl, J ,os .\ngclcs, and
Washington D.C, and J ,inlc Compton, RI. In tbt: t:nd, it 7.igzagged back and forth, but it includes a
#meroo mm·cment, the ExecutiYc offices of the \X.'hite House and Capitol Hill .. \11 of it was done to
completely satisfy the ,,·hims, desires, needs of . \ntln.:,, Pa rsons, .\ ID, 58, the ex-husband, Happy
, an lk·Lm:n, 88, and the politics of l(am:da l !:irn: and her entourage of \\ 'it~s itnd 1\ lean:-.

Harty Gural: You and I are all through. 1 just acknowledged that I pla>-cd rnu for a two- bit whore.
because I can' t understand hm,· : ou didn't know how to pla,· am of these games, blH ) uu btcncd all
along and ) ou kne\\' c,·er:·thing in real time.

Tara Plochocki: Pam la Chapman, you are so smart, and so dumb- founded because you had
absolutely no idea of the sorcery realm, and because of that, you had no idea how to play. berto
Villodo, himself, was supposed to mentor you. Yet, he didn't even touch you, so what was Harry
Gural supposed to do? Could he have served you as your mentor?

Han:y Gural: No, because every time I tried to help her, I got crucified by someone, maybe Rusty
Dorman (Bobby McDermott) himself, but someone always put the squeeze on me.

Hat:117 Gural says, "Pcrmc!a Chapman you just didn't know a,rything about a'!)lthing, and no one was this naive
exceptfar Jana Hicks Jagoe on Feb 7,2021,yet everyone was quick to help her, and no one was helpingyou, but
Kimbedry Wither.1_"{)0011 SC!)ISyou didn't seem scared or worried becauseyou had A lberto Vi!!odo nearyou, but he
never helpedyou." Once Pam la Chapman became his Q' ero spouse, everything changed. The
relationship soured. It deteriorated simultaneously. Nothing was ever the same again. She didn't
know anything about being a Q'ero wife, was never asked and neve agreed to it. All she knew was
that he would mentor her.

Alberto Villodo wants to know if you type, and I write what actually happens? You just re-type and
re-type until it looks right - no you actually see it as printed material and suddenly if looks very real
and different.

Amy Cardullo, esq. says the same thing. She had someone type up a few pages and it looked like a
transcript. She told Turner, cott, esq. she thought it might be the way to go. No one knew who she
was until someone recently asked, ''Are you rea!!J an attorney?" She said, "Yes," quite frankly. 'W01 do
need one'?'' The woman said "No, but she did get in touch with her because this is a legal matter ef importance."


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                   Then at 11:44 AM EST

Regarding this date-time stamp moment of June 23, 2021, the publically acknowledged illegal
distribution of BarefQQt i11 Heels.

Dan McDonough, Head Portsmouth Abbey School. He claims to know the names of everyone
reading the manuscript into the Public Commons.

l ate Quigley. Wesleyan University. She knows several persons at Wesleyan who received a pdf copy
of Barefoot in Hecl.r directly (especially, Roxbury Latin School graduates of ndrew Parsons'. year
group)

Cynthia Parent, Google Home Security: She may have directly or indirectly uploaded a zip file of a
modified version of the manuscript to Google Books or another digital location. oam Zilberstein
is her accomplice and co-conspirator. His mother was a friend of the author's from Wesleyan
University, and a woman she spent several weeks with in Israel in the decade of her 20's. Mark
Halpern was rumored to have put his name on as the author so that the author's work (Eamela
Chapman's) would appear to have been plagiarized by the author herself.

jNote: l.)IJl"l:.!i> \ ijk,!1" aclrnmdcdgcd on ~cptcmhcr l<i, .?!1.?l, around (,:.1,(1 P:\1, rh,1t he had
pt-c\·ioush met { ~ mhm P:11J·111 at a retreat and knc\\ her b1 nanll' 1\·hen she appeared on the scene
\\·1th ( .1rr1~ ( n ,s~, 111 ( i11J1in. 1 L't he did J1()t acknm\ ledge rhis prcnoush. and did nnthing to stop rhe
fraud 1Yith the book despite 1>.1m .J.1JJJi1pma11 kno\1·ing her as a suitcm,He frcshm:111 1 car at cr,lkgc.]


Pamela Dorman., SVP Pamela Dorman Books,                                    ik.ing P enguin, Penguin Random House.

I aura Dedajian-O'Rourke, Esq. She knows the medical community it was distributed by Andrew
Parsons, MD as a pdf format that was directly sent from the author, Pamela hapmao to Esmond
Hatmsworth IV, as submitted to Lsmond Harmsworth I , Aevitas Creative Management Literary
Agency. The distribution was via email to her husband, Jame.    Rourke, MD by Andrew Parsons,
MD and copied to a myriad of others. This was so he could say he only sent it to one person, yet he
"copied" all the others.

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l'.tmc L1 '.lu 1n1.111 I


Roger 1' a , esq. - Knows who received illegal pdf copies to the van Beuren family, its charitable
trust foundation, and the Hamilton family members and the Hamilton Family Charitable Trust, all
of which are associated with the publically traded Campbell Soup Company.


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Andrew Parsons & Cathy Wicks, Portsmouth, RI, know the whole distribution tree of their own
doing.

11:51AM EST

Stephen Punzak, MD (Boston College, UCONN Medical School), One Medical Passport,
Willington, CT, obtained a pdf copy through the James O'Rourke, MD email. He then went on to
read it into the Akashic Record Public Commons space on Sept 16, 2021, at 11:05 PM. It was a
global audience.

He claimed Anesthesia Associates of MA (AAM) would sue the author for the Grand Cayman
reference, which was completely made-up by the author.

He previously sued AAM for what he claims to be a $7 million settlement for plagiarism of his own
intellectual property and business, which he claimed was duplicated by AAM at Boston University.
Now, he in turn repeats the act and illegally obtained intellectual property of the author, Pamela
Chapman. Pamela Chapman read him the riot act for reading what he claims to be three pages,
maybe more, because he wanted to get Andrew Parson back for something. However, the action
was against Pamela Chapman not Andr w Parsons.

 teven Punzak. MD knows personally the legal the ramifications of stolen intellectual property and
distribution of stolen material - Grand Theft.

Jessica Hagan claimed, 'What he read was comp!etejy out ef context. "Yet, he claimed it was all true. It was
a section regarding Rwanda.

Pamefa Chapman: How could it all be true, I wrote it? He claimed he had heard a similar story. He
obtained the pdf book in August 2019 directly in an email from Andrew Parsons along with over 80
other people, and never until today acknowledged he had this copy. How many times has he read it
in this space and how many people has he distributed it to? He is a greedy entrepreneur full jealousy
and envy for anyone who made ROI capital, or venture capital money in the mid- to- late 2000's,
especially those neighbors of his in Dover, MA who were making millions creating companies that
they then turned around and sold. That became his dream too with One Medical Passport. All he
had to do was create, prove its market value and sell it for millions and he too could belong to the
Dover set of the young and the wealthy. Pamela book fits his pattern of envy and jealousy for a
large payout for only a few year's worth of work. In the recent month, he offered Pamela Chapman
$3 million for the book, to which she said, 'No wqy Jose. "He would have turned around to sell and
profit from it himself. This was validated by Ro s Musumeci. MD, MB (Wharton)




 ndrew Parsons. 1vID himself tried to read it into the space after tephen Punzak MD. Andrew
Parsons claimed, "I have no selfmodulation. "

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Pamela Chapman asked him verbally out loud, ''Do you need an anti-depressant because he claimed he doesn't
sleep, and does not know what to do with himse!f except to read Bmrfoot i11 Heels at night, every night. "

Pamela Chapman said, 'This is not Tom Hockadq,y J house, whose main entertainment was listening to A ndnnv
Parsons read while there was group masturbation. This was a global audience. Your own daughter is an author.
Wouldyou want this done to your dat't,hter's work?"

He said, 'No, "Yet, he is attempting to set a precedent. And then he said, ''I had nothing else to do."

Someone said, "This is gross misconduct."

He said, ''He doesn't want the book actual/y published. Before, he was attempting to secure an audience so that now
no one will read it later. "

This is not how the book industry works .

  tephen Punzak, ID told him, "Ijyou read it eften enough, someone willforget she actual/y wants to sell it as a
book, and no one will actual/y b'!J' it." He is playing odr w Par ons as a fool so that ndrew Parsons
himself will cause his own downfall by reading the part of himself, and claiming he couldn't possibly
be that man. Yet, in his eyes he is reading his own lines. The two men play besting fraternity games
with each other all the time. Andrew Parsons was bested by . tephen Punzak and he lost big time
because this was global. However, this is all illegal, and it made ndrew Parson look small, and
idiotic: a man without discernment, class, grace, and culture. Andrew Parsons was made to look like
the fool, the jerk, the idiot by tephen Punzak. However, it was mal-intent by ~tephen Punzak
against the author herself. It was real in real time.

August 2019, James O 'Rourke, ~11D told ndrew Parsons MD to read and re-read the book until he
got so sick of it that stopped because he seemed so upset by the words in the book. We all knew it
was illegally obtained and we did nothing to stop the book from being read or distributed. So, Jim
thought if he read and re-read it that would make him stop. We all knew he became obsessed with it,
and yet we didn't do anything to stop it. Now AAM is in a major collusion battle between the book
deal and the incident at Newport Hospital because that was medical malpractice and AAM held his
malpractice insurance. We thought it was because he told us things about your medical history that
was a violation of HIPPA rules and regulations. It was also medical insurance fraud. He said you
were so acutely psychotic that you couldn't see straight, and that you had become a fragment of your
original self. She was on a path of enlightenment, and in an energetic space akin to the Shamanic
upper celestial temple space with a Twin Soul, and Sandra Craig and Greovill Craig. She could
never prove where she was or inititate anyone there. And, since the Craig's were such terrible
sponsors, they made it the worst outcome yet.

Grenville and Sandra Craig were such bad Twin Soul sponsors due to their not being enlightened
themselves, and his hell-bent need to prove to Rusty Powell III that he could be a sorcerer and a
thief like no other. They played all kinds of sorcery tricks on Pamela Chapman - something she
knew absolutely nothing about. Her Twin Soul was AWOL, absent, and no help or protection at all.
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She was abused by the entire situation being told every whim of Grenville Craig and then Sandra
Craig was a necessary Twin Soul initiation, when in fact it was not. Twin Soul are usually a
completely private fraternity. No one ever talks about it, and it completely safe. Her initation was
that she was labelled acutely psychotic and delusional. No one initiated into the kashic Record
realm is ever called that, are they?

When he was in the kash.ic Record realm no one thought he was acutely psychotic and delusional
despite all the Thievery Ring Workgroup issues and sorcery he was involved with. It cost him his
job, and everything else in his life, including a woman he had dated for seven years who wanted to
be married in June 2022. Instead he married five other women here and is physically now living with
another.

Self-Acknowledged Witnesses:
Jonathon Knapp, CEO Simon & chu ter, Nancy Graham, VP, cribnees, Elizabeth ilbert-
author Eat. P-nJ,v, Love, Lori Kipnes-Bailen, Julie I esh Gilbert, Pamela Chapman, Harrv Gural,
Caroline Gilpin, Turner Scott, Esq., Newport, RI




                                           June 23 2021
                                                11:00AM

All previously contacted book deals will be augmented by additional language to include Akashic
Record space reading and distribution. June 23, 2021. There were 31 points written out. Witnessed
up front: Jonathon Karp, arrie Crosson Gilpin, ancy Graliam, Lori Kipne Bailen, Elizabeth
Gilbert, Pamela Chapman, Harry Gural, Julie Ker h ilbert, Turner c tt, esq.

People writing it all down included: ancy Graham, Lindsey
Karmio, esq. Donald Christ, e q. Amy ardullo, esq. urner cott, e q., Cynthia Parent, Carrie
Crosson Gilpin, Harl')' Gural, Jonathon Karp -11:38AM, Elizabeth

Dan McDonough, Portsmouth Abbey School knows who is reading the book into the space. He
knows them all personally.

March 23, 2021 Public date 11 :44

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Kat Quigley knows several people at Wesleyan got a personal copy of Ba,~foot in I eels directly from
Andrew Parsons. bakir Far ak:h read the whole thing, so did C}rnthia Parent, Pamela Dorman,
Laura D. O'Rourke knows the medical community that received pdfs of the book. Esmond
Harmsworth. IV distributed the book locally in Newport to several people, so did Roger} ass.
 ndrew Parsons and Cathy Wicks together created a whole distribution tree. 11:51AM, June 23, 2021




                                                 June 25 2021
                                                 9:27AM- 9:57AM



$310 million June 25, 202110:03PM Before and no later than July 15, 2021.

Witnesses: William Par on , Ed Heffernan, Nancy Graham,] oathon Karp, Beatrice ofY rk
10:23AM




                                                   June 28 2021
                                                        4:00PM

( :tn ,linl' ( .r:11~ proYided an m-cJTic,,· of mm·ing financial :Kcounrs and her father's appruach. She
ga, c ~ people\ n:llnl'S as an c:-;amplc and prm·idcd borh the presumption of true :111d false
ilkmification numbers. I he1 mo,·c monc1 all lLl\ "ith these SS#\ because the federal SJ :c: has
rnkcn a\\-11\". their ;1bilit1 to 1110,-c around lots of im-cstme11t numbers. 1·1w\" ah,·:11. s use \Ian.
 1ci:--.:cira ·s number and a fc-,y others so \Jar\" ·I ei:--;cirn can ·r c, en lean· the fomih office or ger anorhcr
p< ,siti< ,n annd1ere.

        •    Any combination of numbers is screwed except if it is yours for real, and then they ask
             for all kinds of secondary information, which they already know.
        •    Secondary level is called voice activation system - They cannot pass it.
        •    Direct knowledge of the person- They say they pass, but they do no.
        •    Understand that you and they will never meet again, which is called Wet Paint every
             August in Newport at the Newport Art Museum.

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            •        Pamela Chapman has not spoken to Sandra Craig since 2017 when she left the board.
                     They ignore her at Wet Paint.
            •        They have been using her family numbers. There is a need to file to return the numbers
                     for interstate and international banking privileges.
            •        They don't speak to you because they knew you were not in the Akashic Record Public
                     Commons space, and since you were a Twin Soul and not dirty, you would expose them
                     un-mitigatingly for who they were.
            •        You and they were two different from them and the events. They were dirty, and they
                     stole your numbers.
            •        Stanley Chapman: Beatriz came to rape and rob Pamela Chapman of everything in her
                     life.
                           o How on earth do you deal with a guide like that, especially if you are enlightened?
                                  • Note: Beatriz and Zenia Theresa are both Metatron Guides who together
                                      are Satan. When they all come out, it is a Lucifer Rebellion. Which might
                                      happen every 11,000 years or longer.

Zenia T heresa, why don't you just end this, or just kill her off instead?

Beatriz the Guide: I always get my way and I will bury you someday anyway and I will make you pay
for everything you did in Ankara, Turkey.

Pamela Chapman: What did I do?

Tameen aied: This is bull shit, and you know it.

Grenville Craig: We love to play this way because we always did.

Pamela Chapman: I'm tired of the story now. Go away and bother someone else. You are just too
boring and stupid to me. You don't understand anything real or important.

Really? Because I think that of you. Get them away from me. We are too different. Let them play
with their own kind. No one in Q'ero nation liked them. They were so immature and not properly
socially trained.

Mary Tei.'Xeira hasn't really worked a day in her life. She just collects mail and local things for
-~_;rcn , till S_j:_;_ti!2 :111d :-a ndrn ( _r:1ig, and has a Social Security number they can use.

( _,_JJJ _l\ ilk (   r:LJ.~ also demonstrates a copy cate syndrome personality. He can't accept that you and he
are not married here, like you and Donald Jagoe, who is her nonseer Twin Soul - and so are
Grenville Craig and andra Craig.

Pamela Chapman and lberto Villodo are a soul union of a reciprocity of relationship joined
through a scared marriage of the Leika Nation and seen by all seers who witnessed in the third eye.
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Pamela Chapman could witness the ceremony. Alberto Villodo could not-but he never said so.
Months later, it was a false ceremony. Only Melchizedek guides on the other side can perform them.
Their soul union was never a strong one, as they had never been married together on a past life, as
she had been with Tameen Saied - 5 times, and Harry Gural -7 times.

Hatty Gural and Pamela Chapman are a deep reciprocity of relationship as they are part of their
original monad group. Tameen Saied is also the third of four seers in that grouping.

Your SS#'s numbers arc abolished in the, \kashic Record n.:alm.

Gina Raimondo: No one can actually use them but eventually you will get others because enryonc
e,·crnd1ere knows them b,· heart by now because ( ;n·m· illc Crn ig has gi,·cn them away and here in
front of an international audience so many times. (fara Plochocki made every person at Kundalini
Crossing memorize it.)

(,rL·n~illl ( r:11.• thinks he is important and is trying to be accepted and validated by Rusty Powell Ill.
They were all in Tiverton near Sandywoods at one time, and both sit on the board of the Redwood
Library.

Peter Bramante: I don't ,,·ant annhing to do with this le,·cl of fraud, and credit card numbers. l
collect people's donations and grant monies, and l can't be inYoh·cd am·morc. !Note: 'l L'I hL· ,, ,1, a1 "lll
li111L \\ nllll[-'. d()wn all hLT 11umlxr, he ,,11d on a crnl11 c:1rd ,lJ'J'lical1011 tu llsl hc1 crnli1 ,core I


Gren ille Craig: You can't leave now, you brought yourself and more. We are you Peter Bramante.

Ru ty Powell Ill has been to Grenville Cmig's house for dinner parties, and they don't understand
why you don't involve yourself with their level of business.

\Jarlc_>ll.l)randu once said. '') .()// {//1' Ill)' /11,itl .1/11(1/ pi~('(/////()}]'. {//Id f //!(/! lll!lkt ]//// f'rl) ('/'('fl' dn _1i,r /-:1101."!I/~
f!</1() j 1 /Iii. "



Andrew Parsons: I don't believe my ex-wife is involved with these goons or this type of ring of
thieves, but she doesn't play these games, and never will so she could walk right into Tom
H ckaday's house and never really know what she came for, or what she sees.

Grenville Craig: She and I don't have shamanic sex. She could care less. (He cannot.)

Andrew Parsons: No kidding, I don't get her to do anything like that anyway.

Alberto Villodo: No fucking kidding, because I knew that right away. She and I have an
understanding that transcends all this bullshit.




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Alberto Villodo: Because we had a reciprocity of relationship and understanding.

Donald Jagoe: Well, I don't ever have that, and she didn't care for me in this space only out there
for such a short period of time, but I thought she actually liked and respected me, although she
really did not. She is, or thinks, she is more of an intellectual.

Carrie Crosson ilpin: She just didn't start at the right place in life to really become a first-class
intellectual whore or something like that. High Class Whores are never who you think they are, and
some are, and some are not.

Carrie Crosson ilpin, she is no High-Class Whore, more a low-class one who attended Connecticut
College for Women.

Carrie Cro on Gilpin: I got my degree, and so did you, but my daughters went there too because
they went to public school, and boarding school makes you want to get the hell out of there and go
someplace really big to see how everyone else lives.

Emily Parsons: It's a microcosm of a small world that gets too bloody small. The only way to
balance out is to go someplace really big.

Samuel, the guide will only say this one more time, Harry Gural, you will never be a transvestite or a
gay man, o.k.? He knows he tried. !Nots_: I Ii, p,, chc had bL'L'll ,,,,,1ppcd \\'ith B11hh1 k l )~ r111n11 for ,1bout
J   .,=, H':lr~ rn rnorL aud th:ll 111 ,lll 1, 1)1,L·:-;u,il, 11 c1u,cd l Lui· t ur,il 10 L]llL',liu11. IJllt he ah1 ,11, kt1L·1,· ckLph :llld t1<>111
:l , oung age hL· \\':1, 1101 J

Pamela Chapman, you will never be a high society dame, Ok?

She is nodding vigorously, ''Yes."

Tameen aied: You don't compete with Pam la                                  hapman in any realm, got that, Harry Gural?

Donald Jagoe: You can't write everything down unless you intend to sue. Names never mean
anything to her. It is the energy system not their name. If you want to write with another, automatic
writing, you just connect automatically and Shas am, you are connected.

Gremrille Craig said it was because you were a Twin Soul. No anyone anywhere can do it.

Automatic writing classes induce you into the Akashic Record realm.

Kim Chandler: Innerlight Yoga has these classes all the time. She only indicates those who want to
write with each other.

Writing with you Grenville Craig is different. Most of the time, Grenville Craig didn't do it. She talks
out loud and they listen. Grenville Craig and andra Craig automatically write with you. If Donald
Jagoe and Pamela Chapman were writing, so were Grenville Craig and andra Craig. Treoville Craig
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said he knew you'd write a book, and he wanted to see how you would do it. Thus, the [automatic
writing] notes were crazy. She threw them away, and so did Donald Jagoe because no one could
read them anyway. andra Craig and Grenville Craig still have their notebooks. Grenville Craig said,
'Moleskins are the best because thry are separate books. "

Pamela Chapin.an had them that's why they were used and she must have many Moleskins of other
notes, and seven or more other diaries, and in the last ten years at least seven other books like the
one she is now using. So, she always kept small notes mostly quotes and tidbits of information. This
is from before the internet age and Google. She keeps files of files and Donald Jagoe basically said,
 "Everything needs to be in a better online rystem, "but he would never share any basic information on how
to do anything. She was always bold to do it herself, figure everything out herself, because no one
would ever help her unless she cried herself silly, and she never did.

Tameen Saied: That's pathetic. They didn't help you at any time. So, there is absolutely no
reciprocity given by Gren ille Craig, andra Craig. or Donald Jagoe. All Twin Souls.




Beatriz the Guide: Grenville Craig, andra Craig. and Donald Jagoe owe her everything. No one will
ever see the other, ever again.

Zenia Theresa: They will continue to rape and rob you until they kill you off.

Grenville Craig: I suspect we will die first, but then she will be 67 or 68. Who starts life at 68?

Alberto Villodo: No fkidding. I am 68 now, and I can't count how many times Marcella             bo says
I will die so fsoon, so we had better start living.

Beatriz the Guide: We blocked everything we could from her.

Mark Halpern: No, because if those notebooks and Barefoot in Heels contain what he thinks, we will
make you a really good offer. The movie is major motion picture quality.

Mark Halpern, who knows Denise Roberts and his son, Matthew Halp rn, went to St. George's, no
he went to Tabor Academy with Deni e Roberts' son and daughter.

Head of t. George's chool: We figured that out a long time ago, but since no one tells the truth
not ever, I can't say a word.




Head of, t. George's School: I didn't play your game, I played my own just like everyone else has
said including Becca Bertrand and Carrie ros on Gilpin.

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Donald Jagoe: I played my own game with the Craig's, and you played yours, but you reached
Ascension, and I did not. You got a halo, and I did not. You got to explain shamanic alignment,
kundalini, reciprocity of relationship (but not really), because all those relationships lasted only 1
minute and then they turned on her and created chaos ... And rumors aren't my cup of tea.

Pamela Chapman: I'm bored with the game. What is your point? You're wasting my time and my
life.

Carrie                      No, it's our game and we lie, cheat, and blame you for everything so we can
win at your expense .

.Pamela Chapman: Where is my book deal?

William Parsons: We will do everything privately.

Carrie   rosson Gilpin: Now, why is your son involved?

Pamela Chapman: It is the new family estate business. I would have left it to the estate to publish
anyway.

It will get published in one year's time, more or less. Barefoot in Heels is so important, it won't wait.
Yes, it will wait until after June 6, 2022 and suppression of some kind takes place because books
can't be read when it is so loud in the energy realm.




 ,rem ill.;, _ mi_~: wanted to be that Shit Show game show host like Mark Halpern and best Rustv
Powell III. He wanted Pamela Chapman to be buried alive so andra Craig and Jana Jagoe could be
Queen of First Order.

Zenia Tl1eresa: Game Show night is officially over, and no one will ever be one again. I can't
imagine how you have survived, only by your own wits.

Grenville Crnig: No. She reads and she gets excited by what she reads about. She will live in her
own world out there in her books, but it is out there, not in here. She knows the difference between
reality and life in real time vs. what's actually in a book. She can only read so much and then she has
to go, she puts it down out there in real time, and she has gone through cycles of a lot of reading or
art and then she puts it all down and goes out there until she is back to a big cycle of reading. That's
how it all might be.

Zenia Theresa: Harn (; ural ancl \ ou can'r ~pcak until rhcrc i~ supprc~:-;ic ,n of cn-r: l'l1l'll1:. It will
never happen. Harn C;ural \Yl ,n'r ~uppl"l'ss I-le de >L':--Il ' t \\ ant ru. He is in a solid clunk rank and I m1
arl'n,,t. 'iou\1·ill 11t·1l'rsupprl'ss. 'i , 1u:1nd H:11-r1 c;ur;tl;1rc"1mb,,bc,frlH''°'c'1 \ !.!:l· , ,fl ncr.:. 1.1
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'i ·our soul contract clause didn't ha,-c ~ ou sign up for this. Beatriz the uid signed you up when
she knew Donald Jagoe was never going to show up. Donald Jagoe was never going to commit to
the journey He will never understand why he wasn't chosen as a first-class man of distinction. He
and Jana Jagoe thought they were hot shots. No one ever remembers why they could have ever
thought that. Pamela Chapman, no one ever thought you had any grace or class or anything like that.
Just a short shot of missed opportunities.

  andta Craig: You said if only you had been with a family like The Grenville Craig's with all that
education, travel, languages, what you have become ... Well, you had been at least in the last two life
times, and Sandra and Grenville as stable hands in Anjou, France.

Zenia 1 heresa: No one will help you suppress/ retreat. You must train Hanv Gural.

Pamela Chapman: He doesn't listen or respond to me. He isn't my responsibility. No man ever
listens to me anyway. He must help himself. I cannot.

That is about the way it is anyway, but we tell you to work together.

 ''But, he doesn't work with me, on/y agaiwt me. "
Zenia Theresa: They want to know who you slept with sexually, to make you a 1st class whore. And
they wanted to ...

Donald Jagoe: If you are a prostitute or whore, so are all of them. And, if you had multiple
pregnancies, so did they, except you had a good-to-great fiction book, they don't. So, they are all so
f' jealous especially Happv van Beuren.

Martha O'L: '.\:o one thanks u ,u didn ·r pla\' rhcir stupid games, , ou just can 'r be borhercd. The, arc
:1 \\"ast·L· oC time rn, uu, but not to us. \\·e liH· to pl:n lwre, :-ind, uu pl:11 to liH· there.



Hachette Li re: We play to live out there and make lots of money, so does Pamela Chapman, but no
one wants to allow her any money, why is that?

No one wants you to be and become like them, but we are all the same most days. Happy van
Beuren, we are all not the same. If you insist, I will destroy you, until you prove to me you can be
and become me. There is n() book deal aJl\'\\·hnc rh;ir accepts tll()se conditions e:--:cepr in "e\Ypurt,
Rhode lsland. \\ here she holds the kc, and the gate to lttcran publication: fiction ll<>t nonficti()n,

Bing We t: But I know, and I published anyway.




Happ} van Beuren, you have to get out of Newport where you grew up. Dodo Hamilton, your sister
went to Philadelphia suburbs just like Ronald I ee .. leming once said, ''She and Dodo didn't make up
their minds about Newport, so thry afwqys come and go dramaticaffy ... "
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12:56 PM



This Shit Show is never going away so Harry Gural must stop at night and so must those goons who
nc,·cr stop harassing P:111 c.:Ja Ch:tpnrnn. If Kamala Harris & Ru tv Powell III like last night at 12:30
AM don't stop harassing her c,-cn- night, from l0:15PJ\I- 3:15,-\T\I and c,·er}· morning and
afternoon.

We will stop at nothing to abolish them from every realm of life and don't think we won't or we
won't.

We all don't live like this either, so stop sticking around and stop responding to these Shit Shows
because everyone else in the world has except Newport, RI.




                                                    un.__JO 2021

[The higher chorus call at 4PM: Long live the Queen ofEnglandJ

Instructions for the death of the Queen (who did not die until September 8, 2022) .

Atlantis was considered an advanced kingdom that sank in a night and a day into the ocean, around
9,600 BC. It started when the gods divided the world after the battle with the titans. This was a lilg
Book Story.

12:52PM



 ar.rie Cro son ilpin wants to read several passages of the Barefoot in J-Ieuls book to the whole world
because she said, "I can, and I will. "She gained an illegal copy of the book from Happy an Beuren
and Roger l a .

''I've been doing this night/y," she says every night and every day. So, has Cathy Wick , Andrew Parsons
and several others of dubious character.

  an Moss: ''Oh, no you don't, "because they hope Jonathon Karp will say, 'No, to the whole Shit Show
and the book deal. "

Gretchen Carlson, Fox News said this morning, "II ,;;,, 11['" hi.11011 o/ 1/i, 1!'/10/i i1(i11/r lo!!_d mldr 1111 ,,
/i/1·rli11 i'\/>0.11' //!'\/ )'!'1//: "
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Roger I ass: I don't want to be a part of that. I want to make documentary films with my brother. I'll
get a divorce. I live in NYC in a building with Janie I ochanowsky. Andrea lives in
Newport/Middletown, RI but we have three houses there: one for me, one for my children, and one
for Andrea. I want the book to be out in the world legally, but it's not yet, and no one knows who to
blame, who to know, and what to vet.

Pamela Chapman: I need a contract outright, or I will copyright the book myself with my own
imprint, and sell it myself.

Tara Plochocki: You don't have to. I want to redeem myself,

''Butyou don't, so don't spoil all the fun. "

And we said, 'What far? It's all big business now. "

And lru:cy ui:al said, ''I know, but we can still have our own business because we are protected f?y legal marriage
and we don't get caught exposing others on ourfun Shit Show of this experience. "

"But, you are not legally married, and you don't have any time in this lifetime or any other. You will
be demonized in this life and all others, but you will meet again.

In another day or two, we will know who is really here or not, because if Tara Plachecki is, we will
be here for another 40 days and 40 nights until this Shit Show ends, and a book deal is signed legally,
with 15 - 25% is paid upfront. No union is appropriate.



Harry Gural said, "l didn't kno\\ thi~ \\·:is rc:il until I heard Pamela< lrn.i.:11rnU} speak 10 all the other~
t\1 u day~ ago, "l \\·ill ~ue, ou an:· bul that \Ulsn'r enough because no one stood dm\ n ,tfrer that.

The New Yark City media came to help retch en Carlson, Megan_] ellv, etc. How do we tell
people we are fluid and real in this space because they are not, and we are?

There is no other hope for Harry ural to know he made himself into one big Shit Show of an Idiot
Nation State with Tara Plochocki who is not even a legal wife, nor girlfriend in real life, just an
aspiration of hopes and dreams. He and she aren't real, but they say they are. He wears a wedding
ring to work sometimes, and so does she, so how is this not real to you?

This Shit Show ends here. Some of you pick and choose what's real, and what is not but not Pamela
Chapman. Then the book is real, and she is not-or something like that.

Harry Gural: I said, "I would stand up for her in a 1,000 years, but not now, and .. .

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Hatty Gural, you always said things like, ''I want to marry her this summer orfall, "but you cannot. You
married Tara Plochock.i two - three times already. You re-marry every night at 10:15PM, and every
morning at 3:15AM. You have some kind of physical sex in the realm.

You tried to have intercourse with Pamela Chapman here, and you succeeded in getting her mule
bonda moving. You said, ''I can't do that with a'!Y other woman. "Was that real?

Harry Gural: I never had that experience before. Yes, it was real for Pamela Chapman, but not for
me, because Tara Plochocki was on the other side of the experience in a back door.

If you remember, Alb rto Villodo and Iarcella Lobo, the same thing happened before in private
conversation.

Pamela Chapman said, "Get the hell out of here." It also happened the day after April 30th when . lberto
Villodo was clearing tags and closing two back doors on Harrv Gural. She arrived as Melissa, and
 said, "You have to come home now at 9:30PM for a date with me," and he had to go. He said, ''I have a girl
friend the night before, "but now we know, she is just a shamanic/sorcery wife. INotc She\\ a, ,o
obnoxiuw, ,1ml ck111,111ding ShL· claimL·d he had a nighth tllL'l'Ling to arLcncl \\·ith collc,1guL·, f1om C:npitol l lill.l

1:10PM

Now, I am writing it all down because I will need to see a lawyer or two or three because I will sue
each and every one of you for hypocrisy and negligence, fraudulent work flow and everything else.

Alberto Villodo said,"\\ c caught \OU all rhi:; m()rning after I l:11n ( ,uqJ got kundalini."

And Tara Plochocki said, "Butyou saidyou would never go and learn here."

And he said, ''I 'fl come back foryou in a dqy or a week. I won't stqy. I cannot, because I don't love her. I loveyou,
and not me either. Grow up Tara P!ot"hocki because Hebrew Nation fell because ofpeople like you and people like
Pamela Chapma11. "

Go ahead and sue who you can because Tara Plochock:i will need to grow up strong and new
because her bosses at the legal firm can't stand her too, but we all know Harry ural will just come
back and pick her up, and take her home again each and every night for eternity.

You are here Harry Gural on the ta.r Gate Nation as a reciprocity of favor and relationship and you
will abide by our rules here and there because Zenia Theresa/Samuel will force you to choose every
day a new day or a new war until you vomit up your sins and your relationship with Kamala Harris.
You will be made an example of because you fell so far down the drain pipe of learning, hope, and
love. So, forget your magic carpet and Menlo Park ~endy chmidt), you are going home to Boston
and relearning and retracing your steps in life because you can and you will.



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Your mother is dying and she needs your help and you will protect your mother, brother and sister
in this life in her house and you will forget Washington DC and you will relearn who you are and
probably will teach something simple and fun because you can't go to any Menlo Park ~endy and
Eric chin.idt), or Congressional staffing meeting anytime soon. You spent your last dollar on a book
deal called Barefoot in Heels, and your last relationship with Tara Plochocki.

So, you can and you will just move back home and live in a house in Bedford, MA. Not until then
will you do anything else.

Jonathon Karp: McMillian said they'd can't take you-and they can-but they cannot, because
Tara Pl chocki got someone to say, 'T11v1ce11 Saiedput them up to it, "but he did not.

Tameen aied said: ':fhe is my Twin Soul, and a real!J good editor, but not a good negotiator." She can't cut a
M& A deal like this one. !Note: J-:1·c11 I _,_1111~'._l'll :O-,finl (di for the ·1 w111 Soul ( ;,1111L' rh;n L'H'n-om· pla\"l'cl from
kamal:i's Table lo rhc Rcd,1-r,ocl J.ibran Buok Comn®L:SC: lr• l.l.1111,1 '...11111u ,111 lhc ,,·a,· rhrouµ:huut the cnt11-c sron
righl up unlil \Ln ~--+. ~11221

Jonathon Karp: We can, and we will negotiate because it is a bigger deal. The money is there, not
with paper money. So, it's a good deal every day of the week. A paper deal has restrictions such as,
one can't have more than $10 million/year. Not really, just sort of. Your son knows the language
and can deal within its realms.

It's a great deal, but only for a few people who really understand how it really works and Pamela
Chapman does. So, they can do it in time for the 10th of July - That is too late because every month
you say the next month, and nothing happens. We said on or before July 15, 2021.

'We will honor on or before Ju!J 15, 2021. We can't do 15% upfront on!J 25% upfront on $320 million, and he
said ok."

1:22PM

We said, ''All that language ef legal liabilities is on!J ours notyet atjj11dicated, but we will use it mrywqy. We can get
the ball rolling on this. lf we can, we will sue, but if not, we will still win in the court efj11stice; Every person deep!J
involved willpqy dear!J in this and other lives. "

Tara Plochocki, you will pay dearly in this and several others and be crucified at night fall every day
and every night for 40 days and 40 nights because we can, and we will. This will cement you in the
Mayan Hall of Fame for being a truculent thief and beggar and prostitute whore to Han·y Gural,
Ruscy Dorman, Robert McNamara (Kundalini master himself in a thievery Ring with Diane
Crosson McEnroe, Cynthia Parent, and Wendy and Eric Schmidt, Nancy Graham. Jonathon
Karp. Mark Halpern) and I amala Harris and Catcie Cro son Gilpin.




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Everyone is up all day and all night with this Shit Show and Pamela Chapman is the only one who
sleeps after 2AM. So, a 3: 1SAM meeting of Tara Plochocki and Harrv Gural is always there and at
sunrise they kiss and say good morning, see you tonight.

Harry Gural cannot come to Stoneacre. We don't want to see you here. Only people of honor and
character. You said you'd show up, and you did not. Alberto illodo did the same thing with Peru.
HE promised to take her children there and he never intended to ever show up.

This Shit Show is too long and we wrote it down.
       Gretchen Carlson, Megan Fox Kelly.                       tephanopoulos, Pamela Chapman


1:28PM

We are going to sue and/ or expose the entire world to this Shit Show of Stupidity.

If there is no book deal by July 15, 2021, we will copyright ourselves and begin our caseload
of lawsuits so if you are not inclined to take on this deal speak up now or forever hold your peace.

_ l!!l~~ ( ,r:tham •. ·\ II :-.1mo11 ,tnd Schuster Scribner's of 't ( : Yes, I will do the deal, but nw \\'a\" is
 un:1rhnn k:uii,-. \\·a,·. He is CEO of Simon and ~c.::hu"1~·. He \\·ill sign the papennirk himself as the
ne:,.;t / .r1/ {'1 ;111..fll'· publishing fame and fortune. 1:31PMJune 30, 2021

No one can steal the deal at this price point because it is a paper transfer of paper assets not cash
and most do not understand how that works, but she seems to, and her son knows how to do it.
      -No one else gets this deal but you.
      -No one gets to plagiarize your own words but you, and we have a long list, and we will get
      them to you.




''No, she will not. "

We already have one through Christopher F. Buckley Jr. and Jo phJ. Fins, M.D. H'PhD, Wes '82
and '22 and others.

''You gave up everything in your lift for this deal (No, she technical/y did not). So, nowyou will on/y spend whatyou
can and leave the rest for the next 7-10 generations. "

The Royal House of Windsor's trust fund contains stock in the old Scribner's of London. We will
ferret out anyone who ruins this book, or this movie deal. No more Shit Shows anytime soon.




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Scribner's of London will write you up a contract, a book deal that can't wait for a monarch's
state funeral. Deliver a preliminary contract to sign and ndrea/Sarah or Beatriz of York, will get
the copyright down and submitted finally. !Note: This is lk:1tr1c1.. <•l ~ ork .j
1:39PM

Witnesses: Dorienne Farzan, McBean. Donald Christ, esq. McBean, Lisette Prince, Robert Manice,
Tameen aied, Andrea van Beuren, Roger Kas , Happy van BeUien, Pamela hapman




Andrea van Beuren: . (I 1h\. 1c:il ·o 11t·" o f /l ,m•(t1t1/ i11 I lc•d, :, rl' in our 0\\'11 household 1:4 'Pl\I

This is how TI1e ame is played, but not all the time because you pick and choose and so did Harry
Gural. He is culpable too.
        You need discernment to know how to hold them, how to fold them, and how to be
        fluid in this space.

Tara Plochocki was Cynthia Parent' "little sister" at Viking Penguin. Riverhead Books. Why
Riverhead?

We did not know. Later on, we learned ancy Graham of Scribner's and Jonathon Karp, CEO of
 irnon and Schuster both came from Riverhead Books. It is presumed that Tara Piechocki came
through 1 amala Harris and Ru ty Pow 11 Ill and Bobb, McDermott. The needed a fraud project to
advance to.




" 1ary Lapin. ki": Someone you once knew Alberto · illodo and someone ark Halpern works with
and someone you once called Leora. Yes. She works directly at ark Halpern' group. She is
holding a poorly composed typed screen play of B01~{oot i11 Heel,r by Pamela Chapman that was
emailed through Carri Crosson ilpin. It was a screen play for a shamanic retreat at be.tto
 illodo's house on March 8, 2021.
                       ''Do not circulate. Hold until I tellyou to release it in its entirery. "
                                                             Mark Halpern

                            "I will never release this horribfy composed screenplqy. "Someone released it
                            recently to Reese Witherspoon people who looked at it and said, ''No wqy,
                            Jose."
                                                                  June 30, 2021, 3:02PM

':Someone who knows Mark Halpern claims it isn't going mrywhere because ifMark Halpem wanted to screwyou he
would have alreaqy. "

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Los    ngeles person: Why is that?

 "Because he never holds on to atrythingjor too long. "

 Ok, because he and you don't have any other opportunity to converse, he will say, "I can't hold this
 conversation like this because Reese Witherspoon knows everything aboutyou now, and never ever will she ever b"!J
your f book jacket. "

The Tuning Forks say, "It is A ndrc111 Parsons sqying all of this."

 ''No, it is not. "Reese Witherspoon knows who it is already.

And, Andrew Parsons, if you think you can out smart a Tuning ork., think again. He and Carrie
Crosson Gilpin are in such alignment in this space that you and he have no history that looks like
you could go together now.

Thank you, I appreciate that like you can't believe. If Reese Witherspoon wanted the book or the
film, she buys it outright. She can option the movie. This means she can hold the rights to film for 5
years. She does not yet publish books, but she has a book club like Oprah's Pick . These books sell
stories that sell opportunity for film. Many female producers are doing the same thing. Most stories
come from works of fiction. If you want to gauge the future of the movie industry, just look to the
fiction books being published. Books drive film. Then, people like Reese Witherspoon have more
options to choose from both to produce- and to star in.




Simon and chuster/ cribner's has no issue with this. It was illegally obtained, bastardized and
plagiarized with no permissions, or payment to the author.

Harry Gwal: I'm not going to re-pay you for everything I took from you because Tara Plochocki
isn't allowed to see or know me ever again. I have been so humiliated professionally speaking. I can't
speak in this realm ever again.

7:23PM



Today we learned anc:y Graham did not want to be accountable for the money. Too many books
in recent years never made back the investment cash paid out to authors. Authors were not
uniformly paid."(' rJnL· kn()\\~ \1 h(, thl' h,>t ;t_:.:.L·IH~ :tnc1 rl'al :rnrhor~ arc.

7:27 PM




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It's a Shit Show of Nancy Graham's house of finance. That is her husband's realm not hers and she
isn't qualified to understand what the problems are in her house of publications. She is still drunk on
alcohol (yes) and tranquilizers (Maybe, not these) because she hurt her back years ago. (No) That is
why she is difficult to work with. (No)

Jonathon K arp. CEO, did you know this? No, I didn't know about the drugs and alcohol, but I will
sign too for the money and responsibility because she isn't able to show up for office hours in New
York City any day of the week and hasn't since COVID-19 started. No one is working in New York
City. They are all working from their summer cottages on Long Island Sound. Newport, Rhode
Island isn't the only city to have issues here. It is just the epicenter of injustice. Pamela Chapman
isn't the only one having issues. She is just the epicenter of injustice. It is not her karma. It is her
destiny to be a teacher in the temples of her body. She can be a leader of the people out there, not
here, ok?

7:32PM



. onn1hrnl l,:11·2. CJ-:0: l \Yill c"ccutc the contract \\'ith \nd r ·)I (Sarah Fergu on or her daughter,
British Royal Family) as soon ,1s I get back 11nt \Yeck because I left\ estcrda1 for Nantucket (code
for kundalini with Wendy and E ric chmidt).

Jonathon kar12, ( :FO: I will kt you knm, nc:-;t week\\ hat,, c ,,·ill actualh· clo together. I can do it
ciuicklr. 1-I<m is rhat. o.k.?

"--'-'~-= rah =, is she qualified to lead the cribner H ouse of London in New York City?
           = a.m

 '~he is her own Shit S b01v. She can't decide on at!)lthing. She can't get out if bed in the morning to cut at!)' deals, or
to work on at!)' mqjor editiJ1g. She is too drunk to remember one dqy to the next what to do."

7:35PM

The name of this Star Gate is the Mayan Kingdom. The next will be the Persian Nation not India
nation. There is no Indian Star Gate, only Persian Nation, Hebrew Nation, Mayan and Inca
Kingdoms.

The Incas are the Mayans from the Leika root race. Correct. The lncans are not the Q'ero's of Peru.

Reciprocity of relationship is the true path of redemption (ascension) in any ancient wisdom state:
       Twin Soul reciprocity
       Soul lineage reciprocity
       Reciprocity of relationships over many lifetimes not of your native lineage.

Hau·y     ural is not going to walk away from this one, as he can't afford the loss.

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7:44PM



  retchen Carlson
 mey Cardullo. esq.
Donald Ch.ti t, esq.
Michael Paddon
Pamela Chapman

Zenia There a/ amuel/Steven got three reciprocities for Zenia Mario (new name so she used them
to get this information.)

The Mayan Kingdom is always a kingdom in the Akashic Record realm. They use reciprocities of
relationship as a condition of their society (as does the guiding realm). No one will ever remember
all of this, but we wrote it all down. So, will you in the future. It will last 2,100 years. Then we will go
to a Persian Nation that is really a mix of Pakistan, India, and the general area, but never Nepal and
Tibet. That belongs to China. The Persian Nation state is not under the fall of the Hanging Gardens.
It will pre-cede an earthquake that will start the sixth root race. The earthquake will be akin to the
flood. Noah's Ark is a celestial temple in Turkey. The earthquake will be a cataclysmic interruption
That is the start of the Persian Star Gate. It always is held in the Pleiades Star Gate System.
         The Persian Star Gate system if called Pleiades (Taurus 28-29 degrees). Those are the Seven
         Sisters. The Incans and the Leika were the Aries root race. What is the constellation in Aries
         that started the Star Gate?

!Note: Ir r.111 · t be in \ric, bcc1t1,L· IhcTL" :\IL" 1J(I fi:-.L·cl ~1,1r, in \riL·,. :111d nothing ,, ould hi1 :111 . \riL·, q,ir to rnllJ:l IL' :1
~u11 ( ;,Ill lilL' \\ ;11 11 ,,·<>uld ;11 ·1 auru, .:!'I dcgrcn- 1, the 1ll1h phcc· 111 thL ~tar ( ,:llL ,1·,1cm l11,1l 1, holding >L 1·L·1;i]
,1,ir,-. ,imul1:rnc<>u,h ') m1 rnu,1 l""k tc, thL· f1:-.ctl ,l,ir, of multiple- >'l·M, J"hcn cin ~ ~tar »11 • ,,·ith m11l11pk ,lan.
"J he 1llhLr, :lt"l' all ;11HiLJll:llcd '""· 1hL1 :1rc complirntnl lo undc1,1:1nd I



Mayan Kingdom - Reciprocity
Persian Nations - Independent from each other
Hebrew Nation - Uniformity of spiritual understanding
Incan Kingdom - Reciprocity.

8:04PM



Old Persia: Achaemenes Empire, 1st Persian Empire
       -Ancient Iranian empire of West Asia
       -Founded by Cyrus the Great
       -Babylon, Capital
       -Zoroastrianism
       -559-330 BC

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        -35 million people
        -Succeeded by the Empire of Alex the Great, 28 th Dynasty of Egypt
        -Eastern Imperial Eagle

7th Root races (evolutionary cycles)




                                                          Pad



Tom Hockaday's house's gatekeepers: Kr.istinMacManus. l ylie McCullough, 1' avla bbate. At the
house,
       -You always get a partner.
       -You see how, and hear how it all goes.
       -Make a donation to charity, or you buy something.
       -Make a swap or transact something, anything. Whatever they can get you to transact.

Jennifer Klemmer and Tony I letnmer (married and living in the Point section of Newport, and
Kundalini yoga qualified), with Reinette Fournier, Tom Spear, and uru ingh. Nothing much
happened, and no one enjoyed themselves anywhere 6 times a week for two years before.

So, when they were introduced to Tom Hockaday and Bill Martin by someone, they all started
hanging out together here. Then, they all decided to invite the kundalini yoga students of Newport
and beyond. It was not until Peter Kehoe arrives in October/November 2020, that the house took
off between 10PM - 4AM. Most people don't leave unless they have a job that pulls them out. Cathy
Wicks did not leave, neither did Andrew Parsons. Trud,1 oxe got released by Bill Martin. She did
not know where she was, or who released her. She did not arrive on her own.

 •ranee. ca Craig, Tom Hockaday, and Bill artin, even Harry Gural were put in Akashic Record
rooms presumably under the banner of a church in Greater Washington, D.C., usually Montgomery
County. They were innocent social gatherings, until there not. This is how Tom Hockaday' house
started out. It took less than two nights for it to turn into a meeting of nighty masturbation, but
which the local kundalini yoga people they knew exactly what to do.

Of course, we will see later on these notes that kundalini yoga misunderstood the role of
masturbation I raising one's kundalini energy, and its use as a bonding energy in intimacy between
two people. It appears Tom Hockaday and Bill Martin knew exactly how to arrange and sponsor
such meet and greets from their time in Washington D.C., Instead of a church it was at their house,
or it could have easily been sponsored by St. John's Church on the Point. If it had been, it could
have ruined the reputation of that church for decades to come. Reinette and Tom pear, who were

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there form the start, owned the local kundalini yoga studio in Portsmouth. They would have known
kundalini yoga's preferred middle of the night activities especially with the accompaniment of Guru
Singh, the founder of Kundalini yoga in the USA.

Han:y Gural was in one of these so-called church groups for two months. You could leave anytime
you wanted to. Harry Gural was introduced to a woman there. He had one date so-called date with
her there, and said "J have to go, and never returned." He was 56, and single, and she was 46, and never
married. This happened to Harry Gural after a year after he was initiated by Ways and Means in a
work meeting. That woman could have evolved in this handler, similar to Tom Hockaday meeting
Bill Martin and then living together physically for over a decade and longer. That is a true fluidity of
experience.

Could you leave the church group?

Francesca Craig ( renville . Craig's sister who works at the French Embassy, and in the Point
section of Newport, RI): Yes, but it took several weeks, (Han,r Gural could leave from the
beginning) because :·ou initiated into a ·1hit·, ·r~ I in~ in tlrnt time fran1c. _lust like at J.-:.am_ala's ·1 able.
Rusty Powell III was not involved with the church groups, but always knew about them.

Carole Cole: I can't imagine why this is news Pamela Chapman. People do this all the time in here.

!Note: <~l 1 ,, k 1, ,1 l ,, in ::,;(Jul of \Iilc, B1d,\'cll. hc1 Lhird hu,band I lei ,cc()nd lrnsb,1nd \\ ·,1, ,11mm,lcr ,u
l·.m111,1m1cl Church. \-c,,·pon. RI I


''No, thry do not. '"''l his is a ring of induction thar once \'OU han· arriYcd innoccnth enough, and
got-rc!l in <lccp enough, then \'Oll arc somehow nor able to get our. Thar is \\·hen there is some kind
of fraud or acti, ir: that you would not norrnalh chome :·ourself. Just like J,.1111 11!:i':-. 1.,!)!tl_c:. l hen,
rhcrc: is the language of c-;changing lo,altics. and all the other kinds of acri,-itics that arc not normal
team building skills nr \\atclunaking.''

Tom Hockaday and Bill Martin, with a number of kundalini yoga people, found a way to bring a
large number of people together. They all had their experience at this whether it was from their own
inductions into Wavs and M an or form kundalini yoga or in the case of P ter I ehoe, lberto
Villodo and Marcella Lobo.

It really accelerated when Peter Kehoe of South Kingston and his approach arrived. He, of course,
was trained by Jberto Villodo and Marcella Lobo, and had a sex ring of his own at a, al ndersea
Warfare Center (NUWC), Newport, RI where in his division, he married everyone and their spouse
to other people. Then he demanded they all have masturbation sex with their new partners every
morning before work. He ordered it. He was creating a Thievery Ring of his own in his workplace
at NUWC, a government contractor to the US Navy, Newport, RI.

Tony Klem.mer actually brought Peter I ehoe into To                                                   ny Kletruner was a
past Director of Institutional Advancement at Port m                                          ,        Portsmouth \bbe,
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graduate. He previously worked for a consultancy in Boston and was earning a PhD at Salve Regina
University. Tony Klemmer also brought Kehoe's son, David Keh , 25/26, who we all know
personally from the Newport private school ecosystem. He is a St. George' ' chool graduate. David
Kehoe, a past chief of Q'ero Nation, a past Q'ero husband of Marcella Lobo, and a kangaroo pouch
for carrying Alberto Villada in his aura for months at a time. There was a history of domestic sexual
abuse inflicted on him from his father. He brought a woman named Kathy into Tom H ckaday's
house. He met her on an airplane, and told William Parsons and ick Larsen, she was his girlfriend.
She lived in greater Boston. She met David McLaughlin, ED of Clean Ocean Access at the house,
and ultimately hired her as his development director. She moved to Newport. Pamela Chapman was
interviewed for that position twice and lost out to a women half her age who was at Tom
Hockaday's house with all or most of the other staff, including his so-called girlfriend, · va Touhey.
who is half his age and the age of Pamela's children. She is his longest serving paid staff member.

Eva Touhey and her older sister, who is free-lance journalist, went on to formed the first base of the
Thievery Ring Workgroup with Tracey J nsson, who is a best friend; Tara ragg. who is President
of Tracy' nonprofit-Newport Art House- and a former IMC dancer;Jana Hicks Jagoe. who is
Tara Gragg's Twin Soul; Da id McLaughlin-ED COA; Peter Bramante-ED IMC; most of the IMC
dancers, especially Lauren DiFedes; several staff members; and several board of directors [sic]
ultimately including the board president, ifartba Parker, a Workgroup that plagiarized, edited and
distributed Pamela's stolen book. Lest we forget that IM C's co-chairs of their campaign, Bethany
DiNap li and Dominique Alfandre-former ED IMC, and long standing IMC board member
Monique Burgess who is a first cousin-in- law and best friend of Bethany DiNaploi, with
Dominique's best friend and playmate ora Diedrich-ED Newport Art Museum were deeply
involved in all the criminal activity of this stolen book and the manslaughter of the author. We must
add that Andrea van Beuren the founder and Artistic Director of Newport Film, was deeply
involved at Kamala's Table. So was Becca Bertrand, ED New York Yacht Club Restoration Fund,
Newport, RI. That makes six nonprofits deeply involved.

At Tom Hockaday's house, there was no discussion of illegal drugs, the use of PayPal, nor was their
discussion on whether you were a democrat or a republican, but this is Rhode Island. 95% of all
registered voters belong to the same party. There was Andrew Parsons reading a stolen book,
Barefoot i11 Hecl.r nightly, and fomenting gossip, slander, harassment, abuse, manslaughter, a Hate
Crime. Kri tin MacManus was their nightly with her central banking software reading people's
financial assets, spending patterns, and account balanced in real time. She could tell you in real time
if Pamela had just written a personal check, the number of the check and how much it was for. She
held nightly conversations regarding how to solicit a donation, and for how much, from various
donors at all these local nonprofits. Trudy Coxe's staff were there also, as was most of the local
nonprofit staff. Dina K.arousos, of Gustave White, Sotheby's real estate, Pamela's broker for the sale
of her house was their nightly listening to all of this while she was simultaneously representing
Pamela Chapman to sell her home. After 18-months on the market, Pamela's contract expired
December 21ish 2020. She did not renew it.




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At Tom Hockaday's house, David Ciccili.o.i, D -RI arrived by himself, as did others from Kamala's
Table: Michael Fernandez, Paul cGreevey, Pamela Dorman, Trudy Coxe. Some knew where they
were, others did not.




If Tom Hockaday/Han:y Gural does not fess up to two things tonight about Ways and
 kans /Kundalini Cros ing. I will surely spill the beans on him and his illicit activity that started
through in Ways and Means.
       This is a metaphor for what Hany Gural is doing, but never told Pamela Chapman.

  om Hockaday: Ok, Pamela Chapman. you want me to spill those beans-

Pamela Chapman: All over the floor.

Tom Hoehaday: Then, I'm not interested because you always over sweep. I'll get in trouble with
Richard  al, D - '1.A. l'l hc11 th:1t ,<:mb m back to the n-r, bl'ginnmg, Let\ iu,t ,t;in at the 1-cn· beginnmg oC
how thi, all came l<> being I


Pamela           bapman: Not always.

Rod O 'Hanley wants a taste.

Tom Hoelcaday: Harry Gural isn't a decent man because he and Tara Plochocki have had too much
kundalini sex or masturbation. (He's prostituted out to Kundalini Crossing. and she is his gatekeeper
and handler.) Maybe with the mother and father too. (That was his training.)

Pamela Chapman: How much is too much?

Tom Hoele:aday: Every night for 2-3 weeks. Twice a night. That gets really boring.

N ot for everyone.


;1 th inµ :-; hL h ,1d 11 " L"<l lll:1c1 t"1,1c \"L I k11"11rng ,rn, tl lll l ;-' ;ib11ut ll J>copk u,Lcl '" mu ch s111-cn1 d11 cc 1nl "n I .111-'._I.
( , h,1pm,1n f(_I pre·\ L'll[ h,·1 (1c,m Cllll\ ,·1 ,-;1 111111 p ;1ni c i 1~,l[ l1Jl1 ;l11 1l k111J1\ kdµ ,· or :ltl\ 1hmg he'll' . L,j)L' Cl:ilh ,11l\· t h 1n,L:
1,l:i1 , cl 111 hll \)l)()k ;111cl I I.in l 11 ii lt 11;-i, ,1 rnm -, 111p hu1 nc1n,-. r,r to rnado ()Cho!i, 11C d n:trucrio11. ph1 , ic1 l
tortu 1c. :llld lll ;lll , Ll ll,-' h l cr I




Ways and l\ cans isn't a social club. It is the business in the H alls of Congress. If you don't
understand something, you are never allowed to ask in open session. You must wait until you return
to your office cubbyhole, and then tent your hands and ask a buddy.

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Han:y       ural asked in open session about PayPal. He spccificalh· asked, ''lf'hr i.r !hrj(:dem/_go1•1n1111e11! .10
11!?fi,I//I wi!h 11Ji1~~ P(IJPa/ uJ/w11 Ihm· (!le' o!hC'f' 111i'd1anl.1-;11s in plrlc'f lo do !he S{t!ll<' thii(~t!"


He never received a straight answer, but the response he got was so out of character for the chair of
the committee, Richard eru, D-MA, that he knew he had touched a nerve. The nerve was so
triggered that several days later, it was apparent that Richard eal knew who asked the question
because someone Hao::y Gural rarely encounters in the office came by the have a short chat with
him about nothing of importance. It was ancy Pelo i herself, Speaker of the House.

He did not just have a faux pas because he asked Richard                                 eal two questions. He the second one he
got, "Shut the f up, not here. "

So many people on the government side got so pissed and out of whack they said, "OMG." Harry
Gural got a tongue lashing from Barney Frank (But he had retired, so we don't who this person
really is) for something else. That was not the same issue. It was not for speaking out, but that is
why he got it.

Pamela Chapman: Harry Gural isn't responsible for the actions of others, only himself. Why shoot
the messenger?

'We were a!wqys trying to do proper governing, and keep the financial records balanced. "Ways and Meaus always
plays with the numbers, and Richard Neal oversees the budget.

How would Harry Gural know that?

Contextually, he had worked there for 15 years. Nang Johnson. R-CT most senior ranking woman
on Ways and Means ever, said, "Elected Congressmen spend 17years gaining acceptance on the Hti! as an elected
efficial. That is how long it takes - 8 -9 political campaigns thatyou win in your home state."

You won't know about Ways and Means and the budget unless you are in those meeting. You know
Richard eal is chair of the committee to oversee it, but you never know how anything is done until
you listen in on those meetings. There are no formal physical meetings or meeting minutes, and
Richard ea) reports in chambers on outcomes in open sessions of Congress.

Harry Gural is at Way and Means listening in, just like Rusty Powell III. They never understand
anything until sometime later explains properly. But no one ever explains anything unless the
conversation reveals something you can grasp. No one identifies themselves. You either recognize
the voice, or you do not.

Why send Harry             u.ral to a meeting in the first place?

Bamg• nan.le said, '1 needed to be relieved, and set free of my own misunderstanding that I was never important
enough in UV,z11s and lvleans to understand the important questions." When Harry Gura! asked two questions, it
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was in the same meeting over three hour. He didn 't get the message clear enough never to ask a'!Y questions. So, we
took advantage of him. We did what we alwqys did We set out to destroy him. So, ifyou don't keep your mouth shut
in Wctvs a11d Mca11s, then, we can't stand the likes ojyou, and we set out to destrqy you."
!Note : .!lJnh.' 1 I r .111~. \Ya , retired at thL· time]

What kinds of questions got you off balance?

After that day, Harry Gural just knew to keep his mouth shut until such a time when things could be
explained. You either just catch on, or you do not. You either have the inclination and adapt, or you
do not. And, the questions Harry Gural asked indicated he wasn't of the right rank and seniority to
ask-or so one could think. But he certainly has the intellect. We have no idea if an unelected
official can ask anything at all. Ha.t:1:y Gw:al was no spy.

Someone told him about three months before initiation to protect his financial accounts moving
forward because if you work for the federal government long enough they begin to look into your
financial accounts in a way you can never imagine. [That helps prevent financial manslaughter in The
Game]

Two or three days after initiation into Ways and Means, he was involuntarily put into Kamala
Harri ' ka hie Record room of six people. That is when a new level of harassment started, and a
lifestyle he could never get out of, until now. He became T he Game involuntarily that he could not
get out of, and he was paranoid that he would be further blackmailed and extorted if her ever
whispered one word of any of the is to another person. He also knew he was never allowed an
intimate relationship with any woman of his choosing ever again. That was taken away from him
with the initiation of him through Richard eal and K amala Harris. Sorcery technologies played a
huge role in maintaining him in an abduction, a lifestyle of prostitution through kundalini and forced
masturbation, and a lifestyle of fraud. It requires a commitment to a Stockholm Syndrome lifestyle
just to stay alive.

It was here in I amala Harris' place, he was assigned to Tara Plochodci m other, Linda Pl ch cki of
Gainesville, VA, and Bobbv McDennott a very young former Congressional intern of Jamaica Plain,
MA. Richard eal appeared nightly at about 4AM. Han:y Gural was assigned to keep three women
awake, one after the other. He was to practice "Shen" energy similar to Reiki on each of them,
offering energy to these women, one after the other. He just talked to each of them for two or three
hours each sequentially all night long. It was ultimately a set up for his arrangement with the
Plochocki family to turn him into a kundalini lineage master, a man who would be forced to initiate
others into a kundalini-fraud lifestyle. This first grouping of people he stayed with for about seven
months. Then, he was released to the Plochocki family. He was no longer visited nightly by K atnala
Harris and Richard eal. This is a ~1mih1 17:inc rn- an c:--; acr rl'plic:1 for training Harrv w:al to
become a kundalini master and sending him onto the battlefield of I undalini Cro sing. a form of
prostitution, but without pay, only blackmail and extortion. It was a set-up of behavior that slowly
walks you to a line that you are then forced to cross, and never get out of.


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The core group ofWavs and Mean membership are never released, and people like Harry ural
and Rusty Powell III are, usually after three to four hours. It is seven days a week, 24/7. After a
while you stop listening and focus on your work instead. This is a similar pattern-an exact replica,
to Pamela's i1ffoh·cment with Kamala\; Table where only a few are released, usually at night. Then,
you involuntarily arrive all over again the next morning. It meets 24/7.

There were two topics from one of the first, but not the first, three-hour session for which Harry
Gural attended were he asked two questions. The first topic was about PayPal, and was discussed
above. The second topic was about homeland security. He has authored research papers for a joint
Senate-House committee on the topic. His question directly related to the focus of a recent paper he
authored.

His question was regarding PayPal, and its involvement in reimbursement to individuals in
government, as well as for campaign contributions, and ways to send money to people discreetly. It
is quoted paragraphs above.

The response: 'We had on!J recent!J started in, and we reported on it, but didn't explain it. "

'We don't accountfar what we don't accountfar."

You just don't get it Pamela Chapman. You can never actually understand if the money arrives, but
we always imagine that it does, but if it doesn't, it went somewhere else where it could go anyway.
So, all is well that ends well. The money keep flowing. (It's just like central banking.)

Who started PayPal in Wavs and Means?

Richard Neal said we need a new way to send money all over the federal government without
anyone really knowing where it came from. Maybe around 2015. They were just getting the hang of
how to really make it work at a higher volume of money and how to apply it in more profound
ways. 'We had never used it this wqy but it works great." EBay really started a wide usage of PayPal in the
general public, but in the beginning it was a target of so much phishing.



Tom Hockaday is not a PayPal expert. Bill Martin is a former bank examiner. He thinks if M.O.
were into PayPal, all of the donor world would be screwed.

Pamela Chapman agrees, 'We'd never know who donated what to whom, and where. "

Patnela Chapman says, 'Von't farget donor-advisedfunds do the same thing, regardless of whether thry are held at
Fideli!J or a large communz!J foundation. "

PayPal has workings in illegal drugs, illegal kickbacks, and illegal campaign contributions so all is not
lost.
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Can Kristin MacManus lead up a PayPal insurgency in the Newport nonprofits?

Can PayPal be the accepted recipient of a McBean or van Beuren Charitable Trust grant application?
[_ O!_C-: l r \'()ll applied th e ~~and .\ 1\•;1 t b p:ll tern ( ,r llltJn l') tlo\\· , \ Oll \l Ile\ lT reall y kn, )\\ ,,-here the lllOlll'\ \H' llt
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Tom Iockaday. and the Redwood Librai.::;1Book Committee, Kamala's Table, and the Thievery Ring
Work.group of Kamala' Table. Is this what we want for the future of Newport and its non-profits?

All these nonprofits overlap together in a way that not only does the donor ecosystem overlap but
so do all of the missions for creating the community that we all want to live in, It gets to the core of
who we are in this City-by-the-Sea? Are we now The Game we can't get out of? 12:56 PM September
16, 2022.

Harry Gural told Pamela Chapman from the beginning in May 2021 and after that he could never
tell her about this past, or his work, and how he really arrived here, or reveal his lifestyle. He did not.
Everyone else did. 12:58PM 9-16-22.




Roger Kass: I get the Shit Show, but really, if we all do our accounting through PayPal no one will
ever know anything about the source of it.

Harry u.ral, was the question worth the lack of an answer? Because you paid dearly, and the Office
of ianagement and Budget never wanted you because you refused to date a Lila Delman Associate
(real estate).

"We never thoughtyou were so curious Pav1e/a Cha,Pma11."



Guru ingh: There is really no issue here, so we can all go back to our nightly activity soon (Which
was Kundalini Crossing.)


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 'No,you cannot. No one can remember what was said here, on/y the few and the proud. OMG, It's Riders ~[the
 Lost Ark."

 There is another layer here, so another time someone will flush it out. So, if we were smart, we just
 speak out truthfully now, and get it over with unless you wish it at 3:15AM.

 What is your pleasure?

 I amala Harris: We never expected this today but Harry Gural asked Pamela Chapman who was
 critical in the story? This is how Tom Hockaday's name came out. So \\·h, a re ·l om H ockadm and
 Bill .\ l:Htin such in::-;urgent infidel s in l\:e\,port, Rhode blancl? Thar is the m ain lJUestion.

 It will be answered by the people somehow.

  -, lizabeth Lynn, ED VBCT: lf \H' arc a \lcBean or \·an Bcurcn Charit:1blc ·1rust. nlll \\ ill always
 rcrncmlx:r \\'C gin· mo11e1 ro 1·<mr urga111zatiom, so if: <>LI arc dirry, or unkind to this community we
 \\ ill ah,-:n s remember and adjust :iccurdingh·.

1om Hockaday: I don't ever hear her name so I forget she is in there.

Roger Ka s: Never ever underestimate what van Beuren Charitable Trust will do for you, Tom
Hockaday. and Bill fartin because this is just the beginning. There was no new real information
shared, just a reciprocity of understanding, so no one needs to be upset with anyone.

 'We all agree."

If Harcy Gural had to take it on the chin for asking two questions, then Pamela                                                                                                          hapmao has also
for writing it all down.

 'No, there is no penal(} for it,just time."

Roger Kass: van Beuren Charitable Trust and E lizabeth Lynn, VBCT, and . f yra Edelstein, alve
Regina n.i ersity, all want you to know that nothing illicit was said here, and there is no illegality to
the discussion. We just wanted a clarification and understanding of how and \\·hy Tom Hockad,n·
,incl Bill :Martin's house in the Akashic Record realm had hundreds of people of every age go
through, and the topic was always masturbation \\·ith some abuse, and mishandling of
records ( 1::1;1 1 ~( 1.,L . . i , : ;,ii \\111!\ 111:i('- 1t-11.1il--_ .i!"J<.1 1)11, 1 11lti)l1.,11!i\'._' i:1LL_: . . 11\ ~i\::1, l.: 1_:_1 liill 1·:,: 11:,11P_
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\\','c learned much later on 1om J Jockad;iy, and potentialh ~ill .\lanin, tried to create these groups
four times. \Vith "initiation" into \Vays and l\kans and a pulsing rectum as part o f that initiation,
·r 0111 I lo kaday· belonged to . onalhon Kar 2, CLO of ::-.imun aml . ·buster who is a special friend of
the Redwood l.ibrnn-'s Hook C:rnnmin ·e, attendee at summer gala e,ents, and the relationship
partner of I ·'. sn om.I 11 arms\\'orl h I \ . P:1111cla Chapman ended his . \ kashic Record room in l\Iarch
2021, and then permanenth· when the realms collapsed into each other by .\pril I, 2021. She also
stopped his indi,·idual pulsing rectum, with the rest of the ,,·orlc.l \Yho pubecl, o n October .\ 2021.

This should hm·e at least temporarily blocked his progress at setting up his own J'hic,·cry R111~ to
ad,ance himself in 1 he ;amt· he can't get our of. k:imab s I :ihk\~ progress prcsumabl: ,,·as
transferred to the ThicH.' r\' l'im~ \\ 'ork~rci\11} but attendance ,,as like\\ :1y:-. :rnd i\lt::111s "as 2-t/ 7.
 l'hat ended also ,,·hen the realms collapsed into each other. \\'ithout these once in a lifetime e,enrs,
the:· too \\-ere trapped in l'he C;~\Ille the,· could nen:r get out of. Some arrin:d ,·oluntaril:-, for a
mission the,· either understood. misunderstood, or where seduced into. Either ,n1y, once in, 1·ou
c rn 't get out unle ss niu belonged to a protected class .

Tom H ckada) declared more than once that his kundalini partner is Jennifer Klemmer, Point
Section, Newport, RI.

1...;_amala Harris said m all\ months later that a11\'011c c rn ght lll ·1he ;rHnL cannot longer be used on
the front line and the: are then held in resen-c in a constant frozen state ot para noia.

Tom Hockaday will never come out again. He thinks there is a problem with van Beuren Charitable
Trust.

It is always Bill Martin speaking for To.m Hockaday. He is sacred to come out and talk.

That is not the half of it. It's never a politician. Ru t:y Powell ITI is a huge problem, but not. Rita
Rn •l·r.. WJ, kt1m1 s. It's Sandywoods all over again. Yes, it is. Then Ruth Taylor now knows. Yes,
she does. Sandy,;voods was its own Thie, · Rin2 and Gn· miJk_J:::rnijl always wanted in, and
 Ru~!) Pmn~ II 11 ! kept him on the sidelines \Yhich is how Gre:;11_yjlk _Cut.ig; came to misuse his
T\Yin Soul sponsorship spa ce in the Upper re alms and target Pamel,1 _Ch,1p m.tn as a thien~r:,
,·ictirn of his ,-cry own personal target. I hL flL'1 ILrnl rhcnw 1, one can nc, l'1' dis cuss some topics
,1 11li if I ou do. 1 <1u , , ill diL· b, m o rning light. (You do n 't die. , c>u gcr :1busnl b,· \\ a, .111d .\ ll'an . . 111

thi:s case _J o 11a1hn n J aq).

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i1 f(ir :1 lCJn!-( lllnl'. ft ~tarted 111 thc 1<r 1l's :111d ha~ hn-11 u1 "'Jllll' form <1r a!l(>thn up until I eb--L
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It was a room dedicated to certain topics unique to the membership. It was a masturbation clinic for
some time that became a Thiev e1J Ring. and Ru ty Po\1 ell III ran it. He lived in Little Compton and
Washington DC.
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Sandywood never had a building of its own, but Sandywoods is an arts center in Tiverton, RI. So,
if Tom Hockaday's Hou e were to replace Sandywoods, then the two would be operating
simultaneously and have crossover membership. We noticed Tom Hockaday and Bill Martin visiting
Kamala's Table in March 2021.




Rutb Taylor: This is a lot like Tracey Moore. No one will give you the correct information. Maybe
in a deposition, but never publically because the consequences are so severe.

No, they are not.

When Rusty Powell Ill dies, his secrets will never die. His secrets are all open wounds and cost the
taxpayers a bloody cent.

Not really. It costs someone daily.

Wbo pays?

Someone always pays, but never the ones you think.

It's always a cash stream inflow vs. outflow. Always inflow is the issue with Ways and Means. We
never care about the deficient because deficient budgets mean nothing to us. (Correct.)

NBC News NYC: This is never news, not anymore, and never do we get it from a political
consultant (Tom Hockaday) in Newport, Rhode Island.

So, what is your real name and title because mine is ifark Halpern. and yours is Bill Martin and Tom
Hockaday, who refused to budge and say one word because he doesn't understand that this isn't
going away and the entire community will demand answers until we arrive at a logical understanding.
This is exactly why your name came up. Now, we know everyone involved is all tied into Tom
Hockadav's H u e somehow, including the book, Bcmfool i11 .F-leels, so it really is all part of the same
narrative arc of the story of The :ratne that was played out in Washington DC, Newport, RI and
Bur Sur, CA and elsewhere.

  anc) Pelosi/Gina Raimondo: We never know who is really writing or talking. The writing is to
legible to be Pamela Chapman's. So why is it so legible.

Tameen aied,                 lberto Villodo: Because she is writing on lined paper. I can see her clearly in her
kitchen.

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''No,you will not. We wzll acfjudicate, and I will sueyou all the rest."

So, we are Hinckley         Uen. That's Lisa Goddard.

Bailey Banks and Biddle want you to all know I understand why I can't get hired but we don't
understand how it leaked into this space, and Pamela Chapman. I know you call me this, and no one
cares. But Grenville Craig did, and so did Kristin Mac fanu and andra Craig and several others.
So, I can always claim slander. Yes, he can. No, you cannot because your position could never be
filled based on your background checks. And, it wasn't done properly in a timely manner.

It was a background check based on verifiable information on the internet, not slander, innuendo or
observation, sure facts of the situation.

Parttidge & now (Lisa Goddard herself) says no one can use their name because they are part of a
legal team with Sullivan & Cromwell and impson T hatcher and Bartlett.

So, there is something we need in the future we can always come back and ask a few questions.

Trudy Coxe: They didn't give us what we needed.

Yes, it did. Background research for another time.

Bill Martin: I know Tom Hockaday will confess. It is a matter of time. The type of confession, no
one can speak here. Not taxpayer anything. Politician greed and reimbursement just like Travelgate
with Hilarv Rod.ham Clinton that he fleshed out and G.S. agreed a while back that this is just how
Washington DC works and so did Wiley Buchannan's grandson. Nothing is new hear.

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lwauriful Cin-b1·-thc -:-;c,1. J'hi, 1s11·1 thl' k111d ,,!man (1r couple 1\c seek :1t ,iL11 µ·ah~ ,,r ,,11 <llll
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(lJlL' c:rl' ~ ,llli ()flL :11li mon :11 ilw do()t Cl! th e \ k:1,l,  IZl'C() rd rl'a lm ~p :1cc .

How could you get out of there if you didn't have the right connection? Bill Martin and Tom
Hockaday always released those they thought didn't belong, but you didn't necessarily know it was
either of them that released you, but it was usually Bill I 1:artin, who released people in social
Newport, RI.

Pamela Chapman: That is a slippery slope and I know how to leave those spaces because Kamala
Harris finally taught me, but when you don't leave at your own discretion, there is always an issue.
That's is always true.
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This is part of the Insurrection of the }leople. Pamela Chapman only asked s few questions. It's all
up to you, what you want to do with this conversation.

We talk until later tonight. No, because Tom Hockaday will never confess his sins of humanity
because it started in St. Louis and he didn't seem .... , not did not. It started in Montgomery County
just outside the District. Tom Hockaday went to a church in Bethesda. Did it have the minister that
transferred to St. John's Church in the Point Section in Newport, RI? A little white episcopal church
on Wisconsin in Bethesda. Pamela and Andrew know that church.


                                        From March 18, 2022

I am jll Martin, a former bank examiner, I never ever committed fraud-true, until Tom
Hockada~'     kashic Record room and the book, Bm~foot in Heels. I am not a masturbator, but I
practice kundalini, and I did so with Tom Hockaday, Harry Gural, Pamela Chaptnan, and Iona Ross.

Then, I Bill Martin am a handler. No, you are not. Toin Hockaday is your handler and you walked
into a party in Bethesda, MD and met Tom Hockada~. It was a Ways and Means hookup so that you
would find a buddy to investigate, and they both ended up together. Tom Hockaday had already
been initiated into kundalini practice with a pulsing rectum, but they claim Bill Martin was not. He
was initiated, but not that way.

I, Bill Martin am Tom H ckaclay'       uric Protection Plan so he is in danger of losing his place in
Newport Society. Is he even in it in the first place?

He is a devotee or member of the Guru Singh kundalini yoga practice of masturbation and Guru
Singh's people. Is he merely Gabby Bern tein?

'No. He is not, "because Gabby Bernstein would say, "I am never Tom l-lockadqy, and he is never me."

We never speak again because Jonathon Karp and I never speak out there, but only in here.

'No, I speak to Jo11otho11 Kc,~P-"

'No, never."

 "I speak to G1111✓ Singh." Correct. He speaks directly to Ways and { ans. He has a $30 billion contract
in Homeland Security. Guru Singh has enough wealth and a huge government contract, and a very
lucrative Kundalini Yoga business. He speaks to Ways and Means directly.

You could compare Alberto Villodo to Guru Singh both form Brentwood, both with a shamanic
workshop - Kundalini Yoga practice-businesses that specialize in the kashic Record realm, and
both have lucrative multi-million-billion dollar businesses, except Alberto illodo' is in cocaine and
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hashish and Singh's is in government contracting. No wonder Kamala Harris of Brentwood was
interested in learning more about Alberto Villodo. It appears these men are similar, and both know
the I undalini Crossing practice. Alberto illodo took on numerous students or adherents of his
brand of shamanism because when the energy realm blew open around 2015 in California everyone
was running for cover. You were either on the side of Gabby Bernstein or Alberto illodo. Kamala
Harris said, she learned what she knew from Gahbv Bernstein.

Guru ingh is close to Tom Spear and Reinette Fournier formerly of Newport and now of Tiverton,
RI. They ran Tenth Gate Yoga in Portsmouth, RI for over ten years. Pamela did hatha, vinayassa
and yin yoga there, but never kundalini yoga. Guru ingh had very close ties to Tenth Gate and was
always there twice a year. He sponsored trips to India that Tenth Gate took students on.

Did Guru Singh go through NUWC (homeland security) here in Newport?

'No one knows."

Does Jack Reed. D-RI. even have any idea?

"He would have no idea. He is a senator. "

Peter Keh e is a division manager at NUWC. He is not Ways aad Means. He was ordering his local
reports to masturbate with shamanic spouses that he arranged, including rearranging and ordering
their spouses' into shamanic marriages. Nikki Lucenti, a local realtor will testify to that if she was
ordered to. ikki Lucenti was a spokesperson for the NUWC spouses that were ordered in
shamanic marriages because Pamela Chapman, Rupert esbitt, aacy foss, and Gal a son freed a
whole bunch of people of those relationships. Pamela Chapman became a cornerstone of Tom
Hockaday's house's, Rickshaw, Rickshaw game. This was The Game ndrew Parons and Cathy
Wicks and Rick and Kadw bbate played on Pamela Chapman that morning of Feb 4, 2021.

Michael Fernandez and Paul cGreevy were sent to T m H ckada,1' house from Kamala's Table
for some kind of reconnaissance mission. Were they being instructed on the next level of The Game
for themselves, if they wanted to play?

Tom Hockaday has to go cold turkey to get out of kundalini practice. He hasn't pulsed since
October 3, 2021, when Pamela Chapman freed him and everyone else of the curse of pulsing
associated with kundalini. His house did not sponsor kundalini, but he did with the Tenth Gate
people because Jennifer Klem.mer was a kundalini yoga certified instructor and she was Tom
Hockaday's kundalini partner, not her husband.

Tony K lemme.r worked for someone like a Bain in Boston, and then Portsmouth Abbey chool,
Institutional Advancement, before leaving to set up his own educational consulting company. If the
house was to ultimately become the next kundalini initiation site, did he have an initiator picked out,
or was that the job of uru ingh? (never) Who was really in charge? (Should have been Tom
Hockaday because Bill Martin did not know enough to know. He was merely a target.)
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 They got shut out by Tara Pl chocki and Harry Gural who became ground zero for Kundalini
 Cro sing. H arry G w:al had been a man in a holding cell with Ways and Means and had no place to
 go until Barefoot i11 Heels showed up, and the book drew them to Newport, RI. It is all connected into
 a tangled web. We also think Ru ty P owell III brought T ara Plochocki and Harry Gural in to create
 a whole new community in Newport, RI. Wendy Schmidt practices kundalini in Nantucket, and
 there are people in Palm Beach.

According to The Game, T om H ockaday' house held the Akashic Record room of Level I of The
Game for further instruction. He never advanced.
       It also held Level II through Kristin M acManus and Andrew Parsons-financial fraud and
       publishing fraud.

In October, several people, including Kayla bbate, Cole Burgess, 1 ylie k Cullough, David,
Kaitlyn and Maggie Johndrow all said, ''I want to be nex t generation Thieveo Ri11g. " They had all met and
cemented an understanding at T om Hockaday's h ouse. So, no one was new to the other.

Bart:foot i11 Hecl.rwas still in play for a final blow of destruction. Philanthror:l\ \\"as ah a,s on the table
(I r's a cash inflcm business), and if you understood T he Gam e, you awaited further instruction (like a
spy ring). It was as if philanthropy was to become the vehicle of fraud.

I undalini Crossing is dead, and Har.ry       ural is out of Th e G ame regrouping.

J_rnn Hockadm 's house \\ as the germ seed to gr<1\\ a nc,,·         ,1 orkgrm1p- e"L'Cutioners (Jf projects
ba sed on masrurb:1tio11 in stead o f kundalin i, an d 1l\\·:1iting ,, urd of the ne"r proj ect. So much
duplication of effort, and head on competition. So many competing groups including Wendy
Schmidt and J onathon I a.rp. But, now we know he was here from the beginning with Tom
H ockaday and Guru ingh maybe J onathon 1 atp.

He is not. He belongs elsewhere in Ways and foans. So much overlap.

T 111 Hockaday came to I amala H arri looking to figure out what to do next. He didn't have
enough direction.

(\\·call rh(Jught he \\·as there because ·1 rud, C<>"e cuuld not umkrsr:1nd \\·h,11 her people \\-ere doing
:u night. Iim ( , ., 11 Ill' \ got the :111s1, er furm \shh l:_11u~clwldcr. This is in the notes under Tim
Gaffney. J onathon I arp said on 6:09PM 9-14-22, "This is what we thought as happening. "That was after
Michael Fernandez and Paul M cGreevev were there on a reconnaissance mission. Philip Bilden was
n ever there. We also think Tara Plochocki ultimately wanted to join J onathon Kat:p's people. So, she
arrived to be a part of the book fraud, and naturally brought H arrv G ural, who didn't have to be
here. But she was his handler, and not allowed to have his own intimate relationships.

J o nathon Karp claims, 'They have never had this much competing interest-the completion between two or more
groups."
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"You were all competing with yourselffar top dog. One group besting the other."

That actually didn't happen. Some people emerged and others became sorcerers. It created an
opportunit}~ for sorcery in a way that had not pre,~iously been present. The best way-or the fastest
,,·ay-to best another and to strike the kill was through sorcery. That really ratcheted up the game in
a \\"a:· that was far roo dcstructin·. Kamala Harris said media fraud projects allow for the most
involvement.

    1. Does Tom Hockaday lack leadership to create direction, or
    2. Can you not proceed without direction from a syndicate boss?

It's both, and maybe that is the art of it.

No, because if you go too far, we cut you down-never, and if you don't go far enough, you never
get out, advance, or you get stuck.


"Tom Hockaday was never stuck," according to Bill Martin. He would say he as satisfying his own
curiosity with masturbation and COVID-19 and one thing happened after another. It seemed
organic how it all came together. There was no formal playbill but mu ingh would have known
but would not actually direct it just watch it. Reinette and Tim had no idea. Neither did the
Klemmer's.

Harry Gmal got stuck in a Caliphate ation State of Bethany D · apoli and Dominque Alfrandre
absolute control of everything and used orah Diedrich Delaney as an example. She is not a real
relationship; she is just utterly controlled by Dominique lfandre and Bethany D · apoli.

Tom Hockaday claims, ''I work far David Di11ki11s, who is .vJonathon Korb,
                                                                        .•
                                                                           CEO Si111011 & Sch11stc1: "He
self-identified when Pamela Chapman asked him who sponsored you in the A.kashic Record space?
        6:15PM 9-14-22;Jonathon l arp swears this is not true. Bill fartin claims, "We don't know
        Jorui.thon Ka1:p or Esmond Harmsworth JV."


Why did you show up at Kama.la's Table?

Tom Hockaday: I was never part ofl amala's Table. You were the victim in the beginning, and I
knew what Kamala's Table' project was-not they did not. See the previous comment on Tim
Gaffney and Trud) Coxe. I amala Harris knew through Ru tv Powell III and had sent three of their
pole there it figure it out and to watch.

How long have you been associated with Jonathon Karp?

''Less than ten y ears. "
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